Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 1 of 271




                                                                             APPEAL,TERMED
                  U.S. District Court − District of Colorado
                        District of Colorado (Denver)
      CRIMINAL DOCKET FOR CASE #: 1:15−cr−00395−REB All Defendants

    Case title: USA v. Williams                        Date Filed: 10/07/2015
                                                       Date Terminated: 06/21/2019

    Assigned to: Judge Robert E.
    Blackburn
    Appeals court case number:
    19−1229 USCA

    Defendant (1)
    Alan Alonzo Williams           represented by Alan Alonzo Williams
    TERMINATED: 06/21/2019                        #43473−013
                                                  ENGLEWOOD
                                                  FEDERAL CORRECTIONAL INSTITUTION
                                                  Inmate Mail/Parcels
                                                  9595 WEST QUINCY AVENUE
                                                  LITTLETON, CO 80123
                                                  PRO SE

                                              Keith Bradley
                                              Squire Patton Boggs (US) LLP−Denver
                                              1801 California Street
                                              Suite 4900
                                              Denver, CO 80202
                                              303−894−6156
                                              Fax: 303−894−9239
                                              Email: keith.bradley@squirepb.com
                                              ATTORNEY TO BE NOTICED
                                              Designation: 10th Circuit Special Designation

                                              Matthew C. Golla
                                              Office of the Federal Public Defender−Denver
                                              633 Seventeenth Street
                                              Suite 1000
                                              Denver, CO 80202
                                              303−294−7002
                                              Fax: 303−294−1192
                                              Email: Matt_Golla@fd.org
                                              TERMINATED: 07/19/2016
                                              Designation: Public Defender or Community
                                              Defender Appointment

                                              Michael John Gallagher
                                              Davis Graham & Stubbs, LLP−Denver

                                                                                              1
Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 2 of 271




                                             1550 17th Street
                                             Suite 500
                                             Denver, CO 80202
                                             303−892−9400
                                             Fax: 303−893−1379
                                             Email: mike.gallagher@dgslaw.com
                                             TERMINATED: 11/15/2017
                                             Designation: CJA Appointment

                                             Steven K. Jacobson
                                             Collins & Rafik
                                             1881 9th Street
                                             #315
                                             Boulder, CO 80302
                                             303−444−9292
                                             Fax: 303−447−0200
                                             Email: steve@rafiklaw.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: CJA Appointment

    Pending Counts                           Disposition
    BANK FRAUD                               84 months imprisonment. 5 years supervised release.
    (1)                                      $100 special assessment. $1,146,828.28 restitution.

    Highest Offense Level
    (Opening)
    Felony

    Terminated Counts                        Disposition
    BANK FRAUD
                                             Dismissed.
    (2−4)

    Highest Offense Level
    (Terminated)
    Felony

    Complaints                               Disposition
    None



    Plaintiff
    USA                                 represented by Linda S. Kaufman
                                                       U.S. Attorney's Office−Denver
                                                       1801 California Street
                                                       Suite 1600
                                                       Denver, CO 80202

                                                                                                   2
Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 3 of 271




                                                                 303−454−0100
                                                                 Fax: 454−0402
                                                                 Email: Linda.Kaufman@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                 Julia K. Martinez
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0100
                                                                 Email: julia.martinez@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

                                                                 Rebecca Susan Weber
                                                                 U.S. Attorney's Office−Denver
                                                                 1801 California Street
                                                                 Suite 1600
                                                                 Denver, CO 80202
                                                                 303−454−0332
                                                                 Email: Rebecca.Weber@usdoj.gov
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Federal Agency Attorney

     Date Filed   #    Page Docket Text
     10/07/2015    1      9 INDICTMENT as to Alan Alonzo Williams (1) count(s) 1−4. (Attachments: #
                            1 Criminal Information Sheet) (mlace, ) (Entered: 10/08/2015)
     10/07/2015    3    20 Arrest Warrant Issued in case as to Alan Alonzo Williams. (mlace, ) (Entered:
                           10/08/2015)
     03/22/2016    8    21 NOTICE OF ATTORNEY APPEARANCE: Matthew C. Golla appearing for
                           Alan Alonzo Williams Attorney Matthew C. Golla added to party Alan Alonzo
                           Williams (pty:dft) (Golla, Matthew) (Entered: 03/22/2016)
     03/23/2016   10    23 Discovery Conference Memorandum and ORDER: Estimated Trial Time − 4
                           days as to Alan Alonzo Williams by Magistrate Judge Kathleen M. Tafoya on
                           3/23/16. (sgrim) (Entered: 03/23/2016)
     03/23/2016   11    33 ORDER OF DETENTION as to Alan Alonzo Williams by Magistrate Judge
                           Kathleen M. Tafoya on 3/23/16. (sgrim) (Entered: 03/23/2016)
     03/23/2016   12    37 TRIAL PREPARATION CONFERENCE ORDER as to Alan Alonzo
                           Williams. That all non− CJA1 pretrial motions shall be filed by April 7, 2015;
                           any pretrial motion that the court determines should be set for hearing shall be
                           set for hearing during a telephonic (non−appearance) setting conference set for
                           4/22/2016 10:00 AM ; Jury Trial set for 5/23/2016 08:30 AM in Courtroom
                           A1002 before Judge Robert E. Blackburn. That the court reserves four (4) days
                           for trial; Trial Preparation Conference set for 5/20/2016 at 02:00 PM in
                           Courtroom A1001 before Judge Robert E. Blackburn, by Judge Robert E.
                                                                                                              3
Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 4 of 271




                           Blackburn on 3/23/2016. (evana, ) (Entered: 03/23/2016)
     03/24/2016   14   44 MOTION to Disclose Grand Jury Material to Defendant by USA as to Alan
                          Alonzo Williams. (Attachments: # 1 Proposed Order (PDF Only))(Kaufman,
                          Linda) (Entered: 03/24/2016)
     03/24/2016   15   49 NOTICE OF ATTORNEY APPEARANCE: Matthew C. Golla (amended to
                          reflect correct contact information) appearing for Alan Alonzo Williams
                          (Golla, Matthew) (Entered: 03/24/2016)
     03/25/2016   16   51 ORDER Granting 14 Plaintiff's Motion To Disclose Matters Occuring [sic]
                          BeforeGrand Jury to Defendant as to Alan Alonzo Williams (1). Signed by
                          Judge Robert E. Blackburn on 3/25/2016. (cmira) (Entered: 03/25/2016)
     04/07/2016   18   53 Unopposed MOTION to Continue Pretrial Motions Deadlines by Alan Alonzo
                          Williams. (Golla, Matthew) (Entered: 04/07/2016)
     04/15/2016   20   56 Unopposed MOTION to Exclude 120 Days from Speedy Trial Act by Alan
                          Alonzo Williams. (Golla, Matthew) (Entered: 04/15/2016)
     04/25/2016   21   63 MINUTE ORDER Setting Hearing on Motion as to Alan Alonzo Williams. 20
                          Defendant's Unopposed Motion for an Exclusion of 120 Days from the Speedy
                          Trial Act; Motion Hearing set for 5/6/2016 02:00 PM in Courtroom A1001
                          before Judge Robert E. Blackburn. By Judge Robert E. Blackburn on 4/25/16.
                          (kfinn) (Entered: 04/25/2016)
     05/02/2016   22   64 MINUTE ORDER as to Alan Alonzo Williams re 20 Unopposed MOTION to
                          Exclude 120 Days from Speedy Trial Act filed by Alan Alonzo Williams by
                          Judge Robert E. Blackburn on 5/2/16. Motion Hearing reset for 5/6/2016 at
                          10:30 AM in Courtroom A1001 before Judge Robert E. Blackburn. (rebsec)
                          (Entered: 05/02/2016)
     05/06/2016   23   65 MINUTE ENTRY for Motions Hearing held before Judge Robert E. Blackburn
                          as to Alan Alonzo Williams on 5/6/2016. Granting 20 Defendant's Unopposed
                          Motion for an Exclusion of 120 Days from the Speedy Trial Act. The time
                          from and including today through and including October 3, 2016 is excluded
                          from the time for a speedy trial. Any non−CJA pretrial motions shall be filed
                          by August 8, 2016, and any corresponding responses shall be filed by August
                          26, 2016. A further Status Conference set for 9/22/2016 01:15 PM in
                          Courtroom A1001 before Judge Robert E. Blackburn. Defendant remanded.
                          Hearing concluded. Court Reporter: Gwen Daniel. (kfinn) (Entered:
                          05/06/2016)
     07/15/2016   24   67 MOTION to Withdraw as Attorney and to Appoint New Counsel from the
                          Criminal Justice Act Panel by Matthew C. Golla by Alan Alonzo Williams.
                          (Golla, Matthew) (Entered: 07/15/2016)
     07/19/2016   26   70 MINUTE ORDER; granting 24 Motion to Withdraw as Attorney. Matthew C.
                          Golla withdrawn from case as to Alan Alonzo Williams (1). It is FURTHER
                          ORDERED that substitute counsel from the CJA Panel is appointed to
                          represent Defendant Alan Alonzo Williams, by Magistrate Judge Michael J.
                          Watanabe on 7/19/16. (morti, ) (Entered: 07/19/2016)
     07/26/2016   27   71 NOTICE OF ATTORNEY APPEARANCE: Michael John Gallagher
                          appearing for Alan Alonzo Williams Attorney Michael John Gallagher added
                          to party Alan Alonzo Williams (pty:dft) (Gallagher, Michael) (Entered:
                                                                                                          4
Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 5 of 271




                            07/26/2016)
     08/08/2016   28   73 Unopposed MOTION for Extension of Time to File Pre−Trial Motions
                          Deadlines and Exclude Time Under the Speedy Trial Act by Alan Alonzo
                          Williams. (Attachments: # 1 Proposed Order (PDF Only) Defendant's
                          Unopposed Motion to Extend Pre−Trial Motions Deadlines and Exclude Time
                          Under the Speedy Trial Act)(Gallagher, Michael) (Entered: 08/08/2016)
     08/19/2016   29   78 MINUTE ORDER as to Alan Alonzo Williams re 28 Unopposed MOTION for
                          Extension of Time to File Pre−Trial Motions Deadlines and Exclude Time
                          Under the Speedy Trial Act filed by Alan Alonzo Williams by Judge Robert E.
                          Blackburn on 8/19/16. Telephone Conference set for 8/23/2016 at 9:30 AM
                          before Judge Robert E. Blackburn to set the motion for hearing. (rebsec)
                          (Entered: 08/19/2016)
     08/23/2016   30   79 MINUTE ORDER Setting Hearing on Motion as to Alan Alonzo Williams on
                          28 Unopposed MOTION for Extension of Time to File Pre−Trial Motions
                          Deadlines and Exclude Time Under the Speedy Trial Act: set for 8/24/2016
                          11:00 AM in Courtroom A1001 before Judge Robert E. Blackburn. By Judge
                          Robert E. Blackburn on 8/23/16. (kfinn) (Entered: 08/23/2016)
     08/24/2016   31   80 MINUTE ENTRY for Motion Hearing held before Judge Robert E. Blackburn
                          as to Alan Alonzo Williams held on 8/24/2016. The Defendant's Unopposed
                          Motion to Extend Pre−Trial Motions Deadlines and Exclude Time Under the
                          Speedy Trial Act 28 is GRANTED; the time from and including October 3,
                          2016 through and including October 13, 2016 is excluded from the time for a
                          speedy trial under the Speedy Trial Act of 1974; any non−CJA pretrial motions
                          shall be filed by August 29, 2016, and any corresponding responses shall be
                          filed by September 16, 2016; the Status Conference now set September 22,
                          2016 is vacated and continued to October 13, 2016, commencing at 1:30 p.m.
                          Defendant remanded. Hearing concluded. Court Reporter: Julie Thomas.
                          (kfinn) (Entered: 08/24/2016)
     10/12/2016   32   82 Unopposed MOTION to Continue Status Conference and Exclude Time Under
                          the Speedy Trial Act by Alan Alonzo Williams. (Attachments: # 1 Proposed
                          Order (PDF Only))(Gallagher, Michael) (Entered: 10/12/2016)
     10/12/2016   33   89 MINUTE ORDER granting in part and taking under advisement 32 Motion to
                          Continue as to Alan Alonzo Williams (1) by Judge Robert E. Blackburn on
                          10/12/16. Telephone Conference to Judge Blackburn's chambers at
                          303−335−2350 set for 10/18/2016 at 10:00 AM to reset the status conference.
                          The court will issue a separate order addressing excludable time under the
                          Speedy Trial Act. (rebsec) (Entered: 10/12/2016)
     10/14/2016   34   90 ORDER Excluding Additional Time Under the Speedy Trial Act. Ordered That
                          Defendant's Unopposed Motion To Continue Status Conference andExclude
                          Time under the Speedy Trial Act [# 32 ] is GRANTED insofar as it requests
                          the exclusion of additional time for a speedy trial. By Judge Robert E.
                          Blackburn on 10/14/2016. (agarc, ) (Entered: 10/14/2016)
     10/19/2016   35   96 MINUTE ORDER as to Alan Alonzo Williams by Judge Robert E. Blackburn
                          on 10/19/16. Status Conference set for 11/10/2016 at 9:00 AM in Courtroom
                          A1001 before Judge Robert E. Blackburn. (rebsec) (Entered: 10/19/2016)
     11/08/2016   36   97

                                                                                                          5
Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 6 of 271




                            Unopposed MOTION to Continue Status Conference, Unopposed MOTION to
                            Exclude Time Under the Speedy Trial Act by Alan Alonzo Williams.
                            (Attachments: # 1 Proposed Order (PDF Only) [Proposed] Order Granting
                            Defendant's Unopposed Motion to Continue Status Conference and Exclude
                            Time Under the Speedy Trial Act)(Gallagher, Michael) (Entered: 11/08/2016)
     11/09/2016   37   106 MINUTE ORDER Granting in part 36 Defendant's Unopposed Motion To
                           Continue Status Conference and Exclude Time Under the Speedy Trial Act.
                           Status conference scheduled for Thursday, November 10, 2016, at 9:00 a.m., is
                           vacated and continued without date pending further order of court. Telephonic
                           (non−appearance) Setting Conference set for 11/15/2016 at 11:00 AM to reset
                           the sentencing hearing. By Judge Robert E. Blackburn on 11/9/2016. (cmira)
                           (Entered: 11/09/2016)
     11/15/2016   38   108 MINUTE ORDER as to Alan Alonzo Williams re 36 Unopposed MOTION to
                           Continue Status ConferenceUnopposed MOTION to Exclude Time Under the
                           Speedy Trial Act filed by Alan Alonzo Williams by Judge Robert E. Blackburn
                           on 11/15/16. Status Conference/Motion Hearing set for 11/17/2016 at 11:00
                           AM in Courtroom A1001 before Judge Robert E. Blackburn. (rebsec) (Entered:
                           11/15/2016)
     11/17/2016   39   109 MINUTE ENTRY for Motion Hearing held before Judge Robert E. Blackburn
                           as to Alan Alonzo Williams on 11/17/2016. Granting 36 Motion to Exclude as
                           to Alan Alonzo Williams (1); The time from and including November 14, 2016
                           through and including January 12, 2017 is excluded from the time for a speedy
                           trial; Status Conference set for 1/12/2017 09:00 AM in Courtroom A1001
                           before Judge Robert E. Blackburn. Defendant remanded. Hearing concluded.
                           Court Reporter: Tracy Weir. (kfinn) (Entered: 11/17/2016)
     01/10/2017   41   111 NOTICE of Disposition by Alan Alonzo Williams (Gallagher, Michael)
                           (Entered: 01/10/2017)
     01/10/2017   42   113 MINUTE ORDER as to Alan Alonzo Williams re 41 Notice of Disposition by
                           Judge Robert E. Blackburn on 1/10/17. Status conference set 1/12/2017 at 9:00
                           AM is converted to a Change of Plea Hearing in Courtroom A1001 before
                           Judge Robert E. Blackburn. (rebsec) (Entered: 01/10/2017)
     01/12/2017   43   114 MINUTE ENTRY for Change of Plea Hearing held before Judge Robert E.
                           Blackburn as to Alan Alonzo Williams on 1/12/2017. Plea entered by Alan
                           Alonzo Williams (1) Guilty to Count 1. Sentencing set for 4/6/2017 10:00 AM
                           in Courtroom A1001 before Judge Robert E. Blackburn. Defendant remanded.
                           Hearing concluded. Court Reporter: Tracy Weir. (kfinn) (Entered: 01/12/2017)
     01/12/2017   44   117 PLEA AGREEMENT as to Alan Alonzo Williams. (kfinn) (Entered:
                           01/12/2017)
     01/12/2017   45   134 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Alan
                           Alonzo Williams. (kfinn) (Entered: 01/12/2017)
     01/12/2017   46   144 FINDINGS OF FACT AND CONCLUSIONS OF LAW ON THE ENTRY OF
                           A PLEA OF GUILTY as to Alan Alonzo Williams. By Judge Robert E.
                           Blackburn on 1/12/17. (kfinn) (Entered: 01/12/2017)
     02/01/2017   47   148 NOTICE of Change of Address/Contact Information (Kaufman, Linda)
                           (Entered: 02/01/2017)

                                                                                                           6
Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 7 of 271




     03/06/2017   49   150 Unopposed MOTION to Continue Sntencing Hearing by Alan Alonzo
                           Williams. (Attachments: # 1 Proposed Order (PDF Only))(Gallagher, Michael)
                           (Entered: 03/06/2017)
     03/06/2017   50   155 MINUTE ORDER granting 49 Motion to Continue as to Alan Alonzo
                           Williams (1) by Judge Robert E. Blackburn on 3/6/17. Sentencing reset for
                           7/6/2017 at 10:00 AM in Courtroom A1001 before Judge Robert E. Blackburn.
                           (rebsec) (Entered: 03/06/2017)
     04/07/2017   51   156 OBJECTION/RESPONSE to Presentence Report 48 by USA as to Alan
                           Alonzo Williams (Kaufman, Linda) (Entered: 04/07/2017)
     04/07/2017   52   160 MOTION for Decrease for Acceptance of Responsibility by USA as to Alan
                           Alonzo Williams. (Kaufman, Linda) (Entered: 04/07/2017)
     04/07/2017   53   162 MOTION to Dismiss Counts by USA as to Alan Alonzo Williams.
                           (Attachments: # 1 Proposed Order (PDF Only))(Kaufman, Linda) (Entered:
                           04/07/2017)
     06/01/2017   54   165 NOTICE OF ATTORNEY APPEARANCE Julia K. Martinez appearing for
                           USA. Attorney Julia K. Martinez added to party USA(pty:pla) (Martinez, Julia)
                           (Entered: 06/01/2017)
     06/15/2017   55   167 OBJECTION/RESPONSE to Presentence Report 48 by Alan Alonzo Williams
                           (Gallagher, Michael) (Entered: 06/15/2017)
     06/15/2017   56   178 Second MOTION to Continue Sentencing Hearing by Alan Alonzo Williams.
                           (Attachments: # 1 Proposed Order (PDF Only))(Gallagher, Michael) (Entered:
                           06/15/2017)
     08/03/2017   58   183 SENTENCING STATEMENT and Motion for Downward Departure and
                           Variance by Alan Alonzo Williams (Attachments: # 1 Exhibit)(Gallagher,
                           Michael) (Entered: 08/03/2017)
     08/04/2017   59   206 Third MOTION to Continue Sentencing Hearing by Alan Alonzo Williams.
                           (Attachments: # 1 Proposed Order (PDF Only))(Gallagher, Michael) (Entered:
                           08/04/2017)
     10/26/2017   64   212 NOTICE OF ATTORNEY APPEARANCE Rebecca Susan Weber appearing
                           for USA. Attorney Rebecca Susan Weber added to party USA(pty:pla) (Weber,
                           Rebecca) (Entered: 10/26/2017)
     11/02/2017   67   214 SENTENCING STATEMENT and Response to Defendant's Sentencing
                           Memorandum by USA as to Alan Alonzo Williams (Weber, Rebecca)
                           (Entered: 11/02/2017)
     11/08/2017   68   222 SUPPLEMENT DEFENDANT'S SUPPLEMENTAL SENTENCING
                           MEMORANDUM to 67 Sentencing Statement, 66 Restricted Presentence
                           Report Addendum by Alan Alonzo Williams (Attachments: # 1 Exhibit A, # 2
                           Exhibit B)(Gallagher, Michael) (Entered: 11/08/2017)
     11/13/2017   69   242 SUPPLEMENT SENTENCING INFORMATION REGARDING HEALTH
                           ISSUES to 68 Supplement by Alan Alonzo Williams (Attachments: # 1 Exhibit
                           A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Gallagher, Michael) (Entered:
                           11/13/2017)
     11/14/2017   70   259
                                                                                                           7
Case No. 1:15-cr-00395-REB Document 173-1 filed 09/10/19 USDC Colorado pg 8 of 271




                             MOTION to Withdraw as Attorney by Michael J. Gallagher by Alan Alonzo
                             Williams. (Gallagher, Michael) (Entered: 11/14/2017)
     11/28/2018   115   263 Fifth MOTION to Continue Sentencing and Renewed Request for an Order
                            Directing Facility to Provide a Medical Evaluation by Alan Alonzo Williams.
                            (Jacobson, Steven) (Entered: 11/28/2018)
     06/03/2019   146   266 Letter requesting that Steven K. Jacobson be withdrawn as my counsel by Alan
                            Alonzo Williams. (Attachments: # 1 Envelope) (athom, ) (Entered:
                            06/04/2019)




                                                                                                           8
Case No. 1:15-cr-00395-REB  Document
           Case 1:15-cr-00395-REB    173-1 filed
                                  Document       09/10/19
                                            1 Filed        USDC
                                                     10/07/15   Colorado
                                                              Page 1 of 10 pg 9 of 271




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Criminal Case No. 15-cr-00395-REB

   UNITED STATES OF AMERICA,

           Plaintiff,

   v.

   1.      ALAN ALONZO WILLIAMS,

           Defendant.


   _____________________________________________________________________
                                 INDICTMENT
                               18 U.S.C. § 1344
                                18 U.S.C. § 2(b)
   _____________________________________________________________________

   The Grand Jury charges that:

                                             Count 1

        1. Between the approximate dates of November 2, 2006 and August 5, 2008, in the

   District of Colorado and elsewhere, the defendant, Alan Alonzo Williams, did knowingly

   engage in a scheme to defraud a financial institution, namely, WebBank, and to obtain

   funds owned by and under the custody and control of it by means of materially false and

   fraudulent pretenses, representations, and promises, (hereinafter referred to as “the

   scheme”).

        2. It was part of the scheme that:

            a. The defendant desired to obtain funds for himself and Williams Vending

   Company, Inc. (hereinafter “WVC”). WVC was a business established in 1994 by the

   defendant and his parents that sold, leased, repaired, and operated vending machines.




                                                                                             9
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    2 of 10 pg 10 of
                                      271




         b. The defendant, who would not qualify for the bank loans he desired by virtue

 of his prior felony convictions and status as a parolee, caused another individual, Ms. X,

 as purported 100% owner and president of WVC, to obtain several loans from WebBank

 to WVC.

           c. In fact, the defendant controlled the finances and operations of WVC, and he

 and his family members were its owners. Ms. X had no true ownership interest and was

 never its true president. She had merely become a part-time employee of WVC in 2006.

           d. Shortly after she began working at WVC, the defendant told Ms. X that he

 would put the business in her name for credit purposes. To assuage any concerns she

 may have had about liability, he gave her a “Promissory Agreement” in which he agreed

 that any financial obligation due from “credit cards, credit lines, etc.” would be the

 complete obligation of WVC and the defendant, and that she would have no financial

 obligation whatsoever. Knowing that Ms. X had a serious drug problem, the defendant

 exploited her habit by causing her to sign various documents and then providing her

 with cash, which she would use to get high.

            e. In November 2006, the defendant caused documents to be filed with the

 Colorado Secretary of State which made it appear that Ms. X had a legitimate

 ownership interest in WVC which she had acquired by virtue of having made a

 significant investment in it and having managed it for many years. In fact, she had never

 had a managerial position at WVC, had never invested in it, and had become its “owner”

 in name only.

           f. In January 2007, the defendant had Ms. X sign a contract to purchase a

 residence located at 9261 E. Jewell Circle in Denver. In March, he arranged for her to


                                               2

                                                                                              10
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    3 of 10 pg 11 of
                                      271




 obtain a $900,000 loan from Aurora Loan Services, LLC to buy it. To make it appear

 that Ms. X qualified for this loan, the defendant caused false information to be presented

 to Aurora Loan Services about her employment (including fraudulent W-2’s and

 earnings statements), false information about her financial status, and false information

 about her intent to use the property as her primary residence. In fact, Ms. X never

 intended to reside at the E. Jewell Circle property, and never did.

         g. In May 2007, to make it appear that Ms. X would have control of WVC, the

 defendant arranged for three bank accounts to be opened in the name of WVC over

 which she would have sole signature authority. He nevertheless maintained control over

 these accounts.

       h. The defendant enlisted the aid of loan brokers to assist him in finding funding

 for WVC. The brokers suggested that WVC try to obtain a Small Business

 Administration loan from WebBank, a financial institution in Utah, the deposits of which

 were insured by the Federal Deposit Insurance Corporation. He told the brokers that

 Ms. X would be the applicant and would serve as the personal guarantor.

      i. The Small Business Administration (hereinafter “SBA”) guaranteed a certain

 portion of qualifying loans made by banks to small businesses, provided that the

 participating lender certify that but for the SBA guarantee, it would not make the loan.

 The SBA also required, among other things, that the business use the loan proceeds for

 specifically approved business purposes, that the borrower have had sufficient

 management experience, and that the business would have sufficient cash flow to be

 able to repay the loan. The SBA also required that any person owning 20% or more of

 the business personally guarantee the loan. In addition, the SBA considered the


                                             3

                                                                                              11
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    4 of 10 pg 12 of
                                      271




 character of the individual signing on the loan, as shown by his or her criminal history as

 described in the required SBA “Statement of Personal History Form.” Anyone with

 felony convictions would require special approval, and anyone on parole would be

 ineligible.

      j. The brokers agreed to present the loan request to WebBank. The defendant

 provided them with information, both verbal and documentary, to relay to WebBank for

 the purpose of acquiring an $800,000 loan to WVC. Much of that information was false,

 as the defendant well knew. It included fraudulent W-2 Wage and Income Statements

 and tax returns for Ms. X. The false information he provided the brokers made it appear

 that Ms. X was the president and sole owner of WVC, that she had owned the business

 for many years, that she had many years of management experience both at WVC and

 elsewhere, that she currently earned and had earned a substantial salary at WVC for

 many years, that she supervised the financing and purchasing aspects of the business,

 that she had rental income, that she had substantial assets in the form of cash,

 securities, and personal property, and resided in a $1.1 million home at 9261 E. Jewell

 Circle in Denver. None of that was true.

    k. The defendant also told the brokers that WVC focused on providing vending

 products to government offices and agencies, as Ms. X qualified as a minority business

 owner, and that the company therefore qualified as a minority contractor. He explained

 that this minority status would allow government agencies to fulfill a portion of their

 minority contracting requirements by awarding contracts to WVC. The brokers passed

 this information on to WebBank at the defendant’s direction.




                                              4

                                                                                               12
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    5 of 10 pg 13 of
                                      271




        l. At times, the defendant provided information directly to WebBank by fax or

 email, rather than through his brokers. Some of the documents the defendant sent to

 WebBank or provided to his brokers to send to WebBank had been signed by Ms. X;

 others bore signatures that were copies of hers or only purported to be hers.

    m. The defendant also represented to the brokers and WebBank that the loan

 proceeds would be used for the following purposes: (1) $377,100 would be used to

 purchase vending machines to enable WVC to perform on its government contracts, (2)

 $372,275.24 would be used to repay existing specific debts, and (3) $50,624.76 would

 be used as working capital. In support of this, the defendant provided a document which

 purported to be a vending agreement between WVC and Peterson Air Force Base, as

 well as a document which purported to be a purchase order to WVC in the amount of

 $377,100 from Ross Vending. In fact, Peterson Air Force Base had entered no such

 agreement with WVC, and Ross Vending had neither sold nor agreed to sell $377,100

 worth of vending machines to WVC. The documents were fraudulent.

     n. The defendant caused Ms. X to sign the promissory note. She was the personal

 guarantor, and her name appeared on the SBA “Statement of Personal History.”

 WebBank approved the loan on December 28, 2007 and funded it by issuing ten checks

 on the same day and one on January 31, 2008. In order to assure that he would have

 control over the proceeds, the defendant directed WebBank to include Williams Vending

 Company, (and not just its creditors), as a payee on the disbursement checks, “to make

 sure all aspects are done correctly.” The bank complied. The defendant, without

 obtaining co-endorsements from the joint payees, caused all of the funds to be

 deposited into the WVC accounts. The defendant used a large portion of the proceeds


                                            5

                                                                                           13
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    6 of 10 pg 14 of
                                      271




 for his own purposes, rather than for the purposes authorized for the SBA-guaranteed

 loan.

         o. In April 2008, the defendant approached WebBank directly to request another

 loan for WVC. He had caused loan payments to be made by WVC in the interim. He

 represented that since WVC had just completed contracts to become vendor for three

 major apartment complexes, it would need to purchase additional vending machines

 and trucks. As with the first loan from WebBank, Ms. X, as “owner” of the business,

 would be the applicant and guarantor, and the loan would be SBA-guaranteed. In

 support of his request, the defendant provided a document that purported to be a

 vending agreement between WVC and Carmel Property Management and a document

 which purported to be a purchase order from Ross Vending for $339,200.00. In fact,

 Carmel Property Management had never contracted with WVC, and Ross Vending had

 neither sold nor agreed to sell WVC $339,200.00 worth of machines. The documents

 were fraudulent. As with the first loan, the defendant caused Ms. X’s signature or

 purported signature to appear on the loan documents, and the SBA Statement of

 Personal History related to Ms. X, not to the defendant. In considering whether to grant

 the second loan, the bank already had a significant amount of information about WVC

 and Ms. X, which had been previously provided by the defendant or at his direction.

 WebBank approved a loan for $300,000 and funded it by wiring the proceeds,

 $291,742.00, to a WVC account on May 9, 2008. Instead of using the loan proceeds for

 the purposes authorized for the SBA-guaranteed loan, the defendant used most, if not

 all of it for other purposes, including the purchase of two new Mercedes Benz

 automobiles, one for himself and one for his daughter.


                                              6

                                                                                            14
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    7 of 10 pg 15 of
                                      271




      p. Shortly after the $300,000 loan was funded, the defendant approached

 WebBank again for additional funding for WVC. On June 10, 2008, WebBank granted

 the defendant’s request to lend an additional $60,000 to WVC. It did so by modifying the

 May 9 SBA-guaranteed loan. As with the previous WebBank loans, the defendant

 caused the loan to be issued to WVC based on Ms. X’s purported position as president

 and owner and her personal guarantee. As he had done previously, he again caused

 documents bearing or purporting to bear Ms. X’s signature to be delivered to the bank.

 He represented that the funds were needed to purchase vehicles to transport inventory

 to support the company’s new vending machines. In support of that, the defendant

 submitted invoices from Specialty Trux. The bank funded the loan by issuing a check in

 the amount of $58,650.00 payable to WVC and Specialty Trux on June 16, 2008. The

 defendant endorsed the check for both payees and deposited it to a WVC account, but

 failed to use the loan proceeds to pay the Specialty Trux invoices, as he had

 represented.

      q. Shortly after WebBank had funded the $60,000 to WVC, the defendant

 attempted to obtain an additional loan from WebBank to WVC, still falsely representing

 that Ms. X was the president and 100% owner, and again offering her as personal

 guarantor. He originally requested $603,600, but later reduced that to $550,000. He

 falsely represented to WebBank that the funds were needed to purchase equipment for

 a contract WVC had entered with the City and County of Denver to be the exclusive

 provider of vending equipment, merchandise, and related services to the Denver Public

 Schools. In fact, Denver Public Schools had no such agreement with WVC. The

 defendant also caused a fraudulent document which purported to be a Citicorp


                                            7

                                                                                            15
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    8 of 10 pg 16 of
                                      271




 Investment Services Statement on Ms. X’s account to be sent to the bank. It falsely

 represented that her account value was over $317,000. Further, in order to make it

 appear that WVC’s liabilities had decreased significantly, the defendant falsely

 represented that the company had reduced its debt to Ms. X from $632,888 to

 $199,200, and produced a promissory to Ms. X in the amount of $199,200.42 to prove

 it. In fact, Ms. X had never loaned any money to or invested in the company, and the

 defendant did not intend to pay her $199,200.42 as represented.

      r. On or about August 5, 2008, WebBank denied the requested $550,000 loan.

    3. On or about December 28, 2007 and January 31, 2008, the defendant, Alan

 Alonzo Williams, did knowingly execute and attempt to execute the scheme described in

 Paragraphs 1 and 2 of this indictment by causing WebBank to fund a loan in the amount

 of $800,000 to Williams Vending Company, Inc., all in violation of Title 18, United States

 Code, Sections 1344 and 2(b).

                                          Count 2

   4. The allegations set forth in Paragraphs 1 and 2 of this indictment are re-alleged

 and incorporated by reference here, as though set forth in their entirety.

   5. On or about May 9, 2008, the defendant, Alan Alonzo Williams, did knowingly

 execute and attempt to execute the scheme described in Paragraphs 1 and 2 of this

 indictment by causing WebBank to fund a loan in the amount of $300,000 loan to

 Williams Vending Company, Inc., all in violation of Title 18, United States Code,

 Sections 1344 and 2(b).




                                              8

                                                                                              16
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1filed
                                 Document         09/10/19
                                               Filed 10/07/15USDC
                                                               PageColorado
                                                                    9 of 10 pg 17 of
                                      271




                                          Count 3

    6. The allegations set forth in Paragraphs 1 and 2 of this indictment are re-alleged

 and incorporated by reference here, as though set forth in their entirety.

   7. On or about June 16, 2008, the defendant, Alan Alonzo Williams, did knowingly

 execute and attempt to execute the scheme described in Paragraphs 1 and 2 of this

 indictment by causing WebBank to approve and fund a $60,000 modification to the May

 9, 2008 loan to Williams Vending Company, Inc., all in violation of Title 18, United

 States Code, Sections 1344 and 2(b).

                                          Count 4

    8. The allegations set forth in Paragraphs 1 and 2 of this indictment are re-alleged

 and incorporated by reference here, as though set forth in their entirety.

    9. Between about June 26, 2008 and August 5, 2008, the defendant, Alan Alonzo

 Williams, did knowingly attempt to execute the scheme described in Paragraphs 1 and 2

 of this indictment by attempting to cause WebBank to fund a loan in the amount of

 $550,000 to Williams Vending Company, Inc., all in violation of Title 18, United States

 Code, Sections 1344 and 2(b).

                                                            A TRUE BILL


                                                      Ink signature on file in Clerk’s Office
                                                      FOREPERSON

 JOHN F. WALSH
 UNITED STATES ATTORNEY


 By: s/Linda Kaufman
 Linda Kaufman
 Assistant United States Attorney
 1225 17th Street, Suite 700

                                              9

                                                                                                17
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1 filed
                                Document            09/10/19
                                                Filed 10/07/15USDC
                                                               PageColorado
                                                                    10 of 10 pg 18 of
                                      271




 Denver, Colorado 80202
 Telephone: 303-454-0100
 Facsimile: 303-454-0402
 E-mail: linda.kaufman@usdoj.gov
 Attorney for the United States
 10/6/15




                                         10

                                                                                        18
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 1-1
                                Document    filedFiled
                                                  09/10/19   USDC
                                                       10/07/15   Colorado
                                                                Page 1 of 1 pg 19 of
                                      271




 DEFENDANT:            Alan Alonzo Williams

 YOB:                  1962

 ADDRESS:              Aurora, Colorado

 COMPLAINT FILED?                YES          NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                                YES             NO

 OFFENSES: COUNTS 1-4: 18 U.S.C. §§ 1344 and 2(b) (Bank Fraud)


 LOCATION OF OFFENSE: Adams, Colorado
 (COUNTY/CITY/STATE)

 PENALTIES: NMT 30 years and/or NMT $1,000,000 per count, or the greater of twice the
            gross gain or twice the gross loss plus a $100 victim assessment fee per count



 AGENT:         Special Agent Holly Anderson (FBI), Special Agent Tim Chase (IRS)

 AUTHORIZED BY: Linda Kaufman
                Assistant U.S. Attorney

 ESTIMATED TIME OF TRIAL:

       five days or less          over five days           other

 THE GOVERNMENT

       will seek detention in this case            will not seek detention in this case

 The statutory presumption of detention is not applicable to this defendant.

 OCDETF CASE:                   Yes                No




                                                                                                19
          Case No. 1:15-cr-00395-REB  Document
                    Case 1:15-cr-00395-REB     173-1 3filed
                                           Document          09/10/19
                                                          Filed        USDC
                                                                10/07/15    Colorado
                                                                         Page 1 of 1 pg 20 of
                                                271
AO 442 (Rev. 01/09) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District
                                                 __________      of Colorado
                                                             District of __________

                  United States of America
                             v.                                    )
                 ALAN ALONZO WILLIAMS                              )
                                                                   )        Case No. 15-cr-00395-REB
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      ALAN ALONZO WILLIAMS                                                                               ,
who is accused of an offense or violation based on the following document filed with the court:

✔
u Indictment              u Superseding Indictment        u Information        u Superseding Information             u Complaint
u Probation Violation Petition             u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
 4 counts of Bank Fraud in violation of 18 U.S.C. §§ 1344 and 2(b)




Date:    10/07/2015                                                                     s/M. Lacey, Deputy Clerk
                                                                                          Issuing officer’s signature

City and state:       Denver, CO                                                     Jeffrey P. Colwell, Clerk of Court
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title


                                                                                                                                   20
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 8filed
                                 Document          09/10/19
                                                Filed        USDC
                                                      03/22/16    Colorado
                                                               Page 1 of 2 pg 21 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 CASE NO.     15-cr-00395-REB

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.

 ALAN ALONZO WILLIAMS,

              Defendant.

 ______________________________________________________________________

                         NOTICE OF APPEARANCE
 ______________________________________________________________________

       The Office of the Federal Public Defender, by and through undersigned counsel,

 hereby enters its appearance in the above captioned case.



                                        Respectfully submitted,

                                        VIRGINIA GRADY
                                        Federal Public Defender




                                        s/ Matthew Golla
                                        Matthew C. Golla
                                        Assistant Federal Public Defender
                                        633 17th Street, Suite 1000
                                        Denver, CO 80202
                                        Telephone: (303) 294-7002
                                        FAX: (303) 294-1192
                                        Matthew_Golla@fd.org
                                        Attorney for Defendant




                                                                                        21
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 8filed
                                 Document          09/10/19
                                                Filed        USDC
                                                      03/22/16    Colorado
                                                               Page 2 of 2 pg 22 of
                                      271




                               CERTIFICATE OF SERVICE


         I hereby certify that on March 22, 2016, I electronically filed the foregoing NOTICE
 OF APPEARANCE with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to the following e-mail addresses:

 Linda Kaufman, Assistant United States Attorney
       Linda.Kaufman@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following
 non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-
 participant’s name:

 Alan Williams        via U.S. mail



                                           s/ Matthew Golla
                                           Matthew C. Golla
                                           Assistant Federal Public Defender
                                           633 17th Street, Suite 1000
                                           Denver, CO 80202
                                           Telephone: (303) 294-7002
                                           FAX: (303) 294-1192
                                           Matthew_Golla@fd.org
                                           Attorney for Defendant




                                                                                                22
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 1 of 10 pg 23 of
                                      271




                                                                                        23
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 2 of 10 pg 24 of
                                      271




                                                                                        24
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 3 of 10 pg 25 of
                                      271




                                                                                        25
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 4 of 10 pg 26 of
                                      271




                                                                                        26
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 5 of 10 pg 27 of
                                      271




                                                                                        27
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 6 of 10 pg 28 of
                                      271




                                                                                        28
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 7 of 10 pg 29 of
                                      271




                                                                                        29
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 8 of 10 pg 30 of
                                      271




                                                                                        30
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 10filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       03/23/16    Colorado
                                                                Page 9 of 10 pg 31 of
                                      271




                                                                                        31
Case No.Case
        1:15-cr-00395-REB   Document
             1:15-cr-00395-REB       173-110filed
                                Document          09/10/19
                                               Filed 03/23/16USDC
                                                               PageColorado
                                                                    10 of 10 pg 32 of
                                      271




                                                                                        32
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 11
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 1 of 4 pg 33 of
                                      271




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Kathleen M. Tafoya

 Criminal Action No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     ALAN ALONZO WILLIAMS,

        Defendant.



                                      ORDER OF DETENTION




        THIS MATTER came before the Court for a detention hearing on March 23, 2016.

        The government is requesting detention in this case. The defendant did not contest

 detention and neither side offered argument beyond the contents of the bail report. In making my

 findings of fact, I have taken judicial notice of the information set forth in the court=s docket of

 proceedings and the Pretrial Services Report.

        In order to sustain a motion for detention, the government must establish that there is no

 condition or combination of conditions which could be imposed in connection with pretrial release

 that would reasonably assure (a) the appearance of the defendant as required or (b) the safety of

 any other person or the community. 18 U.S.C. ' 3142(b). The former element must be

 established by a preponderance of the evidence, and the latter requires proof by clear and

                                                   1



                                                                                                        33
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 11
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 2 of 4 pg 34 of
                                      271




 convincing evidence.

        The Bail Reform Act establishes the following factors to be considered in determining

 whether there are conditions of release that will reasonably assure the appearance of the defendant

 and the safety of the community:

        (1)     The nature and circumstances of the offense charged, including whether the offense

 is a crime of violence or involves a narcotic drug;

                (2)     the weight of the evidence against the person;

                (3)     the history and characteristics of the person includingB

                        (A)    the person=s character, physical and mental
                        condition, family ties, employment, financial
                        resources, length of residence in the community,
                        community ties, past conduct, history relating to
                        drug and alcohol abuse, criminal history, and record
                        concerning appearance at court proceedings; and

                        (B)      whether at the time of the current offense or
                        arrest, the person was on probation, on parole, or on
                        other release pending trial, sentencing, appeal, or
                        completion of sentence for an offense under Federal,
                        State, or local law; and

                (4)  the nature and seriousness of the danger to any person or the
                community that would be posed by the person=s release.

 18 U.S.C. ' 3142(g).

        Weighing the factors set out in the Bail Reform Act, I find the following:

        The defendant has two misdemeanor convictions and nine felony convictions and he has an

 extensive history of arrests and convictions for fraud and theft. The defendant has failed to



                                                  2



                                                                                                       34
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 11
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 3 of 4 pg 35 of
                                      271




 comply with probation on three occasions, which resulted in a revocation of probation; has failed

 to pay on at least one occasion; and absconded from parole. Records from NCIC reflect that the

 defendant has used at least five alias names, two alias dates of birth, and two alias social security

 numbers and he has failed to appear on at least 10 occasions, which resulted in the issuance of a

 warrant.

        Additionally, the Defendant has the following pending cases: ) Theft $20,000 or More

 (felony), 2-3) Forgery-Check/Commercial Instrument (felony), 4-10) Habitual Criminal (sentence

 enhancement) Denver County District Court, Case No. 2012CR525; 1) Identity Theft-Uses

 Information to Obtain (felony) 2-7) Habitual Criminal (sentence enhancement), Arapahoe County

 District Court, Case No. 2011CR2326; and 1) Criminal Impersonation -Gain Benefit (felony), 2)

 Criminal Possession of Financial Device- 4 Different Names (felony), 3) Identity Theft-Uses

 Information to Obtain (felony), Broomfield County District Court, Case No. 2016CR103.

        After considering all appropriate factors, I conclude that the preponderance of the evidence

 establishes that no condition or combination of conditions of release will reasonably assure the

 appearance of the defendant as required. Further, I conclude by clear and convincing evidence

 that no condition or combination of conditions of release will reasonably insure the safety of other

 persons, including the defendant, or the community.

        IT IS HEREBY ORDERED that the defendant is committed to the custody of the Attorney

 General or their designated representative for confinement in a corrections facility separate, to the

 extent practicable, from persons awaiting or serving sentences or being held in custody pending



                                                   3



                                                                                                         35
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 11
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 4 of 4 pg 36 of
                                      271




 appeal; and

        IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable opportunity

 to consult confidentially with defense counsel; and

        IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney for

 the United States of America, the person in charge of the corrections facility shall deliver

 defendant to the United States Marshal for the purpose of an appearance in connection with this

 proceeding.

        DATED: March 23, 2016.




                                                  4



                                                                                                   36
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 12
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 1 of 7 pg 37 of
                                      271




                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                     Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


                            TRIAL PREPARATION CONFERENCE ORDER

 Blackburn, J.

         Pursuant to Fed. R. Crim. P. 17.1, and D.C.COLO.LCrR 17.1.1 and 53.1, the court

 enters this Trial Preparation Conference Order.

         IT IS ORDERED as follows:

         1. That all non-CJA1 pretrial motions shall be filed by April 7, 2015;

         2. That a response to a pretrial motion shall be filed within fourteen (14) days of the

 filing of the corresponding pretrial motion;

         3. That regardless of how denominated, non-CJA motions shall not be filed out of

 time without leave of court2; regardless of how denominated, amended papers, including

 amended motions, petitions, responses, or replies shall not be filed without leave of court;

 regardless of how denominated, supplements to papers, including motions, petitions,


         1
             “CJA” are the initials for Criminal Justice Act codified at 18 U.S.C. § 3006A.
         2
           Motions to continue and motions affecting the attorney-client relationship, e.g., motions to
 withdraw, motions for substitute counsel, motions to terminate the attorney-client relationship, etc., are
 excluded from this requirement.




                                                                                                              37
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 12
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 2 of 7 pg 38 of
                                      271




 responses, or replies, shall not be filed without leave of court; and regardless of how

 denominated, replies to responses shall not be filed without leave of court;

        4. That any pretrial motion that the court determines should be set for hearing shall

 be set for hearing during a telephonic (non-appearance) setting conference on April 22,

 2016, at 10:00 a.m. (MDT);

        5. That counsel for the government shall arrange, initiate, and coordinate the

 conference call necessary to facilitate the setting conference;

        6. That trial by jury shall commence May 23, 2016, at 8:30 a.m. (MDT), in

 courtroom A1001, located on the 10th Floor of the Alfred A. Arraj Courthouse Annex, 901

 19th Street, Denver, Colorado 80294, at which the defendant shall appear in person

 without further notice, order, or subpoena;

        7. That the court reserves four (4) days for trial: Monday, May 23, 2016, through

 Thursday, May 26, 2016;

        8. That any motion brought under the Speedy Trial Act of 1974, 18 U.S.C. §§

 3161-74, to exclude time for a speedy trial shall note and circumstantiate, inter alia, the

 specific amount of time to be excluded in computing the time for speedy trial under the act

 and shall provide non-conclusory reasons to justify the amount of time to be excluded as

 provided in United States v. Toombs, 574 F.3d 1262 (10th Cir. 2009); provided,

 furthermore, that, any motion to vacate and/or continue the trial, or any motion, which, if

 granted, would cause the trial to be vacated or continued shall address the factors

 enunciated in United States v. West, 828 F.2d 1468, 1469-70 (10th Cir. 1987), pursuant to

 REB Cr. Practice Standard II.E.1;



                                               2



                                                                                                38
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 12
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 3 of 7 pg 39 of
                                      271




           9. That counsel and the defendant shall appear in courtroom A1001 on the first day

 of trial at 8:00 a.m., to review and discuss with the courtroom deputy clerk and the court, if

 necessary, any final details, arrangements, or requirements concerning the trial;

           10. That a Trial Preparation Conference shall commence on May 20, 2016, at 2:00

 p.m. (MDT), in courtroom A1001;

           11. That lead counsel and the defendant shall attend the Trial Preparation

 Conference;

           12. That at the outset of the Trial Preparation conference, each party shall submit

 on the Witness List form required by the court (an original for the court with copies for the

 courtroom deputy clerk and all other parties) a “will call” witness list enumerating the name

 and address of each witness that will be called and a “may call” witness list enumerating

 the name and address of each witness that may be called; provided, furthermore, that the

 “will call” witness list constitutes a representation on which the court and every other party

 may rely that the witnesses listed will be present and available to testify during trial;

           13. That at the Trial Preparation Conference the parties shall be prepared to review

 and discuss, inter alia, the following:

                  a. stipulated and proposed jury instructions and verdict forms;

                  b. voir dire questions;

                  c. the jury selection process, including alternate jurors, and peremptory

 challenges:

                         1. The use of the one or more alternate jurors [Review Fed.R.Crim.P.

 24(c)];

                         2. Pretrial designation of the alternate juror(s);

                                                  3



                                                                                                  39
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 12
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 4 of 7 pg 40 of
                                      271




                        3. The number and allocation of peremptory challenges [Review Fed.

 R. Crim. P. 24(b) and (c)(4)]; and

                        4. Retention or dismissal of alternate juror(s) [Review Fed. R. Crim.

 P. 24(c)(3)];

                 d. use of juror questionnaires (if a questionnaire is used, the parties shall

 surrender their copies for destruction immediately subsequent to completion of jury

 selection);

                 e. identification of all persons permitted to be seated at each party’s table;

                 f. the pronunciation of problematic party’s and witness’ names;

                 g. the names or monikers that may be used when referring to the defendant

 or a witness;

                 h. identification of “will call” and “may call” witnesses;

                 i. use of deposition testimony:

                        1. designation of specific testimony by page and line; and

                        2. identification of the person selected to read deposition answers;

                 j. use of video depositions:

                        1. resolution of objections;

                        2. pretrial redaction, if necessary; and

                        3. arrangements for necessary equipment to broadcast the

 deposition;

                 k. the admission of stipulated exhibits or exhibits about which there are no

 objections;

                 l. the allocation of trial time between the parties;

                                                   4



                                                                                                  40
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 12
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 5 of 7 pg 41 of
                                      271




                  m. the necessity for cautionary or limiting instructions;

                  n. timing and manner of publication, if any, of trial exhibits to the jury;

                  o. appropriate attire and clothing for defendant;

                  p. security precautions, requirements, or issues;

                  r. training on the use of courtroom technology;

                  s. transporting and bringing equipment, models, props, or other property

 into the courthouse and courtroom for use during trial;3 and

                  t. courtroom etiquette and protocol;

         14. That unless ordered otherwise, each side shall be permitted voir dire

 examination not to exceed 15 minutes following voir dire examination by the court, but

 shall not reiterate questions previously propounded by the court or another party;

         15. That unless ordered otherwise, the jurors shall not be sequestered before

 deliberations;

         16. That trial witnesses subject to sequestration under Fed. R. Evid. 615 shall be

 sequestered by order entered sua sponte immediately before opening statements;

         17. That unless ordered otherwise, opening statements shall be limited to thirty

 (30) minutes per party;

         18. That the court will not engage in the examination of any witness, except to

 eschew plain error;


         3
           The court has audio, video, audio-visual, evidentiary presentation, and other special equipment that
 may be used by the parties. A listing of available equipment can be found on the District Court’s website at
 http://www.cod.uscourts.gov/AttorneyInformation/GeneralAttorneyInformation.aspx under “Courtroom
 Technology Manual for Attorneys.” Arrangements for training on courtroom technology must be made with
 the courtroom deputy clerk, Kathleen Finney, at (303)335-2099, at least 14 days before trial. Notify the
 courtroom deputy clerk no later than fourteen (14) days before the date and time you need such equipment
 or need your own equipment to be brought through security for use in the courtroom.

                                                       5



                                                                                                                  41
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 12
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 6 of 7 pg 42 of
                                      271




        19. That pursuant to REB Cr. Practice Standard III.B., immediately before

 commencement of trial, the parties shall submit to the courtroom deputy clerk the exhibits

 identified in their respective exhibit lists (a set of original exhibits for use by the witnesses

 and copies for the court, the courtroom deputy clerk, opposing counsel (one set per party),

 and any pro se party);

        20. That objections made in the presence or hearing of the jury shall be stated as

 succinctly as practicable and supported by recitation of apposite authority when possible;

 however, counsel and a pro se defendant shall not speechify an objection in the presence

 or hearing of the jury [Review Fed. R. Evid.103(d) and 104(c)];

        21. That unless interrupted or otherwise ordered by the court, in marshaling

 motions or objections during trial, the following sequential protocol shall be observed:

 objection, response, reply, ruling;

        22. That to eliminate or minimize bench or sidebar conferences, each party shall be

 responsible to inform the courtroom deputy clerk in writing before the conclusion of a trial

 day specifying any issue which should be considered before commencing trial on the next

 scheduled day of trial and at the outset of a trial day specifying any issue which should be

 considered at the conclusion of that trial day;

        23. That to facilitate preparation, marshaling, and consideration of proposed jury

 instructions and verdict forms consistent with REB Cr. Practice Standard V.A.5., the

 government shall identify and enumerate each individual jury instruction in the heading or

 title as INSTRUCTION NO. G-1, G-2, G-3, etc., and the defendant shall identify and

 enumerate each individual jury instruction in the heading or title as INSTRUCTION NO. D-

 1, D-2, D-3, etc.; provided, furthermore, the parties shall similarly identify and enumerate

                                                 6



                                                                                                     42
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 12
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/23/16   Colorado
                                                                Page 7 of 7 pg 43 of
                                      271




 all proposed verdict forms and special interrogatories;

        24. That unless ordered otherwise, closing argument shall be limited to forty-five

 (45) minutes total for each party;

        25. That for additional information about courtroom protocol, courtroom technology

 and training, trial preparation, transportation of items into the courthouse and courtroom,

 or submission of trial exhibits, the courtroom deputy clerk, Kathleen Finney, at (303)335-

 2099, should be contacted; and

        26. That pursuant to REB Cr. Practice Standard VI.A.1., a notice of disposition filed

 pursuant to D.C.COLO.LCrR 11.1(a), shall be considered to be a delay resulting from

 consideration by the court of a proposed plea agreement within the meaning of 18 U.S.C.

 § 3161(h)(1)(G) for the purpose of computing time under the Speedy Trial Act of 1974, 18

 U.S.C. § 3161; provided, further, that a defendant contesting this characterization shall

 state his objection in the notice of disposition or shall be deemed to have waived the

 objection.

        Dated March 23, 2016, at Denver, Colorado.

                                                   BY THE COURT:




                                               7



                                                                                                43
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 14
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/24/16   Colorado
                                                                Page 1 of 3 pg 44 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. ALAN ALONZO WILLIAMS

        Defendant.


      PLAINTIFF’S MOTION TO DISCLOSE MATTERS OCCURING BEFORE GRAND
                             JURY TO DEFENDANT


        Plaintiff UNITED STATES OF AMERICA, by Assistant United States Attorney

 Linda Kaufman, respectfully moves the Court, pursuant to Fed. R. Crim. P. 6 (e) (3) (E) (i),

 for an order authorizing the plaintiff to disclose testimony of witnesses before the grand

 and exhibits presented to the grand jury to the defendant and his counsel, as part of

 discovery in this case, on the terms and conditions outlined below.

        AS GROUNDS FOR THIS MOTION, Plaintiff states as follows:

        1. Fed. R. Crim. P. 6 (e), with various exceptions, prohibits the disclosure of a

            matter occurring before the grand jury.

        2. Grand jury transcripts of testimony and grand jury exhibits reveal matters

            occurring before the grand jury.

        3. Fed. R. Crim. P. 6 (e) (3) (E) (i) allows for court-authorized disclosure of matters

            occurring before a grand jury, when such disclosure is preliminary to or in

            connection with a judicial proceeding.

                                               1


                                                                                                  44
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 14
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/24/16   Colorado
                                                                Page 2 of 3 pg 45 of
                                      271




       4. The pending case against the defendant is a judicial proceeding which will be

           set for trial or pretrial disposition, also judicial proceedings. The requested

           disclosure is in connection with such proceedings. The plaintiff wishes to

           provide this discovery, but only do so with the Court’s approval.

       5. Since matters occurring before the grand jury must, pursuant to Fed. R. Crim,

           P. 6(e), remain secret, the plaintiff moves that disclosure be allowed only for

           purposes of defending this case, and that such disclosure be made only to the

           defendant and his attorney; that if copies of any transcripts of testimony or

           exhibits are made for the defense, that they shall be maintained in the custody

           of the defense attorney; that such material shall not be reproduced or

           disseminated; and that such materials shall be returned to the plaintiff at the

           completion of this case.

       WHEREFORE, the plaintiff respectfully requests that the Court authorize the

 disclosure of grand jury testimony and exhibits to the defendant and his counsel, in the

 course of providing discovery in this case, on the terms and conditions outlined above.

       Respectfully submitted this 24th day of March, 2016.

                                           JOHN F. WALSH
                                           United States Attorney

                                           s/ Linda Kaufman
                                           LINDA KAUFMAN
                                           Assistant U.S. Attorney
                                           1225 17th Street, Suite 700
                                           Denver, CO 80202
                                           Telephone 303-454-0100
                                           Facsimile 303-454-0402
                                           Email: linda.kaufman@usdoj.gov




                                              2


                                                                                             45
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 14
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/24/16   Colorado
                                                                Page 3 of 3 pg 46 of
                                      271




                              CERTIFICATE OF SERVICE


        I hereby certify that on this 24th day of March, 2015, I electronically filed the
 foregoing PLAINTIFF’S MOTION TO DISCLOSE MATTERS OCCURING BEFORE
 GRAND JURY TO DEFENDANT with the Clerk of the Court using the CM/ECF system
 which will send notification of such filing to the following e-mail addresses:

 Mr. Matthew Golla
 Matt_Golla@fd.org




                                                 s/Mariah Tracy
                                                 Mariah Tracy
                                                 Legal Assistant
                                                 United States Attorney’s Office
                                                 1225 17th Street, Suite 700
                                                 Denver, CO 80202
                                                 303 454-0100
                                                 Fax: 303 454-0402
                                                 Email: mariah.tracy@usdoj.gov




                                             3


                                                                                            46
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-114-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         03/24/16  Colorado
                                                                  Page 1 of 2 pg 47 of
                                       271


                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 1.   ALAN ALONZO WILLIAMS,

        Defendant.



             ORDER GRANTING PLAINTIFF’S MOTION TO DISCLOSE
          MATTERS OCCURRING BEFORE GRAND JURY TO DEFENDANT


        This matter is before the Court on Plaintiff’s Motion to Disclose Matters Occurring

 Before Grand Jury to Defendant (Doc. 18), pursuant to Fed. R. Crim. P. 6 (e) (3) (E) (i).

 Having reviewed     the motion and being otherwise advised in the premises, the Court

 finds that good and sufficient cause supports the same, and it is therefore

        ORDERED that Plaintiff’s motion is granted. Testimony of witnesses before the

 grand jury and exhibits presented to the grand jury may be disclosed to the defendant

 and his counsel in the course of discovery in this case. It is further

        ORDERED that such materials shall only be used in defending this case; that

 such materials may be disclosed only to the defendant and his attorney; that if

 copies are made, the defendant’s attorney shall maintain custody of such copies, and

 shall not reproduce or disseminate them; and that any material provided pursuant to

 this Order shall be returned to the plaintiff at the completion of the case.




                                                                                              47
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-114-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         03/24/16  Colorado
                                                                  Page 2 of 2 pg 48 of
                                       271



        DATED:                               , 2016.



                                              BY THE COURT:



                                              ROBERT E. BLACKBURN
                                              UNITED STATES DISTRICT JUDGE




                                                                                         48
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 15
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/24/16   Colorado
                                                                Page 1 of 2 pg 49 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 CASE NO.     15-cr-00395-REB

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.

 ALAN ALONZO WILLIAMS,

              Defendant.

 ______________________________________________________________________

                    AMENDED NOTICE OF APPEARANCE
 ______________________________________________________________________

       The Office of the Federal Public Defender, by and through undersigned counsel,

 hereby enters its appearance in the above captioned case.



                                        Respectfully submitted,

                                        VIRGINIA GRADY
                                        Federal Public Defender




                                        s/ Matthew Golla
                                        Matthew C. Golla
                                        Assistant Federal Public Defender
                                        633 17th Street, Suite 1000
                                        Denver, CO 80202
                                        Telephone: (303) 294-7002
                                        FAX: (303) 294-1192
                                        Matt_Golla@fd.org
                                        Attorney for Defendant




                                                                                        49
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 15
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/24/16   Colorado
                                                                Page 2 of 2 pg 50 of
                                      271




                               CERTIFICATE OF SERVICE


         I hereby certify that on March 24, 2016, I electronically filed the foregoing NOTICE
 OF APPEARANCE with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to the following e-mail addresses:

 Linda Kaufman, Assistant United States Attorney
       Linda.Kaufman@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following
 non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-
 participant’s name:

 Alan Williams        via U.S. mail



                                           s/ Matthew Golla
                                           Matthew C. Golla
                                           Assistant Federal Public Defender
                                           633 17th Street, Suite 1000
                                           Denver, CO 80202
                                           Telephone: (303) 294-7002
                                           FAX: (303) 294-1192
                                           Matt_Golla@fd.org
                                           Attorney for Defendant




                                                                                                50
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 16
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/25/16   Colorado
                                                                Page 1 of 2 pg 51 of
                                      271




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1.      ALAN ALONZO WILLIAMS,

         Defendant.


  ORDER GRANTING PLAINTIFF'S MOTION TO DISCLOSE MATTERS OCCURING
               [sic] BEFORE GRAND JURY TO DEFENDANT

 Blackburn, J.

         This matter is before me on Plaintiff's Motion To Disclose Matters Occuring

 [sic] Before Grand Jury to Defendant [#14]1 filed March 24, 2016. Having reviewed

 the motion and being otherwise advised in the premises, I find that good and sufficient

 cause supports the same.

         THEREFORE, IT IS ORDERED as follows:

         1. That the Plaintiff's Motion To Disclose Matters Occuring [sic] Before

 Grand Jury to Defendant is granted;

         2. That the testimony of witnesses before the grand jury and exhibits presented

 to the grand jury may be disclosed to the defendant and his counsel in the course of



         1
            “[#14]” is an example of the convention I use to identify the docket number assigned to a
 specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
 convention throughout this order.



                                                                                                        51
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 16
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       03/25/16   Colorado
                                                                Page 2 of 2 pg 52 of
                                      271




 discovery in this case;

        3. That such materials shall be used only in defending this case;

        4. That such materials may be disclosed only to the defendant and his attorney;

        5. That if copies are made, the defendant's attorney shall maintain custody of

 such copies, and shall not reproduce or disseminate them; and

        6. That any material provided pursuant to this Order shall be returned to the

 plaintiff at the completion of the case.

        Dated March 25, 2016, at Denver, Colorado.

                                                 BY THE COURT:




                                             2



                                                                                          52
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 18
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/07/16   Colorado
                                                                Page 1 of 3 pg 53 of
                                      271




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


 CASE NO.       15-cr-00395-REB

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 ALAN ALONZO WILLIAMS,

             Defendant.
 _____________________________________________________________________________

        UNOPPOSED MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE
  ____________________________________________________________________________

        Defendant, Alan Alonzo Williams (“Mr. Williams”), by and through counsel, Matthew C.

 Golla, Assistant Federal Public Defender, respectfully moves this Court to extend the deadlines

 for filing pretrial motions until April 17, 2016. In support of this motion Mr. Williams states as

 follows:

        1.      Mr. Williams is charged with four counts of bank fraud in violation of 18 U.S.C.

 § 1344.

        2.      Pretrial motions are currently due in this case on April 7, 2016. A trial is

 scheduled for May 23, 2016 at 8:30 a.m.

        3.      Counsel needs an additional ten days to become better acquainted with the

 voluminous discovery and determine the appropriate motions in this case.




                                                                                                      53
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 18
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/07/16   Colorado
                                                                Page 2 of 3 pg 54 of
                                      271




        4.      Counsel has contacted Assistant U.S. Attorney, Linda Kauffman, and she does not

 oppose this motion.

        WHEREFORE, Mr. Williams respectfully moves this Court to extend the deadlines for

 filing pretrial motions until April 17, 2016.

                                                 Respectfully submitted,

                                                 VIRGINIA L. GRADY
                                                 Federal Public Defender




                                                 s/ Matthew C. Golla
                                                 MATTHEW C. GOLLA
                                                 Assistant Federal Public Defender
                                                 633 - 17th Street, Suite 1000
                                                 Denver, Colorado 80202
                                                 Telephone: (303) 294-7002
                                                 FAX: (303) 294-1192
                                                 E-mail: Matt_Golla@fd.org
                                                 Attorney for Defendant




                                                    2




                                                                                                  54
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 18
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/07/16   Colorado
                                                                Page 3 of 3 pg 55 of
                                      271




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 7, 2016, I electronically filed the foregoing

        UNOPPOSED MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE

 with the Clerk of Court using the CM/ECF system which will send notification of such filing to
 the following e-mail addresses:

 Linda Kaufman, Assistant United States Attorney
        Linda.Kaufman@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following non
 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
 name:

 Alan Williams via U.S. mail


                                               s/Matthew C. Golla
                                               MATTHEW C. GOLLA
                                               Assistant Federal Public Defender
                                               633 17th Street, Suite 1000
                                               Denver, CO 80202
                                               Telephone: (303) 294-7002
                                               FAX: (303) 294-1192
                                               matt.golla@fd.org
                                               Attorney for Defendant




                                                  3




                                                                                                   55
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 20
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/15/16   Colorado
                                                                Page 1 of 7 pg 56 of
                                      271




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


 CASE NO.       15-cr-00395-REB

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 ALAN ALONZO WILLIAMS,

             Defendant.
 _____________________________________________________________________________

           DEFENDANT’S UNOPPOSED MOTION FOR AN EXCLUSION OF
                    120 DAYS FROM THE SPEEDY TRIAL ACT
  ____________________________________________________________________________


         Defendant, Alan Alonzo Williams (“Mr. Williams”), by and through counsel, Matthew C.

 Golla, Assistant Federal Public Defender, respectfully moves this Court to for an order

 excluding another 120 days from the speedy trial computations and extend the deadline for

 pretrial motions. In support of this motion, Mr. Williams states as follows:

         1.     On October 2, 2015, a grand jury returned a four count indictment against Mr.

 Williams. In counts 1 through 4, Mr. Williams is charged with Bank Fraud, in violation of 18

 U.S.C. § 1344 and 2(b).

         2.     The Court has set a trial date of May 23, 2016. Pretrial motions are due April 17,

 2016.

         3.     18 U.S.C. § 3161(h)(7)(A) authorizes this Court to exclude from the time

 limitations set forth in the Speedy Trial Act any delay for which the ends of justice served by the




                                                                                                       56
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 20
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/15/16   Colorado
                                                                Page 2 of 7 pg 57 of
                                      271




 delay outweigh the best interest of the public and the defendant in a speedy trial. 18 U.S.C. §

 3161(7)(B)(i) provides that a factor for the Court to consider in granting this delay is “[w]hether

 the failure to grant such a continuance in the proceeding would be likely to make a continuation

 of such proceeding impossible, or result in the miscarriage of justice.” An additional factor, set

 forth in 18 U.S.C.§3161(h)(7)(B)(iv) is whether the failure to grant such a continuance “would

 deny counsel for the defendant... the reasonable time necessary for effective preparation taking

 into account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). Mr. Williams

 submits that this case meets this criteria and respectfully requests that the Court exclude 120

 days from the Speedy Trial calculations.

        In United States v. Williams, 511 F.3d 1044, 1057 (10th Cir. 2007), the Circuit observed

 that although “the trial court must make explicit findings regarding why granting the continuance

 will strike a proper balance between the ends of justice and the best interest of the public and the

 defendant in a speedy trial,” it “need not articulate facts which are obvious and set forth in the

 motion for the continuance itself.”(internal citations omitted) (quoting United States v. Lattany,

 982 F.2d 866, 879 (3d Cir.1992)).

        In United States v. West, 828 F.2d 1468, 1469-70 (10th Cir 1987), the Circuit outlined

 certain factors to consider when weighing whether a denial of a continuance is arbitrary or

 unreasonable. These factors include the following:

        A. The diligence of the party requesting the continuance

        After counsel’s initial review of discovery, it is clear that the investigation required to

 prepare for trial will necessitate the time requested. An initial evaluation of this case indicates

 that there are approximately 8,000 pages of discovery which need to be reviewed and examined.

                                                   2




                                                                                                        57
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 20
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/15/16   Colorado
                                                                Page 3 of 7 pg 58 of
                                      271




 The four counts of bank fraud are based on four separate applications, with each loan supported

 by various financial documents that need to be evaluated separately by the defense.

        These records are quite extensive encompassing numerous financial records. Preparation

 will entail reviewing the bank records and related financial documentation. For example, one of

 alleged false representations made to WebBank relates to ownership of the names borrower’s

 house in Denver, That in turn, relates to a $900,000 loan from Aurora Loan Services to purchase

 the home. Documentation supporting this particular loan includes bank records, W-2’s, earning

 statements, employment, and tax records.

        Another allegation in the indictment is that of a fraudulent $800,000 loan to Mr. Williams

 business, Williams’ Vending Company (“WVC”). Complex documentation supporting this loan

 includes WVC invoices, bank accounts, personal assets, records, tax records, and managerial

 qualifications of the applicant. These complex documents need to be reviewed and analyzed.

        Approximately five separate bank accounts were allegedly involved in the acquired loans

 outlined in the indictment. Counsel for Mr. Williams will have to review these bank accounts in

 conjunction with the separate loan applications.

        Several of the loans described in the indictment were Small Business Administration

 (“SBA”) guaranteed loans. Required documentation for this type of loan is usually more

 voluminous since the SBA requires extensive qualifying paperwork. For example, a personal

 guarantee of the applicant was required with this particular loan, as well as documentation

 regarding the applicant’s personal history and managerial experience.

        In addition, two other loans which the government is likely to designate as 404(b)

 evidence, both SBA loans, will also need to be reviewed for purposes of trial. The supporting

                                                    3




                                                                                                     58
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 20
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/15/16   Colorado
                                                                Page 4 of 7 pg 59 of
                                      271




 documentation underlying all of these loans are complex financial documents consisting of

 business contracts, asset and liability sheets, and invoices.

        Mr. Williams provided a two hour interview to investigating agents on the day of his

 arrest. This interview and the preceding events will need to be analyzed and researched with

 respect to a potential motion to suppress.

        Finally, there are several witnesses who are located out of state. Additional time will be

 needed to locate, schedule and interview these witnesses.

        While each case is different, in undersigned counsel’s experience, white collar cases

 similar to those alleged here, may involve more complex pretrial motions. Given the volume of

 discovery in this case, the defense cannot reasonably review all of the discovery, analyze

 potential defenses and the need for expert witnesses, interview and retain any expert witnesses,

 by late May of 2016. To provide effective representation, a continuance of the current deadline

 is needed.

        B. The likelihood that the continuance, if granted, would accomplish the purpose
           underlying the party’s expressed need for the continuance

        A continuance of the trial in this matter would allow adequate time for counsel to

 accomplish the purposes set forth above as the need for the continuance. Mr. Williams requests

 a continuance so that the defense will have sufficient time to investigate the case, research the

 legal issues surrounding the case, file any necessary pretrial motions, and properly defend

 against the allegations.




                                                   4




                                                                                                     59
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 20
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/15/16   Colorado
                                                                Page 5 of 7 pg 60 of
                                      271




        C. The inconvenience to the opposing party, its witnesses, and the court resulting from
           the continuance:

        There is no information to suggest that the government or its witnesses would be

 inconvenienced by this requested continuance. As set forth above, the government does not

 oppose this motion. Counsel is not aware of any inconvenience that will result to this Honorable

 Court as a result of this requested continuance, but Counsel respectfully cannot presume in any

 given instance that the Court would or would not be inconvenienced by this request. Counsel

 does not intend inconvenience to this Court and knows of no particular aspect of this request

 which would cause such a problem.

        D. The need asserted for the continuance and the harm the appellant might suffer as a
           result of the district court’s denial of the continuance:

        The need for the continuance is great. Without such a continuance, counsel for the

 defendant would be denied “reasonable time necessary for effective preparation, taking into

 account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv).

        Until all the discovery is reviewed, the necessary investigation has been completed, and

 the legal issues have been researched, counsel cannot effectively prepare pretrial motions and

 defend against the pending charges. The harm that would result by this Court’s denial of the

 request for a continuance would be great as it would deprive the defendant of adequate and

 competent counsel. Without the requested continuance, the defense will be unable to prepare a

 defense in this case and counsel will not be able to provide effective assistance of counsel.

        Under the factors set forth in West, supra, as well as the teachings of Williams, supra,

 United States v. Toombs, 475 F.3d 1262, 1268 (10th Cir. 2009), and United States v. Medrano,

 2009 WL 45547801 *4-7 (08-1273)(10th Cir. December 7, 2009), even exercising due diligence

                                                  5




                                                                                                    60
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 20
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/15/16   Colorado
                                                                Page 6 of 7 pg 61 of
                                      271




 undersigned counsel could not be prepared for trial within the time limits of the Speedy Trial

 Act.

        4.      Because it would be unreasonable to expect adequate preparation for pretrial

 proceedings or the trial itself without the normal speedy trial limits, the Defendant respectfully

 requests that this Court vacate all current trial dates and allow a significant additional period of

 time to prepare this case for trial. As a result, the defense respectfully requests that the Court

 exclude 120 days from the Speedy Trial limits.

        5.      Undersigned counsel has contacted Assistant United States Attorney Linda

 Kaufman and she does not oppose this motion.

        WHEREFORE, Mr. Williams respectfully moves this Court for an order excluding 120

 days from the speedy trial computations, vacating the May 23, 2016 trial, the deadline for filing

 of pretrial motions, and all related deadlines.



                                                   Respectfully submitted,

                                                   VIRGINIA L. GRADY
                                                   Federal Public Defender




                                                   s/ Matthew C. Golla
                                                   MATTHEW C. GOLLA
                                                   Assistant Federal Public Defender
                                                   633 - 17th Street, Suite 1000
                                                   Denver, Colorado 80202
                                                   Telephone: (303) 294-7002
                                                   FAX: (303) 294-1192
                                                   E-mail: Matt_Golla@fd.org
                                                   Attorney for Defendant

                                                      6




                                                                                                        61
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 20
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/15/16   Colorado
                                                                Page 7 of 7 pg 62 of
                                      271




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 15, 2016, I electronically filed the foregoing

  DEFENDANT’S UNOPPOSED MOTION FOR AN EXCLUSION OF 180 DAYS FROM
                      THE SPEEDY TRIAL ACT

 with the Clerk of Court using the CM/ECF system which will send notification of such filing to
 the following e-mail addresses:

 Linda Kaufman, Assistant United States Attorney
        Linda.Kaufman@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following non
 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
 name:

 Alan Williams         via U.S. mail


                                               s/Matthew C. Golla
                                               MATTHEW C. GOLLA
                                               Assistant Federal Public Defender
                                               633 17th Street, Suite 1000
                                               Denver, CO 80202
                                               Telephone: (303) 294-7002
                                               FAX: (303) 294-1192
                                               matt.golla@fd.org
                                               Attorney for Defendant




                                                  7




                                                                                                   62
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 21
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       04/25/16   Colorado
                                                                Page 1 of 1 pg 63 of
                                      271




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


                                           MINUTE ORDER1


        The matter is before the court on the Defendant’s Unopposed Motion for an
 Exclusion of 120 Days from the Speedy Trial Act [#20]2 filed April 15, 2016. This
 order is entered to set a date and time at which the court will hear the motion.

         THEREFORE, IT IS ORDERED as follows:

        1. That on May 6, 2016, commencing at 2:00 p.m. (MDT), the court shall hear
 the Defendant’s Unopposed Motion for an Exclusion of 120 Days from the Speedy
 Trial Act; and

       2. That, to the extent necessary, the United States Marshal for the District of
 Colorado shall assist the court in securing the appearance of the defendant for this
 hearing.

         Dated: April 25, 2016




         1
          This minute order is issued pursuant to the express authority of the Honorable Robert E.
 Blackburn, United States District Judge for the District of Colorado.

         2
            “[#20]” is an example of the convention the court uses to identify the docket number assigned to
 a specific paper by the court’s case management and electronic case filing system (CM/ECF). The court
 uses this convention throughout this order.



                                                                                                               63
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 22
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       05/02/16   Colorado
                                                                Page 1 of 1 pg 64 of
                                      271




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


                                           MINUTE ORDER1


       The matter is before the court sua sponte. Due to a conflict in the court’s
 calendar, the time of the hearing on the Defendant’s Unopposed Motion for an
 Exclusion of 120 Days from the Speedy Trial Act [#20]2 filed April 15, 2016, must be
 changed. After conferring with counsel, and with their agreement,

         IT IS ORDERED as follows:

        1. That the time of the hearing on the Defendant’s Unopposed Motion for an
 Exclusion of 120 Days from the Speedy Trial Act is reset from May 6, 2016, at 2:00
 p.m. to the same date at 10:30 a.m. (MDT); and

       2. That, to the extent necessary, the United States Marshal for the District of
 Colorado shall assist the court in securing the appearance of the defendant for this
 hearing.

         Dated: May 2, 2016




         1
          This minute order is issued pursuant to the express authority of the Honorable Robert E.
 Blackburn, United States District Judge for the District of Colorado.

         2
            “[#20]” is an example of the convention the court uses to identify the docket number assigned to
 a specific paper by the court’s case management and electronic case filing system (CM/ECF). The court
 uses this convention throughout this order.



                                                                                                               64
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 23
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       05/06/16   Colorado
                                                                Page 1 of 2 pg 65 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge Robert E. Blackburn

Date:                 May 6, 2016

Deputy Clerk:         Kathleen Finney
Court Reporter:       Gwen Daniel


Criminal Action No. 15-cr-00395-REB

Parties:                                            Counsel:

UNITED STATES OF AMERICA,                          Linda Kaufman

        Plaintiff,
v.

ALAN ALONZO WILLIAMS,                              Matthew Golla

        Defendant.


                                 COURTROOM MINUTES


Motion Hearing on #20

10:44 a.m.      Court in session.

Appearances of counsel.

Defendant is present in custody.

Opening statements by the court. The matter is before the court for hearing and
consideration on the Defendant’s Unopposed Motion for an Exclusion of 120 Days
from the Speedy Trial Act [#20] filed April 15, 2015.

Argument by Mr. Golla.

Argument by Ms. Kaufman.

Court’s findings of fact, conclusions of law, and order.

                                          Page 1 of 2




                                                                                       65
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 23
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       05/06/16   Colorado
                                                                Page 2 of 2 pg 66 of
                                      271




       IT IS ORDERED as follows:

       1.    That the Defendant’s Unopposed Motion for an Exclusion of 120 Days
             from the Speedy Trial Act [#20] is GRANTED; insofar as consistent with
             the foregoing findings, conclusions, and the following orders;

       2.    That the time from and including today through and including October 3,
             2016 is excluded from the time for a speedy trial under the Speedy Trial
             Act of 1974;

       3.    That any non-CJA pretrial motions shall be filed by August 8, 2016, and
             any corresponding responses shall be filed by August 26, 2016;

       4.    That a further Status Conference is set September 22, 2016, commencing
             at 1:15 p.m. (MDT), at which counsel and the defendant shall appear
             before the court without further notice or order; provided further, that to the
             extent necessary, the United States Marshal for the District of Colorado
             shall assist the court in securing the appearance of the defendant;

       5.    That the Trial Preparation Conference now set May 20, 2016, is vacated
             and continued pending further order of court;

       6.    That the trial by jury now set to commence May 23, 2016, is vacated and
             continued pending further order of court; and

       7.    That the defendant is remanded to the United States Marshal for continued
             detention.

11:01 a.m.   Court in recess.

Total time in court:00:17

Hearing concluded.




                                         Page 2 of 2




                                                                                               66
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 24
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       07/15/16   Colorado
                                                                Page 1 of 3 pg 67 of
                                      271




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

 CASE NO.        15-cr-00395-REB

 UNITED STATES OF AMERICA,

                 Plaintiff,

 v.

 ALAN ALONZO WILLIAMS,

             Defendant.
 _____________________________________________________________________________

           MOTION TO WITHDRAW AS COUNSEL OF RECORD AND TO
      APPOINT NEW COUNSEL FROM THE CRIMINAL JUSTICE ACT PANEL
  ____________________________________________________________________________

         The Office of the Federal Public Defender, by and through undersigned counsel, moves

 to withdraw as counsel for the above named Defendant, Alan Williams. An irreconcilable

 concurrent conflict of interest has been discovered to exist within the Office of the Federal

 Public Defender to the extent that continued representation of Mr. Williams could violate Rules

 1.7(a)(2) and 1.16(a)(1) of the Colorado Rules of Professional Conduct, which have been

 adopted by the Court in D.C.Colo. L.Cr.R. 57.6.

         Rule 1.7(a)(2) of the Colorado Rules of Professional Conduct states that “ a lawyer shall

 not represent a client if the representation involves a concurrent conflict of interest. A

 concurrent conflict of interest exists if there is a significant risk that the representation of one or

 more clients will be materially limited by the lawyer’s responsibilities to another client, former

 client or a third person or by a personal interest of the lawyer.”

         Rule 1.16(a)(1) of the Colorado Rules of Professional Conduct further states that, “a

 lawyer shall not represent a client or, where representation has commenced, shall withdraw from




                                                                                                           67
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 24
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       07/15/16   Colorado
                                                                Page 2 of 3 pg 68 of
                                      271




 the representation of a client if the representation will result in violation of the rules of

 professional conduct or other law.”

         After reviewing the facts and circumstances surrounding the allegations against Mr.

 Williams, undersigned counsel believes that there is a significant risk that the continued

 representation of Mr. Williams will be materially limited by the responsibilities to another

 current client of the Federal Public Defender’s Office. Based on this conflict, the Office of the

 Federal Public Defender moves to withdraw as counsel and would further request that the Court

 appoint an attorney from the CJA panel to represent Mr. Williams in the above-referenced case.




                                                 Respectfully submitted,

                                                 VIRGINIA GRADY
                                                 Federal Public Defender




                                                 s/ Matthew Golla
                                                 Matthew C. Golla
                                                 Assistant Federal Public Defender
                                                 633 17th Street, Suite 1000
                                                 Denver, CO 80202
                                                 Telephone: (303) 294-7002
                                                 FAX: (303) 294-1192
                                                 Matt_Golla@fd.org
                                                 Attorney for Defendant




                                                    2




                                                                                                     68
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 24
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       07/15/16   Colorado
                                                                Page 3 of 3 pg 69 of
                                      271




                                  CERTIFICATE OF SERVICE


        I hereby certify that on July 15, 2016, I electronically filed the foregoing with the Clerk of
 Court using the CM/ECF system which will send notification of such filing to the following e-mail
 addresses:

 Linda Kaufman, Assistant United States Attorney
        Linda.Kaufman@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following non
 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
 name:

 Alan Williams          via U.S. mail


                                               s/Matthew C. Golla
                                               MATTHEW C. GOLLA
                                               Assistant Federal Public Defender
                                               633 17th Street, Suite 1000
                                               Denver, CO 80202
                                               Telephone: (303) 294-7002
                                               FAX: (303) 294-1192
                                               matt.golla@fd.org
                                               Attorney for Defendant




                                                  3




                                                                                                         69
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 26
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       07/19/16   Colorado
                                                                Page 1 of 1 pg 70 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 15-CR-00395-REB

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 ALAN ALONZO WILLIAMS.

 Defendant.

                                  MINUTE ORDER

 Entered by Magistrate Judge Michael J. Watanabe

        It is hereby ORDERED that Assistant Federal Public Defender Matthew Golla’s
 Motion to Withdraw as Counsel of Record and to Appoint Counsel from the Criminal
 Justice Act Panel (docket no. 24) is GRANTED finding good cause shown. Assistant
 Federal Public Defender Matthew Golla is WITHDRAWN as counsel of record for
 Defendant Alan Alonzo Williams.

       It is FURTHER ORDERED that substitute counsel from the CJA Panel is
 appointed to represent Defendant Alan Alonzo Williams.

 Date: July 19, 2016




                                                                                       70
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 27
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       07/26/16   Colorado
                                                                Page 1 of 2 pg 71 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:15-cr-00395-REB


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     ALAN ALONZO WILLIAMS,

        Defendant.



                                 ENTRY OF APPEARANCE


        Michael J. Gallagher, of the law firm of Davis Graham & Stubbs, LLP, hereby enters his

 appearance on behalf of Defendant Alan Alonzo Williams in this matter.

        Respectfully submitted this 26th day of July, 2016.




                                                  /s/ Michael J. Gallagher
                                                MICHAEL J. GALLAGHER
                                                DAVIS GRAHAM & STUBBS LLP
                                                1550 Seventeenth Street, Suite 500
                                                Denver, CO 80202
                                                Telephone: (303) 892-9400
                                                Mike.Gallagher@dgslaw.com

                                                Attorney for Defendant Alan Alonzo Williams




                                                                                       4196998.1
                                                                                                   71
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 27
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       07/26/16   Colorado
                                                                Page 2 of 2 pg 72 of
                                      271




                                        Certificate of Service


        I certify that on July 26, 2016, I electronically filed the foregoing ENTRY OF

 APPEARANCE with the Clerk of the Court using the CM/ECF system which will send

 notification of such filing to all counsel of record.



                                                 /s/ Patricia Henson
                                                Patricia Henson




                                                2
                                                                                         72
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 28
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/08/16   Colorado
                                                                Page 1 of 4 pg 73 of
                                      271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:15-cr-00395-REB


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     ALAN ALONZO WILLIAMS,

        Defendant.



      DEFENDANT’S UNOPPOSED MOTION TO EXTEND PRE-TRIAL MOTIONS
        DEADLINES AND EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT


        Defendant Alan Alonzo Williams (“Defendant”), by his undersigned counsel, requests a

 three-week extension of his deadline to file pre-trial motions and related deadlines (“Motion”),

 and that this additional time be excluded from calculations under the Speedy Trial Act. In

 support of this Motion, Defendant states as follows:

        1.      Defendant has been in federal custody since his arrest in this case on March 18,

 2016. That same day, the Federal Public Defender was appointed to represent Defendant.

        2.      On April 15, 2016, Defendant filed a motion to exclude 120 days under the

 Speedy Trial Act, and on May 6, 2016, the Court heard argument on Defendant’s motion. The

 Court granted Defendant’s motion, setting a revised pre-trial motions deadline of Monday,

 August 8, 2016, with responses due by Friday, August 26, 2016.




                                                                                          4201437.2
                                                                                                      73
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 28
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/08/16   Colorado
                                                                Page 2 of 4 pg 74 of
                                      271




        3.      In granting Defendant’s motion, the Court excluded the time period from May 6,

 2016 through October 3, 2016, a period of approximately 153 days.

        4.      This Motion incorporates and adopts Defendant’s earlier motion to exclude time

 under the Speedy Trial Act, as well as the Court’s subsequent order. The reasoning cited by the

 Federal Public Defender is equally valid today for Defendant’s newly appointed attorney. See

 United States v. West, 828 F.2d 1468 (10th Cir. 1987), and United States v. Toombs, 475 F.3d

 1262 (10th Cir. 2009).

        5.      On July 15, 2016, the Federal Public Defender filed a motion to withdraw as

 counsel for Defendant. On July 19, 2016, the Court granted the motion to withdraw.

        6.      On July 27, 2016, undersigned counsel filed his Entry of Appearance in this case.

        7.      Since that time, undersigned counsel has received from the Federal Public

 Defender and Assistant U.S. Attorney Linda Kaufman extensive discovery in this matter,

 including over a thousand pages of bank records. (The Indictment in this case alleges multiple

 violations of 18 U.S.C. § 1344 – bank fraud.) Defense counsel has diligently begun the review

 of these materials, but additional time is needed to evaluate these materials and otherwise

 investigate the underlying facts.

        8.      Defendant makes this request so that his new appointed attorney may have “the

 reasonable time necessary for effective preparation taking into account the exercise of due

 diligence” prior to the pre-trial motions deadline and status conference in this case. See 18

 U.S.C. §3161(h)(7)(B)(iv). Defendant makes this Motion not for purposes of delay, but so that

 his newly-appointed counsel may perform due diligence in reviewing discovery to determine

 what, if any, pre-trial motions should be filed. Defendant believes such an extension will be


                                             2
                                                                                                    74
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 28
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/08/16   Colorado
                                                                Page 3 of 4 pg 75 of
                                      271




 sufficient to accomplish this purpose, and that the Government will not be inconvenienced by

 this request. Pursuant to 18 U.S.C. § 3161(h)(7)(A), Defendant asks that this extension of time

 be excluded from the Speedy Trial Act because the ends of justice served by this delay outweigh

 the best interest of the public and Defendant in a speedy trial.

          9.        Undersigned counsel has discussed this Motion with Defendant, who agrees that

 an extension of the pre-trial motions deadline and exclusion of this additional time period under

 the Speedy Trial Act are in his best interests.

          10.       Undersigned counsel has discussed this Motion with counsel for the Government,

 Assistant U.S. Attorney Linda Kaufman. Ms. Kaufman is not opposed to the Motion.

          11.       This Motion is undersigned counsel’s first request for continuance in this matter,

 and Defendant’s second such filing. (Prior counsel requested a previous extension on April 7,

 2016.)

          Defendant respectfully requests a three-week extension of his pre-trial motions filing

 deadline until on or about August 29, 2016, with responses thereby due by Friday, September 16,

 2016. Defendant additionally asks that the status conference scheduled in this matter also be

 continued three weeks from September 22, 2016 until October 13, 2016, and that the time period

 from May 6, 2016, through October 13, 2016, be excluded from the calculation under the Speedy

 Trial Act.

                Respectfully submitted this 8th day of August, 2016.


                                                      /s/ Michael J. Gallagher
                                                     MICHAEL J. GALLAGHER




                                                 3
                                                                                                         75
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 28
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/08/16   Colorado
                                                                Page 4 of 4 pg 76 of
                                      271




                                                   DAVIS GRAHAM & STUBBS LLP
                                                   1550 Seventeenth Street, Suite 500
                                                   Denver, CO 80202
                                                   Telephone: (303) 892-9400
                                                   Mike.Gallagher@dgslaw.com

                                                   Attorney for Defendant Alan Alonzo Williams




                                        Certificate of Service


        I certify that on August 8, 2016, I electronically filed the foregoing DEFENDANT’S

 UNOPPOSED MOTION TO EXTEND PRE-TRIAL MOTIONS DEADLINES AND EXCLUDE

 TIME UNDER THE SPEEDY TRIAL ACT with the Clerk of the Court using the CM/ECF system

 which will send notification of such filing to all counsel of record.



                                                /s/ Lyn Buchele
                                               Lyn Buchele




                                               4
                                                                                                 76
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-128-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         08/08/16  Colorado
                                                                  Page 1 of 1 pg 77 of
                                       271




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:15-cr-00395-REB


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     ALAN ALONZO WILLIAMS,

        Defendant.



                                  [PROPOSED] ORDER


        Having considered Defendant’s Unopposed Motion to Extend Pre-Trial Motions

 Deadlines and Exclude Time Under the Speedy Trial Act (“Motion”), the Court finds that the

 Motion should be GRANTED. As such, pre-trial motions in this case are now due no later than

 August 29, 2016, with corresponding responses due no later than September 16, 2016, and the

 Status Conference in this matter is reset to October 13, 2016, at ________________.

 Additionally, the time period from May 6, 2016, and October 13, 2016, is excluded from the

 Speedy Trial Act.

        So ORDERED this ______ day of August, 2016.



                                             HON. ROBERT E. BLACKBURN
                                             Senior United States District Judge for the
                                             District of Colorado



                                                                                       4201438.2
                                                                                                   77
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 29
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/19/16   Colorado
                                                                Page 1 of 1 pg 78 of
                                      271




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


                                           MINUTE ORDER1


         The matter is before the court on the Defendant’s Unopposed Motion To
 Extend Pre-Trial Motions Deadlines and Exclude Time under the Speedy Trial Act
 [#28]2 filed August 8, 2016. This order is entered to schedule and coordinate a date and
 time at which the court will hear the motion.

         THEREFORE, IT IS ORDERED as follows:

        1. That on August 23, 2016, at 9:30 a.m. (MDT), the court shall conduct a
 telephonic (non-appearance) setting conference to set the motion for hearing; and

        2. That counsel for the defendant shall arrange, initiate, and coordinate the
 conference call to chambers at 303-335-2350 to facilitate the setting conference.

         Dated: August 19, 2016




         1
          This minute order is issued pursuant to the express authority of the Honorable Robert E.
 Blackburn, United States District Judge for the District of Colorado.

         2
            “[#28]” is an example of the convention the court uses to identify the docket number assigned to
 a specific paper by the court’s case management and electronic case filing system (CM/ECF). The court
 uses this convention throughout this order.



                                                                                                               78
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 30
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/23/16   Colorado
                                                                Page 1 of 1 pg 79 of
                                      271




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


                                           MINUTE ORDER1


        On August 23, 2016, the court conducted a telephonic setting conference to set
 the Defendant’s Unopposed Motion To Extend Pre-Trial Motions Deadlines and
 Exclude Time under the Speedy Trial Act [#28]2 filed August 8, 2016, for hearing.
 After conferring with counsel, and by agreement of all,

         IT IS ORDERED as follows:

        1. That on August 24, 2016, commencing at 11:00 a.m. (MDT), the court shall
 hear the Defendant’s Unopposed Motion To Extend Pre-Trial Motions Deadlines
 and Exclude Time under the Speedy Trial Act; and

       2. That, to the extent necessary, the United States Marshal for the District of
 Colorado shall assist the court in securing the appearance of the defendant for this
 hearing.

         Dated: August 23, 2016




         1
          This minute order is issued pursuant to the express authority of the Honorable Robert E.
 Blackburn, United States District Judge for the District of Colorado.

         2
            “[#28]” is an example of the convention the court uses to identify the docket number assigned to
 a specific paper by the court’s case management and electronic case filing system (CM/ECF). The court
 uses this convention throughout this order.



                                                                                                               79
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 31
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/24/16   Colorado
                                                                Page 1 of 2 pg 80 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge Robert E. Blackburn

Date:                 August 24, 2016

Deputy Clerk:         Kathleen Finney
Court Reporter:       Julie Thomas


Criminal Action No. 15-cr-00395-REB

Parties:                                            Counsel:

UNITED STATES OF AMERICA,                          Linda Kaufman

        Plaintiff,
v.

ALAN ALONZO WILLIAMS,                              Michael Gallagher

        Defendant.


                                 COURTROOM MINUTES


Motion Hearing on #28.

11:07 a.m.      Court in session.

Appearances of counsel.

Defendant is present in custody.

Opening statements by the court. The matter is before the court for hearing and
consideration on the Defendant’s Unopposed Motion to Extend Pre-Trial Motions
Deadlines and Exclude Time Under the Speedy Trial Act [#28] filed August 8, 2016.

Statement by Ms. Kaufman.

Argument by Mr. Gallagher.

Court’s findings of fact, conclusions of law, and order.

                                          Page 1 of 2




                                                                                       80
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 31
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       08/24/16   Colorado
                                                                Page 2 of 2 pg 81 of
                                      271




       IT IS ORDERED as follows:

       1.    That the Defendant’s Unopposed Motion to Extend Pre-Trial Motions
             Deadlines and Exclude Time Under the Speedy Trial Act [#28] is
             GRANTED;

       2.    That the time from and including October 3, 2016 through and including
             October 13, 2016 is excluded from the time for a speedy trial under the
             Speedy Trial Act of 1974;

       3.    That any non-CJA pretrial motions shall be filed by August 29, 2016, and
             any corresponding responses shall be filed by September 16, 2016;

       4.    That the Status Conference now set September 22, 2016 is vacated and
             continued to October 13, 2016, commencing at 1:30 p.m. (MDT), at
             which counsel and the defendant shall appear before the court without
             further notice or order; provided further, that to the extent necessary, the
             United States Marshal for the District of Colorado shall assist the court in
             securing the appearance of the defendant; and

       5.    That the defendant is remanded to the United States Marshal for continued
             detention.

11:22 a.m.   Court in recess.

Total time in court:00:17

Hearing concluded.




                                         Page 2 of 2




                                                                                            81
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 32
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/12/16   Colorado
                                                                Page 1 of 5 pg 82 of
                                      271




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:15-cr-00395-REB


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     ALAN ALONZO WILLIAMS,

        Defendant.



      DEFENDANT’S UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE
              AND EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT


        Defendant Alan Alonzo Williams (“Defendant”), by his undersigned counsel, requests an

 additional thirty day continuance of the status conference currently set in this matter for 1:30

 P.M. on Thursday, October 13, 2016 (“Motion”), and that this additional time be excluded from

 calculations under the Speedy Trial Act. In support of this Motion, Defendant states as follows:

        1.      Defendant has been in federal custody since his arrest in this case on March 18,

 2016. That same day, the Federal Public Defender was appointed to represent Defendant.

        2.      On April 15, 2016, Defendant filed a motion to exclude 120 days under the

 Speedy Trial Act, and on May 6, 2016, the Court heard argument on Defendant’s motion. The

 Court granted Defendant’s motion, setting a revised pre-trial motions deadline of Monday,

 August 8, 2016, with responses due by Friday, August 26, 2016.




                                                                                           4224385.1
                                                                                                       82
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 32
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/12/16   Colorado
                                                                Page 2 of 5 pg 83 of
                                      271




        3.      In granting Defendant’s motion, the Court excluded the time period from May 6,

 2016 through October 3, 2016, a period of approximately 153 days.

        4.      On July 15, 2016, the Federal Public Defender filed a motion to withdraw as

 counsel for Defendant. On July 19, 2016, the Court granted the motion to withdraw.

        5.      On July 27, 2016, undersigned counsel filed his Entry of Appearance in this case.

        6.      On August 8, 2016, Defendant, via undersigned counsel, filed a motion to extend

 pre-trial deadlines and exclude time under the Speedy Trial Act. This motion sought additional

 time for newly appointed counsel to review the extensive discovery in this case and evaluate the

 need for filing of motions.

        7.      After a hearing on August 24, 2016, the Court granted Defendant’s motion, and

 excluded the time from October 3, 2016, to October 13, 2016, from calculations under the

 speedy trial act. During the additional time provided, undersigned counsel conferred with the

 government on a number of issues and resolved them without the necessity of filing motions.

 During this additional time, undersigned counsel also began to investigate the status of three

 state felony cases pending against Mr. Williams.

        8.      This Motion incorporates and adopts Defendant’s earlier motions to exclude time

 under the Speedy Trial Act, as well as the Court’s subsequent orders. The reasoning cited

 therein is equally valid today. See United States v. West, 828 F.2d 1468 (10th Cir. 1987), and

 United States v. Toombs, 475 F.3d 1262 (10th Cir. 2009).

        9.      Since the Court granted the Defendant’s last motion for additional time,

 undersigned counsel has vigorously pursued a “global resolution” of Defendant’s four pending

 criminal cases. In addition to this pending matter, the Defendant has unresolved criminal cases


                                             2
                                                                                                    83
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 32
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/12/16   Colorado
                                                                Page 3 of 5 pg 84 of
                                      271




 pending in the City and County of Denver, Arapahoe County, and Broomfield County.

 Undersigned counsel’s efforts have involved multiple discussions with prosecutors from each of

 the three separate jurisdictions, discussions with multiple Public Defenders, and researching the

 pending charges and possible sentences that the Defendant may face in those cases. Undersigned

 counsel has kept the government advised of these discussions.

        10.     Proper representation of the Defendant necessarily must take into account the

 impact of all of the charges pending against him. Though substantial progress has been made

 towards a “global resolution,” of Defendant’s four pending cases, Defendant requests additional

 time so that undersigned counsel may have “the reasonable time necessary for effective

 preparation taking into account the exercise of due diligence” prior to the status conference in

 this case. See 18 U.S.C. §3161(h)(7)(B)(iv). Defendant makes this Motion not for purposes of

 delay, but so undersigned counsel may finish performing due diligence in attempting to reach a

 global resolution that includes discussions with state authorities. This extension should be

 sufficient to accomplish this purpose, and the Government will not be inconvenienced by this

 request. Pursuant to 18 U.S.C. § 3161(h)(7)(A), Defendant asks that this extension of time be

 excluded from the Speedy Trial Act because the ends of justice served by this delay outweigh the

 best interest of the public and Defendant in a speedy trial.

        11.     Defendant also makes this request so as to avoid any potential “miscarriage of

 justice” resulting from the premature termination of Defendant’s efforts at achieving a “global

 resolution” of his four pending cases. See 18 U.S.C. § 3161(h)(7)(B)(i). Undersigned counsel

 has invested substantial efforts investigating Defendant’s pending cases, and believes that

 “global resolution” can be achieved within this additional 30 day period.


                                               3
                                                                                                     84
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 32
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/12/16   Colorado
                                                                Page 4 of 5 pg 85 of
                                      271




        12.       Undersigned counsel has discussed this Motion with Defendant, who agrees that a

 continuance of the status conference and exclusion of this additional time period under the

 Speedy Trial Act are in his best interests.

        13.       Undersigned counsel has discussed this Motion with counsel for the Government,

 Assistant U.S. Attorney Linda Kaufman. Ms. Kaufman is not opposed to the Motion.

        14.       This Motion is undersigned counsel’s second request for continuance in this

 matter, and Defendant’s third such filing. (Prior counsel requested a previous extension on April

 7, 2016.)

        Defendant respectfully requests a thirty-day extension of the status conference scheduled

 in this matter for October 13, 2016, until on or about Monday, November 14, 2016, and that the

 time period from October 13, 2016 through November 14, 2016 be excluded from the calculation

 under the Speedy Trial Act.

              Respectfully submitted this 12th day of October, 2016.


                                                     /s/ Michael J. Gallagher
                                                   MICHAEL J. GALLAGHER
                                                   DAVIS GRAHAM & STUBBS LLP
                                                   1550 Seventeenth Street, Suite 500
                                                   Denver, Colorado 80202
                                                   Telephone: (303) 892-9400
                                                   Mike.Gallagher@dgslaw.com

                                                   Attorney for Defendant Alan Alonzo Williams




                                               4
                                                                                                     85
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 32
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/12/16   Colorado
                                                                Page 5 of 5 pg 86 of
                                      271




                                        Certificate of Service


        I certify that on October 12, 2016, I electronically filed the foregoing DEFENDANT’S

 UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE AND EXCLUDE TIME

 UNDER THE SPEEDY TRIAL ACT with the Clerk of the Court using the CM/ECF system which

 will send notification of such filing to all counsel of record.



                                                                   s/ Kathrine M. Aragon
                                                                      Kathrine Aragon




                                                                                               86
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-132-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         10/12/16  Colorado
                                                                  Page 1 of 2 pg 87 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:15-cr-00395-REB


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     ALAN ALONZO WILLIAMS,

        Defendant.



                                        [PROPOSED] ORDER


        Having considered Defendant’s Unopposed Motion to Continue Status Conference and

 Exclude Time Under the Speedy Trial Act (“Motion”), the Court finds that the Motion should be

 GRANTED. The Court finds that the representations made in said Motion support the following

 findings, here made: The requested continuance is necessary to avoid a miscarriage of justice to

 Defendant Williams under 18 U.S.C. § 3161(h)(7)(B)(iv) and to provide Defense counsel the

 reasonable time necessary for effective preparation under 18 U.S.C. § 3161(h)(7)(B)(i), and that

 the ends of justice served by granting this continuance outweigh the best interests of the public

 and the Defendant in a speedy trial.

        As such, the Status Conference in this matter is reset to ___________________ at

 ____________, and the time period from October 13, 2016 until the date of the Status

 Conference, _________________, is excluded from the Speedy Trial Act.



                                                                                          4224386.1
                                                                                                      87
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-132-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         10/12/16  Colorado
                                                                  Page 2 of 2 pg 88 of
                                       271




        So ORDERED this ______ day of ______________________, 2016.



                                           HON. ROBERT E. BLACKBURN
                                           Senior United States District Judge for the
                                           District of Colorado




                                       2
                                                                                         88
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 33
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/12/16   Colorado
                                                                Page 1 of 1 pg 89 of
                                      271




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


                                            MINUTE ORDER1


         The matter is before the court on the Defendant’s Unopposed Motion To
 Continue Status Conference and Exclude Time under the Speedy Trial Act [#32],2
 filed October 12, 2016. After careful review of the motion and the file, the court concludes
 that the motion should be granted.

         THEREFORE, IT IS ORDERED as follows:

       1. That the status conference set October 13, 2016, is vacated and continued
 pending further order;

        2. That on October 18, 2016, at 10:00 a.m. (MDT), the court shall conduct a
 telephonic (non-appearance) setting conference to reset the status conference;

        3. That counsel for the defendant shall arrange, initiate, and coordinate the
 conference call to chambers at 303-335-2350 to facilitate the setting conference; and

       4. That the court will issue a separate order addressing excludable time under the
 Speedy Trial Act.

         Dated: October 12, 2016


         1
          This minute order is issued pursuant to the express authority of the Honorable Robert E.
 Blackburn, United States District Judge for the District of Colorado.

         2
            “[#32]” is an example of the convention the court uses to identify the docket number assigned to a
 specific paper by the court’s case management and electronic case filing system (CM/ECF). The court uses
 this convention throughout this order.




                                                                                                                 89
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 34
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/14/16   Colorado
                                                                Page 1 of 6 pg 90 of
                                      271




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


      ORDER EXCLUDING ADDITIONAL TIME UNDER THE SPEEDY TRIAL ACT

 Blackburn, J.

         The matter is before me on the Defendant’s Unopposed Motion To Continue

 Status Conference and Exclude Time under the Speedy Trial Act [#32],1 filed October

 12, 2016. After careful review of the motion and the file, the court concludes that the motion

 should be granted.

         The motion to exclude additional time from the time for a speedy trial implicates

 the Speedy Trial Act of 1974, codified at 18 U.S.C. §§ 3161-3174. Specifically, the

 request implicates 18 U.S.C. § 3161(h) which provides, in relevant part:



                 The following periods of delay shall be excluded . . . in
                 computing the time within which the trial of any such offense
                 must commence:
                 ....



         1
            “[#32]” is an example of the convention the court uses to identify the docket number assigned to a
 specific paper by the court’s case management and electronic case filing system (CM/ECF). The court uses
 this convention throughout this order.




                                                                                                                 90
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 34
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/14/16   Colorado
                                                                Page 2 of 6 pg 91 of
                                      271




               (7)(A) Any period of delay resulting from a continuance
               granted by any judge . . . at the request of the defendant or
               his counsel or at the request of the attorney for the
               Government, if the judge granted such continuance on the
               basis of his findings that the ends of justice served by taking
               such action outweigh the best interest of the public and the
               defendant in a speedy trial.

 18 U.S.C. § 3161(h)(7)(A).

        The Speedy Trial Act is “designed to protect a defendant's constitutional right to

 a speedy indictment and trial, and to serve the public interest in ensuring prompt

 criminal proceedings.” United States v. Hill, 197 F.3d 436, 440 (10th Cir. 1999). It

 requires that a criminal defendant's trial commence within 70 days after his indictment

 or initial appearance, whichever is later. See 18 U.S.C. § 3161(c)(1); United States v.

 Lugo, 170 F.3d 996, 1001 (10th Cir. 1999). Certain periods of delay are excluded and

 do not count toward the 70-day limit. See 18 U.S.C. § 3161(h)(1)-(9). Specifically, “the

 Act excludes any period of delay ‘resulting from a continuance granted by any judge . . .

 on the basis of its findings that the ends of justice served by taking such action outweigh

 the best interest of the public and the defendant in a speedy trial.’” Hill, 197 F.3d at

 440-441 (10th Cir. 1999) (quoting 18 U.S.C. § 3161(h)(7)(A)).

        In order for a continuance to qualify as an excludable "ends-of-justice"

 continuance under section 3161(h)(7)(A), certain prerequisites must be satisfied. Id. at

 441. First, I must consider – to the extent relevant and apposite – the following factors

 listed in section 3161(h)(7)(B):

               (i) Whether the failure to grant such a continuance in the
               proceeding would be likely to make a continuation of such
               proceeding impossible, or result in a miscarriage of justice;



                                               2



                                                                                               91
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 34
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/14/16   Colorado
                                                                Page 3 of 6 pg 92 of
                                      271




               (ii) Whether the case is so unusual or so complex, due to the
               number of defendants, the nature of the prosecution, or the
               existence of novel questions of fact or law, that it is
               unreasonable to expect adequate preparation for pretrial
               proceedings or for the trial itself within the time limits
               established by [the Act];

               (iii) Whether, in a case in which arrest precedes indictment,
               delay in the filing of the indictment is caused because the
               arrest occurs at a time such that it is unreasonable to expect
               return and filing of the indictment within the period specified
               in section 3161(b), or because the facts upon which the
               grand jury must base its determination are unusual or
               complex;

               (iv) Whether the failure to grant such a continuance in a case
               which, taken as a whole, is not so unusual or so complex as
               to fall within clause (ii), would deny the defendant reasonable
               time to obtain counsel, would unreasonably deny the
               defendant or the Government continuity of counsel, or would
               deny counsel for the defendant or the attorney for the
               Government the reasonable time necessary for effective
               preparation, taking into account the exercise of due
               diligence.

 18 U.S.C. § 3161(h)(7)(B)(i) - (iv).

        After considering these factors, I must then set forth, "in the record of the case,

 either orally or in writing, [my] reasons for finding that the ends of justice served by the

 granting of such continuance outweigh the best interests of the public and the defendant

 in a speedy trial." Id., § 3161(h)(7)(A). Although my findings “‘may be entered on the

 record after the fact, they may not be made after the fact.’” Hill, 197 F.3d at 441

 (quoting United States v. Doran, 882 F.2d 1511, 1516 (10th Cir.1989)). “Instead, ‘[t]he

 balancing must occur contemporaneously with the granting of the continuance because

 Congress intended that the decision to grant an ends-of-justice continuance be

 prospective, not retroactive[.]’” Id. (quoting Doran, 882 F.2d at 1516). I have


                                               3



                                                                                                92
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 34
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/14/16   Colorado
                                                                Page 4 of 6 pg 93 of
                                      271




 discharged these duties.

        The motion is unopposed. Thus, the foundational and predicate facts averred in

 the motion are deemed established, and I need not reiterate them here. The motion

 describes in reasonable detail the various factors and circumstances that counsel

 believe necessitate the exclusion of additional time in this case.

        Defense counsel has been working diligently to review discovery and otherwise

 investigate in this matter. Notwithstanding, defense counsel needs a reasonable,

 additional time of approximately 30 days to pursue a global and reticulated resolution of

 all of defendant’s pending criminal cases.

        In evaluating the request and need to exclude additional time under the Act, I

 relied on the considerable professional experience and judgment of counsel.

 Additionally, I was sensitive to and mindful of the teachings of relevant caselaw,

 including the principles and holdings in United States v. Williams, 511 F.3d 1044 (10th

 Cir. 2007); United States v. Toombs, 574 F.3d 1262 (10th Cir. 2009); United States v.

 Larson, 627 F.3d 1198 (10th Cir. 2010); United States v. Loughrin, 2013 WL 856577

 (10th Cir. 2013); United States v. Watson, 766 F.3d 1219 (10th Cir. 2014); United

 States v. Margheim, 2014 WL 5462332 (10th Cir. 2014); Bloate v. United States, 599

 U.S. 130. 130 S.Ct. 1345, 176 L.Ed.2d 54 (2010); and United States v. Tinklenberg, –

 U.S. –, 131 S.Ct. 2007, 179 L.Ed.2d 1080 (2011).

        Based on the relevant record considered as a whole, I find that it would be

 unreasonable to expect adequate preparation by defendant, despite due diligence, for

 pretrial or trial proceedings within the time allowed under 18 U.S.C. § 3161(c), even as



                                              4



                                                                                             93
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 34
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/14/16   Colorado
                                                                Page 5 of 6 pg 94 of
                                      271




 extended by previous orders of this court. I have considered the factors which I must

 under 18 U.S.C. § 3161(h)(7)(B)(i)-(iv). As required by 18 U.S.C. § 3161(h)(7)(C), I

 have not predicated my ruling on congestion of the court’s calendar or lack of diligent

 preparation by counsel. Accordingly, I conclude as follows:

        (1) That failure to exclude an additional 30 days under the Act would likely result

 in a miscarriage of justice to the defendant – ironically, in the name of speedy trial –

 within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i);

        (2) That even considering due diligence, failure to grant the motion would deny

 counsel for defendant the reasonable time necessary for effective pretrial and trial

 preparation within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv)2;

        (3) That an additional 30 days from today’s date through and including

 November 14, 2016, should be excluded from the computation of the time for speedy

 trial; and

        (4) That, therefore, the ends of justice served by excluding additional time

 through November 14, 2016, outweighs the best interests of the public and defendant in

 a speedy trial within the meaning of 18 U.S.C. § 3161(h)(7)(A).

        THEREFORE, IT IS ORDERED as follows:

        1. That Defendant’s Unopposed Motion To Continue Status Conference and

 Exclude Time under the Speedy Trial Act [#32] is GRANTED insofar as it requests the

 exclusion of additional time for a speedy trial; and

        2. That the time from and including today through and including November 14,



        2
            I did not consider the factors at (B)(ii) and (iii) because they are inapposite.

                                                         5



                                                                                               94
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 34
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/14/16   Colorado
                                                                Page 6 of 6 pg 95 of
                                      271




 2016, SHALL BE EXCLUDED from the time for a speedy trial under the Act.

       Dated October 14, 2016, at Denver, Colorado.

                                             BY THE COURT:




                                         6



                                                                                       95
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 35
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       10/19/16   Colorado
                                                                Page 1 of 1 pg 96 of
                                      271




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1. ALAN ALONZO WILLIAMS,

         Defendant.


                                           MINUTE ORDER1


        On October 18, 2016, the court conducted a telephonic setting conference to reset
 the status conference in this matter. After conferring with counsel, and by agreement of
 all,

         IT IS ORDERED as follows:

       1. That on November 10, 2016, commencing at 9:00 a.m. (MST), the court shall
 conduct a status conference; and

       2. That, to the extent necessary, the United States Marshal for the District of
 Colorado shall assist the court in securing the appearance of the defendant for this
 hearing.

         Dated: October 19, 2016




         1
          This minute order is issued pursuant to the express authority of the Honorable Robert E.
 Blackburn, United States District Judge for the District of Colorado.



                                                                                                     96
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 36
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       11/08/16   Colorado
                                                                Page 1 of 7 pg 97 of
                                      271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:15-cr-00395-REB


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     ALAN ALONZO WILLIAMS,

        Defendant.



      DEFENDANT’S UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE
              AND EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT


        Defendant Alan Alonzo Williams (“Defendant”), by his undersigned counsel, requests an

 additional sixty-day continuance of the status conference currently set in this matter for 9:00

 A.M. on Thursday, November 10, 2016 (“Motion”), and that this additional time be excluded

 from calculations under the Speedy Trial Act.

        This is the third request to continue this status conference, but this continuance is

 necessary to permit conclusion of four pending felony cases against Mr. Williams in a

 coordinated global disposition. Undersigned counsel has diligently worked to coordinate this

 coordinated global disposition, but additional time is needed to complete that work. In further

 support of this Motion, Defendant states as follows:

        1.      Defendant has been in federal custody since his arrest in this case on March 18,

 2016. That same day, the Federal Public Defender was appointed to represent Defendant.


                                                                                          4231848
                                                                                                    97
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 36
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       11/08/16   Colorado
                                                                Page 2 of 7 pg 98 of
                                      271




        2.      On April 15, 2016, Defendant filed a motion to exclude 120 days under the

 Speedy Trial Act, principally based on the complexity of the case and extensive discovery in

 need of review, and on May 6, 2016, the Court heard argument on Defendant’s motion. The

 Court granted Defendant’s motion, setting a revised pre-trial motions deadline of Monday,

 August 8, 2016, with responses due by Friday, August 26, 2016.

        3.      In granting Defendant’s motion, the Court excluded the time period from May 6,

 2016 through October 3, 2016, a period of approximately 153 days.

        4.      On July 15, 2016, the Federal Public Defender filed a motion to withdraw as

 counsel for Defendant. On July 19, 2016, the Court granted the motion to withdraw.

        5.      On July 27, 2016, undersigned counsel filed his Entry of Appearance in this case.

        6.      On August 8, 2016, Defendant, via undersigned counsel, filed a motion to extend

 pre-trial deadlines and exclude time under the Speedy Trial Act. This motion sought additional

 time for newly appointed counsel to review the extensive discovery in this case and evaluate the

 need for filing of motions.

        7.      After a hearing on August 24, 2016, the Court granted Defendant’s motion, and

 excluded the time from October 3, 2016, to October 13, 2016, from calculations under the

 Speedy Trial Act.

        8.      On October 12, 2016, Defendant, via undersigned counsel, filed a motion to

 continue the status conference and exclude time under the Speedy Trial Act. This motion sought

 additional time for counsel to pursue the global resolution of three state felony cases pending

 against Mr. Williams along with this federal case. In addition to this pending matter, the




                                             2
                                                                                                    98
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 36
                                 Document   filedFiled
                                                  09/10/19   USDC
                                                       11/08/16   Colorado
                                                                Page 3 of 7 pg 99 of
                                      271




 Defendant has unresolved state criminal cases pending in the City and County of Denver,

 Arapahoe County, and Broomfield County.

        9.      Prior to appointment of the undersigned, no effort had been made to coordinate

 the resolution of the cases pending against Mr. Williams.          Effective representation of

 Mr. Williams, judicial economy and the ends of justice require an effort to coordinate the

 disposition of these cases.

        10.     The Court granted Defendant’s motion, re-set the status conference to November

 10, 2016 at 9:00 A.M., and excluded the time from October 13, 2016 to November 14, 2016,

 from calculations under the Speedy Trial Act.

        11.     Since that time, the undersigned has arranged for Ms. Amanda Bailhache of the

 Office of the Colorado State Public Defender for Boulder and Broomfield Counties to represent

 Mr. Williams in the Broomfield County case and work to conclude that part of a proposed global

 disposition.   Due to the press of other business, and a previously scheduled vacation,

 Ms. Bailhache has not completed her work to enter the case, review discovery and meet with

 Mr. Williams. Communications between Mr. Williams and Mr. Bailhache are complicated by

 the fact that Mr. Williams is in custody in another jurisdiction, and Ms. Bailhache has not yet

 met with Mr. Williams. Ms. Bailhache is aware that this extension of time is sought to allow her

 to complete that work.

        12.     Also since that time, the undersigned has arranged for Ms. Stephanie Grismer of

 the Office of the Colorado State Public Defender for Denver County to represent Mr. Williams in

 the Denver state case and to conclude that part of the proposed global disposition.

 Communications between Mr. Williams and Ms. Grismer are complicated by the fact that


                                            3
                                                                                                    99
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 36
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/16   Colorado
                                                               Page 4 of 7 pg 100 of
                                       271




  Mr. Williams is in custody in another jurisdiction. Ms. Grismer advises that the prior public

  defender file was partially destroyed, and thus she is reopening that file and seeking related

  discovery. Due to these circumstances and the press of other business, Ms. Grismer has not

  completed her work to enter the case, review discovery and meet with Mr. Williams.

  Ms. Grismer is aware that this extension of time is sought to allow her to complete this work.

         13.     Mr. Williams is represented in the Arapahoe County state case by Jake Taufer of

  the Arapahoe County office of the State Public Defender. Mr. Taufer has been working toward a

  global disposition that includes that case, and has met with Mr. Williams. The Arapahoe County

  case is scheduled for a sentencing hearing on November 18, 2016.

         14.     Conclusion of these cases will necessarily require transportation of Mr. Williams

  to Broomfield, Denver, and Arapahoe Counties from the federal detention center, which will

  require writs and significant coordination of schedules of the involved courts and attorneys. This

  process will take additional time.

         15.     Since the date of the last scheduled status conference, the undersigned has made

  over thirteen telephone calls and six separate e-mail communications with other counsel for

  Mr. Williams, some extensive, in an effort to complete these global disposition discussions.

  During this period, undersigned counsel has visited with Mr. Williams on three separate

  occasions to update him and seek approval of these efforts. Justice and judicial economy require

  that these discussions be completed, and the delay in completing them is not the fault of

  Mr. Williams, who remains in custody at the federal detention center.

         16.     This Motion incorporates and adopts Defendant’s earlier motions to exclude time

  under the Speedy Trial Act, as well as the Court’s subsequent orders. The reasoning cited


                                              4
                                                                                                       100
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 36
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/16   Colorado
                                                               Page 5 of 7 pg 101 of
                                       271




  therein is equally valid today. See United States v. West, 828 F.2d 1468 (10th Cir. 1987), and

  United States v. Toombs, 475 F.3d 1262 (10th Cir. 2009).

         17.     Since the Court granted the Defendant’s last motion for additional time,

  undersigned counsel has continued to vigorously pursue a “global resolution” of Defendant’s

  four pending criminal cases. Undersigned counsel’s efforts have involved multiple discussions

  with prosecutors from each of the three separate jurisdictions, discussions with multiple Public

  Defenders, and researching the consequences of potential global resolution that Defendant faces

  in his pending cases. Because of other commitments, however, Mr. Williams’ court-appointed

  attorneys in Broomfield and Denver have been as of yet unable to meet with Mr. Williams to

  discuss how their cases are affected by this proposed global resolution. Undersigned counsel has

  kept the government generally advised of these discussions.

         18.     Though substantial progress has been made towards a “global resolution” of

  Defendant’s four pending cases, Defendant requests a final continuance to complete or forego

  the “global resolution” and allow undersigned counsel “the reasonable time necessary for

  effective preparation taking into account the exercise of due diligence” prior to the status

  conference in this case. See 18 U.S.C. §3161(h)(7)(B)(iv). Defendant makes this Motion not for

  purposes of delay, but so undersigned counsel may finish performing due diligence in attempting

  to reach a global resolution that includes discussions with state authorities. This extension

  should be sufficient to accomplish this purpose, and the Government will not be inconvenienced

  by this request. Pursuant to 18 U.S.C. § 3161(h)(7)(A), Defendant asks that this extension of

  time be excluded from the Speedy Trial Act because the ends of justice served by this delay

  outweigh the best interest of the public and Defendant in a speedy trial.


                                               5
                                                                                                     101
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 36
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/16   Colorado
                                                               Page 6 of 7 pg 102 of
                                       271




         19.       Defendant also makes this request so as to avoid any potential “miscarriage of

  justice” resulting from the premature termination of Defendant’s efforts at achieving a “global

  resolution” of his four pending cases. See 18 U.S.C. § 3161(h)(7)(B)(i). Undersigned counsel

  has invested substantial efforts investigating Defendant’s pending cases, and believes that

  “global resolution” can be achieved within this additional 60-day period.

         20.       Undersigned counsel has discussed this Motion with Defendant, who agrees that a

  continuance of the status conference and exclusion of this additional time period under the

  Speedy Trial Act are in Defendant’s best interests.

         21.       Undersigned counsel has discussed this Motion with counsel for the Government,

  Assistant U.S. Attorney Linda Kaufman. Ms. Kaufman is not opposed to the Motion.

         Defendant respectfully requests a sixty-day extension of the status conference scheduled

  in this matter for November 10, 2016, to and until approximately January 12, 2017, and that the

  time period from November 14, 2016 through the new hearing date, approximately January 12,

  2017, be excluded from the calculation under the Speedy Trial Act.

               Respectfully submitted this 8th day of November, 2016.


                                                    /s/ Michael J. Gallagher
                                                   Michael J. Gallagher
                                                   DAVIS GRAHAM & STUBBS LLP
                                                   1550 Seventeenth Street, Suite 500
                                                   Denver, Colorado 80202
                                                   Telephone: (303) 892-9400
                                                   Mike.Gallagher@dgslaw.com

                                                   Attorney for Defendant Alan Alonzo Williams




                                               6
                                                                                                     102
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 36
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/16   Colorado
                                                               Page 7 of 7 pg 103 of
                                       271




                                    CERTIFICATE OF SERVICE


         I certify that on November 8, 2016, I electronically filed the foregoing DEFENDANT’S

  UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE AND EXCLUDE TIME

  UNDER THE SPEEDY TRIAL ACT with the Clerk of the Court using the CM/ECF system which

  will send notification of such filing to all counsel of record.



                                                                     /s/ Lynell E. Buchele
                                                                    Lynell E. Buchele




                                                                                                103
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 36-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/08/16 Colorado
                                                                     1 of 2 pg 104 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.



                                         [PROPOSED] ORDER


         Having considered Defendant’s Unopposed Motion to Continue Status Conference and

  Exclude Time Under the Speedy Trial Act (“Motion”), the Court finds that the Motion should be

  GRANTED. The Court finds that the representations made in said Motion support the following

  findings, here made: the requested continuance is necessary to avoid a miscarriage of justice to

  Defendant Williams under 18 U.S.C. § 3161(h)(7)(B)(iv) and to provide Defense counsel the

  reasonable time necessary for effective preparation under 18 U.S.C. § 3161(h)(7)(B)(i), and that

  the ends of justice served by granting this continuance outweigh the best interests of the public

  and the Defendant in a speedy trial.

         As such, the Status Conference in this matter is reset to ___________________ at

  ____________, and the time period from November 14, 2016, until the date of the Status

  Conference, _________________, is excluded from the Speedy Trial Act.



                                                                                           4232071.1
                                                                                                       104
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 36-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/08/16 Colorado
                                                                     2 of 2 pg 105 of
                                       271




        So ORDERED this ______ day of November, 2016.



                                           HON. ROBERT E. BLACKBURN
                                           Senior United States District Judge for the
                                           District of Colorado




                                       2
                                                                                         105
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 37
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/09/16   Colorado
                                                               Page 1 of 2 pg 106 of
                                       271




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

          Defendant.


                                           MINUTE ORDER1


         The matter before the court is Defendant’s Unopposed Motion To Continue
  Status Conference and Exclude Time Under the Speedy Trial Act [#36],2 filed
  November 8, 2016. Having reviewed the motion and the file, and being advised of the
  premises, the court finds the motion is well-taken to the extent it seeks to vacate the
  currently scheduled status conference, and the motion therefore is granted in part to
  that extent.

         The court defers consideration of defendant’s further request to exclude
  additional time from the time for speedy trial, and will set a telephonic setting
  conference to reschedule the status conference, at which it will hear and consider the
  remainder of the motion.

          THEREFORE, IT IS ORDERED as follows:

          1. That Defendant’s Unopposed Motion To Continue Status Conference and
  Exclude Time Under the Speedy Trial Act [#36], filed November 8, 2016, is granted in
  part to the extent it seeks to vacate the currently scheduled status conference;

          2. That the status conference scheduled for Thursday, November 10, 2016, at


          1
           This minute order is issued pursuant to the express authority of the Honorable Robert E.
  Blackburn, United States District Judge for the District of Colorado.
          2
             “[#36]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
  convention throughout this order.



                                                                                                         106
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 37
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/09/16   Colorado
                                                               Page 2 of 2 pg 107 of
                                       271




  9:00 a.m., is vacated and continued without date pending further order of court;

         3. That on November 15, 2016, at 11:00 p.m. (MST), the court shall conduct a
  telephonic (non-appearance) setting conference to reset the sentencing hearing; and

        4. That counsel for defendant shall arrange, initiate, and coordinate the
  conference call to chambers at 303-335-2350 to facilitate the setting conference.

        Dated: November 9, 2016




                                             2



                                                                                        107
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 38
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/15/16   Colorado
                                                               Page 1 of 1 pg 108 of
                                       271




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

          Defendant.


                                            MINUTE ORDER1


          On November 15, 2016, the court conducted a telephonic setting conference to set
  this matter for status conference/motion hearing on Defendant’s Unopposed Motion To
  Continue Status Conference and Exclude Time under the Speedy Trial Act [#36],2
  filed November 8, 2016, as to the portion of the motion requesting excludable time under the
  Speedy Trial Act. After conferring with counsel, and by agreement of all,

          IT IS ORDERED as follows:

          1. That on November 17, 2016, at 11:00 a.m. (MST), the court shall conduct a
  status conference/motion hearing on Defendant’s Unopposed Motion To Continue Status
  Conference and Exclude Time under the Speedy Trial Act [#36], filed November 8, 2016,
  as to the portion of the motion requesting excludable time under the Speedy Trial Act; and

        2. That, to the extent necessary, the United States Marshal for the District of
  Colorado shall assist the court in securing the appearance of the defendant for this
  hearing.

          Dated: November 15, 2016



          1
           This minute order is issued pursuant to the express authority of the Honorable Robert E.
  Blackburn, United States District Judge for the District of Colorado.

          2
             “[#36]” is an example of the convention the court uses to identify the docket number assigned to
  a specific paper by the court’s case management and electronic case filing system (CM/ECF). The court
  uses this convention throughout this order.



                                                                                                                108
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 39
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/17/16   Colorado
                                                               Page 1 of 2 pg 109 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Robert E. Blackburn

 Date:                  November 17, 2016

 Deputy Clerk:          Kathleen Finney
 Court Reporter:        Tracy Weir

 Criminal Action No. 15-cr-00395-REB

 Parties:                                             Counsel:

 UNITED STATES OF AMERICA,                           Linda Kaufman

         Plaintiff,
 v.

 ALAN ALONZO WILLIAMS,                               Michael Gallagher

         Defendant.


                                  COURTROOM MINUTES


 Motion/Status Hearing

 11:01 a.m.      Court in session.

 Appearances of counsel.

 Defendant is present in custody.

 The matter is before the court for hearing and consideration on the Defendant’s
 Unopposed Motion to Continue Status Conference and Exclude Time Under the
 Speedy Trial Act [#36] filed November 8, 2016.

 Argument by Mr. Gallagher.

 Response by Ms. Kaufman.

 Court’s conclusions.



                                            Page 1 of 2




                                                                                   109
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 39
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/17/16   Colorado
                                                               Page 2 of 2 pg 110 of
                                       271




       IT IS ORDERED as follows:

       1.     That the Defendant’s Unopposed Motion to Continue Status
              Conference and Exclude Time Under the Speedy Trial Act [#36] is
              GRANTED;

       2.     That the time from and including November 14, 2016 through and
              including January 12, 2017 is excluded from the time for a speedy trial
              under the Speedy Trial Act of 1974;

       3.     That a further status conference is set January 12, 2017, commencing at
              9:00 a.m., at which counsel and the defendant shall appear before the
              court without further notice or order; provided further, that to the extent
              necessary, the United States Marshal for the District of Colorado shall
              assist the court in securing the appearance of the defendant; and

       4.     That the defendant is remanded to the United States Marshal for continued
              detention.

 11:13 a.m.   Court in recess.

 Total time in court:00:12

 Hearing concluded.




                                         Page 2 of 2




                                                                                            110
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 41
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/10/17   Colorado
                                                               Page 1 of 2 pg 111 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Criminal Case No. 1:15-cr-00395-REB

  UNITED STATES OF AMERICA,

               Plaintiff,

  v.

  1.    ALAN ALONZO WILLIAMS,

               Defendant.

                          NOTICE OF DISPOSITION
                  AND REQUEST TO VACATE STATUS HEARING
                  AND SCHEDULE CHANGE OF PLEA HEARING


        The Defendant Alan Alonzo Williams, by and through counsel, Michael J.

  Gallagher of Davis Graham & Stubbs LLP, notifies the Court that the Government and

  Alan Alonzo Williams have reached a disposition.

        Mr. Williams requests that the status conference scheduled at 9:00 a.m., on

  January 12, 2017, be vacated and that a change of plea hearing be scheduled.


  Dated this 10th day of January, 2017.


                                               /s/ Michael J. Gallagher
                                              Michael J. Gallagher
                                              DAVIS GRAHAM & STUBBS LLP
                                              1550 17th Street, Suite 500
                                              Denver, CO 80202-1500
                                              Telephone: 303.892.9400
                                              Facsimile: 303.893.1379
                                              Email: mike.gallagher@dgslaw.com

                                              Attorneys for Defendant
                                              Alan Alonzo Williams


                                                                                  4246939.1
                                                                                              111
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 41
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/10/17   Colorado
                                                               Page 2 of 2 pg 112 of
                                       271




                                 CERTIFICATE OF SERVICE

           I hereby certify that on January 10, 2017, the foregoing NOTICE OF DISPOSITION AND
  REQUEST TO VACATE STATUS HEARING AND SCHEDULE CHANGE OF PLEA HEARING
  was electronically filed with the USDC Clerk of the Court and served via the CM/ECF system on
  the following:

                Linda Kaufman
                linda.kaufman@usdoj.gov




                                            /s/ Lynell E. Buchele




                                                                                                  112
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 42
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/10/17   Colorado
                                                               Page 1 of 1 pg 113 of
                                       271




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

          Defendant.


                                            MINUTE ORDER1


         A Notice of Disposition [#41],2 was filed January 10, 2017. A status conference is
  currently set for January 12, 2017, which the court finds should be converted to a change of
  plea hearing.

          THEREFORE, IT IS ORDERED as follows:

        1. That the status conference set January 12, 2017, at 9:00 a.m. (MST), is vacated
  and converted to a change of plea hearing; and

        2. That, to the extent necessary, the United States Marshal for the District of
  Colorado shall assist the court in securing the appearance of the defendant for this hearing.

          Dated: January 10, 2017




          1
           This minute order is issued pursuant to the express authority of the Honorable Robert E.
  Blackburn, United States District Judge for the District of Colorado.

          2
             “[#41]” is an example of the convention the court uses to identify the docket number assigned to
  a specific paper by the court’s case management and electronic case filing system (CM/ECF). The court
  uses this convention throughout this order.



                                                                                                                113
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 43
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/12/17   Colorado
                                                               Page 1 of 3 pg 114 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Robert E. Blackburn

  Date:                 January 12, 2017

  Deputy Clerk:         Kathleen Finney
  Court Reporter:       Tracy Weir


  Criminal Action No. 15-cr-00395-REB

  Parties:                                           Counsel:

  UNITED STATES OF AMERICA,                          Linda Kaufman

          Plaintiff,
  v.

  ALAN ALONZO WILLIAMS,                              Michael Gallagher

          Defendant.


                               CHANGE OF PLEA MINUTES


  9:04 a.m.       Court in session.

  Appearances of counsel. Also appearing at government’s table is Timothy Chase, IRS
  Special Agent.

  Defendant is present in custody.

  The Plea Agreement (Court’s Exhibit 1) and Defendant’s Statement in Advance of Plea
  of Guilty (Court’s Exhibit 2) are tendered to the Court.

  Defendant is sworn.

  Defendant is 54 years old, alert, competent, literate, and sober.

  Defendant waives formal reading of the Indictment.

  Defendant confirms the court’s understanding of the terms of the plea agreement.


                                           Page 1 of 3




                                                                                        114
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 43
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/12/17   Colorado
                                                               Page 2 of 3 pg 115 of
                                       271




  Defendant confirms that he has read and understands the written plea agreement; that
  he has reviewed the written plea agreement carefully and thoroughly with his attorney;
  that he has no questions or concerns about the written plea agreement; and that he has
  signed the written plea agreement voluntarily with the advice and assistance of counsel.

  Defendant is advised of all matters required by Fed.R.Crim.P. 11(b)(1)(A)-(M).

  Defendant withdraws existing plea of not guilty to the offense made the subject of the
  plea agreement.

  Defendant waives re-arraignment on Count One of the Indictment.

  Defendant enters plea of guilty to Count One of the Indictment pursuant to plea
  agreement.

  Court’s Findings of Fact and Conclusions of Law will be issued electronically.

        IT IS ORDERED as follows:

        1.     That Court’s Exhibits 1 and 2, which state the plea agreement, are
               admitted in evidence;

        2.     That formal approval of the plea agreement is deferred, pending
               consideration of the presentence report;

        3.     That the plea of guilty to Count One of the Indictment entered by the
               defendant is received, accepted and approved;

        4.     That defendant is found guilty of the crime charged in Count One of the
               Indictment;

        5.     That the Probation Department shall conduct a presentence investigation
               and file a presentence report as required by 18 U.S.C. § 3552 and
               Fed.R.Crim.P. 32;

        6.     That defendant’s counsel shall contact the Probation Department as soon
               as practicable to arrange, schedule, and coordinate the defendant’s
               involvement and participation in the presentence investigation, and the
               defendant shall cooperate fully with the probation department during the
               presentence investigation;

        7.     That the matter is continued to April 6, 2017, at 10:00 a.m., for
               sentencing, at which counsel and the defendant shall appear without
               further notice or order; provided furthermore, that to the extent necessary,
               the United States Marshal for the District of Colorado shall assist the court

                                          Page 2 of 3




                                                                                               115
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 43
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/12/17   Colorado
                                                               Page 3 of 3 pg 116 of
                                       271




               in securing the appearance of the defendant;

        8.     That any pending pretrial motion filed by or on behalf of the defendant is
               denied as moot;

        9.     That any Trial Preparation Conference and trial is vacated; and

        10.    That defendant is remanded to the custody of the United States Marshal.

  9:47 a.m.    Court in recess.

  Total time in court: 00:43

  Hearing concluded.




                                          Page 3 of 3




                                                                                            116
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 1 of 17 pg 117 of
                                        271




                                                                                      117
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 2 of 17 pg 118 of
                                        271




                                                                                      118
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 3 of 17 pg 119 of
                                        271




                                                                                      119
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 4 of 17 pg 120 of
                                        271




                                                                                      120
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 5 of 17 pg 121 of
                                        271




                                                                                      121
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 6 of 17 pg 122 of
                                        271




                                                                                      122
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 7 of 17 pg 123 of
                                        271




                                                                                      123
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 8 of 17 pg 124 of
                                        271




                                                                                      124
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 44
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 9 of 17 pg 125 of
                                        271




                                                                                      125
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 10 of 17 pg 126 of
                                       271




                                                                                      126
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 11 of 17 pg 127 of
                                       271




                                                                                      127
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 12 of 17 pg 128 of
                                       271




                                                                                      128
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 13 of 17 pg 129 of
                                       271




                                                                                      129
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 14 of 17 pg 130 of
                                       271




                                                                                      130
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 15 of 17 pg 131 of
                                       271




                                                                                      131
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 16 of 17 pg 132 of
                                       271




                                                                                      132
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 44filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 17 of 17 pg 133 of
                                       271




                                                                                      133
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 1 of 10 pg 134 of
                                        271




                                                                                      134
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 2 of 10 pg 135 of
                                        271




                                                                                      135
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 3 of 10 pg 136 of
                                        271




                                                                                      136
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 4 of 10 pg 137 of
                                        271




                                                                                      137
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 5 of 10 pg 138 of
                                        271




                                                                                      138
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 6 of 10 pg 139 of
                                        271




                                                                                      139
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 7 of 10 pg 140 of
                                        271




                                                                                      140
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 8 of 10 pg 141 of
                                        271




                                                                                      141
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 45
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        01/12/17   Colorado
                                                                 Page 9 of 10 pg 142 of
                                        271




                                                                                      142
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 45filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       01/12/17    Colorado
                                                                Page 10 of 10 pg 143 of
                                       271




                                                                                      143
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 46
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/12/17   Colorado
                                                               Page 1 of 4 pg 144 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  1. ALAN ALONZO WILLIAMS,

         Defendant.


                      FINDINGS OF FACT AND CONCLUSIONS OF LAW
                           ON THE ENTRY OF A PLEA OF GUILTY

  Blackburn, J.

         On January 12, 2017, I conducted a change of plea hearing during which (1) the

  defendant, his counsel, counsel for the government, and I formally reviewed and

  considered the plea agreement of the parties as stated in Court's Exhibits 1 and 2 ("plea

  agreement"); (2) I rearraigned the defendant under Fed. R. Crim. P. 10; and (3) I

  formally advised the defendant and conducted providency proceedings under Fed. R.

  Crim. P. 11.

         Based upon my exchange and colloquy with the defendant under oath in open

  court on the record; based upon the representations, remarks, and statements of

  counsel for the government and counsel for the defendant; based upon my review of the

  file and my review of the written plea agreement as stated in Court's Exhibits1and 2, I

  enter the following findings of fact and conclusions of law:

         That the defendant appeared to be alert and not under the influence of or



                                                                                              144
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 46
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/12/17   Colorado
                                                               Page 2 of 4 pg 145 of
                                       271




  impaired by drugs, narcotics, marihuana, alcohol, medication, or intoxicants;

         That the defendant was competent and fully understood the nature,

  circumstances, and essential elements of the offense to which his plea of guilty was

  entered;

         That the defendant understands clearly that the government has the right in a

  prosecution for perjury or false statement to use against the defendant any statement

  that the defendant gives under oath;

         That the defendant understood the direct and collateral consequences that he

  may suffer or experience as a result of his participation in the plea agreement, his plea

  of guilty, and the resultant felony conviction and sentence;

         That the defendant's plea of guilty was made and entered voluntarily, knowingly,

  intelligently and intentionally, and was not the result of mistake; misunderstanding, fear,

  force, threats, coercion, or undue influence by anyone;

         That the defendant's plea of guilty was not the result of any promise or

  inducement made by anyone, including legal counsel;

         That the defendant understood each of his legal rights, including the rights

  enumerated at Fed. R. Crim. P. 11(b)(1)(B) and (E), and his right to a trial by jury and

  his right to be represented throughout this criminal case by an attorney even if indigent;

  and that the defendant freely, voluntarily, knowingly, intelligently, and intentionally

  waived his rights and privileges, including the right to trial by jury, and, except as limited

  expressly by the plea agreement, his right to appeal or to collaterally attack the



                                                2



                                                                                                   145
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 46
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/12/17   Colorado
                                                               Page 3 of 4 pg 146 of
                                       271




  prosecution, conviction, and/or sentence; however, the defendant did not waive his right

  to be represented throughout this criminal case by an attorney even if indigent;

         That the defendant understood the maximum possible penalties, including

  imprisonment, fine, and term of supervised release;

         That the defendant understood that in imposing sentence, I must consult and

  consider the purposes and goals of sentencing as prescribed by Congress, the relevant

  provisions of the advisory United States Sentencing Guidelines, any motion for a

  sentence departure or variance, and the provisions of 18 U.S.C. § 3553 (a)(1)-(7); and

  the defendant clearly understood that regardless of the sentence I impose, he may not

  withdraw his plea of guilty on that basis;

         That the defendant understood that the court will not be bound by any

  representations by anyone concerning the penalty to be imposed;

         That a factual basis existed to support and sustain the plea agreement and the

  defendant's plea of guilty;

         That the defendant has been represented at the change of plea hearing and

  throughout this case by effective and competent counsel with whom the defendant has

  no objection, criticism, or complaint whatsoever;

         That the defendant had sufficient time to read, review, discuss, and consider his

  plea agreement and to discuss it carefully and thoroughly with his attorney;

         That the defendant read, understood, and accepted each and every term and

  provision within his plea agreement, which he reviewed carefully and thoroughly with his



                                               3



                                                                                             146
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 46
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      01/12/17   Colorado
                                                               Page 4 of 4 pg 147 of
                                       271




  attorney;

         That the plea agreement conformed in form and substance to the requirements

  of law, including The Local Rules of Practice of the United States District Court for the

  District of Colorado - Criminal; and

         That on the record considered as a whole, I conclude that I may properly accept

  the defendant's plea of guilty, which was entered in the context of his plea agreement,

  and defer formal approval of the plea agreement as stated in Court's Exhibits 1 and 2,

  pending opportunity to consider the presentence report.

         Dated January 12, 2017, at Denver, Colorado.

                                                   BY THE COURT:




                                               4



                                                                                              147
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 47
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      02/01/17   Colorado
                                                               Page 1 of 2 pg 148 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


                              NOTICE OF CHANGE OF ADDRESS

  Case No. 15-cr-00395-REB

  To the Court, parties, and all counsel of record:

         The undersigned Assistant United States Attorney hereby submits this notice pursuant to

  D.C.COLO.LAttyR 5(c) that effective February 6, 2017, undersigned counsel’s address will

  change.   As of that date, the physical address for the Denver office of the United States

  Attorney’s Office for the District of Colorado will be the following:

                         United States Attorney’s Office, District of Colorado
                         1801 California Street, Suite 1600
                         Denver, Colorado 80202

         Please direct any correspondence mailed to undersigned counsel to that address.       The

  telephone number and email address for undersigned counsel will remain unchanged.

                                                RESPECTFULLY SUBMITTED:

                                                ROBERT C. TROYER
                                                ACTING UNITED STATES ATTORNEY

                                                s/ Linda S. Kaufman
                                                Assistant United States Attorney
                                                United States Attorney’s Office
                                                1801 California Street, Suite 1600
                                                Denver, CO 80202
                                                Phone: (303) 454-0100
                                                Email: Linda.Kaufman@usdoj.gov

                                                Attorney for the United States of America




                                                                                                     148
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 47
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      02/01/17   Colorado
                                                               Page 2 of 2 pg 149 of
                                       271




                                 CERTIFICATE OF SERVICE

          I hereby certify that on February 1, 2017, I electronically filed the foregoing NOTICE OF
  CHANGE OF ADDRESS with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to all counsel of record.




                                              s/ Dee Boucher
                                              United States Attorney’s Office




                                                 2



                                                                                                      149
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 49
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      03/06/17   Colorado
                                                               Page 1 of 4 pg 150 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1.      ALAN ALONZO WILLIAMS,

          Defendant.



       DEFENDANT’S UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING


          Defendant Alan Alonzo Williams (“Defendant”), by his undersigned counsel, requests

  that sentencing in this matter, currently scheduled for April 6, 2017 at 10:00 A.M., be continued

  until July 6, 2017 or the Court’s next available setting thereafter. In support of this Motion to

  Continue Sentencing Hearing (“Motion”), Defendant states as follows:

          1.      Defendant has been in federal custody since his arrest in this case on March 18,

  2016.

          2.      On January 12, 2017, Defendant pled guilty pursuant to a plea agreement with the

  United States. On that date, the Court set Defendant’s sentencing hearing for April 6, 2017 at

  10:00 A.M.

          3.      In order to address a long-standing health issue, undersigned counsel believes that

  the Defendant is tentatively scheduled for hernia surgery on or about March 22, 2017. This




                                                                                                        150
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 49
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      03/06/17   Colorado
                                                               Page 2 of 4 pg 151 of
                                       271




  procedure will only take place, however, if it can be assured that Mr. Williams will remain in the

  custody of the Federal Detention Center in Englewood, Colorado for 90 days following surgery.

  Given that Mr. Williams’ sentencing hearing is currently set within this 90 day period, he will be

  unable to have the surgery unless his sentencing hearing is continued until after June 21, 2017.

          4.     On February 27, 2017, Assistant U.S. Attorney Linda Kaufman was contacted

  regarding Defendant’s proposed Motion, and informed of Mr. Williams’ tentatively scheduled

  surgery. Ms. Kaufman stated that she was not opposed to Defendant’s Motion.

          5.     Also on February 27, 2017, the Court’s chambers were contacted regarding

  available dates for Mr. Williams’ sentencing hearing should the Court grant this Motion. The

  Clerk stated that the Court’s next available setting is July 6, 2017 at 10:00 A.M. AUSA Kaufman

  was subsequently consulted regarding her availability that day, and stated that such a setting

  would work for her.

         6.      This Motion is being filed at the request of the Defendant, who asks that the Court

  continue his sentencing hearing so that he may receive necessary surgical care as soon as

  possible.

         7.      This Motion is the Defendant’s first request to continue the sentencing hearing in

  this matter.

          Defendant respectfully requests that his sentencing hearing be continued until July 6,

  2017 at 10:00 A.M. or thereafter as necessary.




                                               2
                                                                                                       151
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 49
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      03/06/17   Colorado
                                                               Page 3 of 4 pg 152 of
                                       271




  Respectfully submitted this 6th day of March, 2017.

                                                   /s/ Michael J. Gallagher
                                                 MICHAEL J. GALLAGHER
                                                 DAVIS GRAHAM & STUBBS LLP
                                                 1550 Seventeenth Street, Suite 500
                                                 Denver, Colorado 80202
                                                 Telephone: (303) 892-9400
                                                 Mike.Gallagher@dgslaw.com

                                                 Attorney for Defendant Alan Alonzo Williams




                                             3
                                                                                               152
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 49
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      03/06/17   Colorado
                                                               Page 4 of 4 pg 153 of
                                       271




                                       Certificate of Service


         I certify that on March 6, 2017, I electronically filed the foregoing DEFENDANT’S

  UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING with the Clerk of the Court

  using the CM/ECF system which will send notification of such filing to all counsel of record.



                                                                  s/ Kathrine M. Aragon
                                                                     Kathrine Aragon




                                                                                                  153
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 49-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 03/06/17 Colorado
                                                                     1 of 1 pg 154 of
                                       271




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.



                                    [PROPOSED] ORDER


         Having considered Defendant’s Unopposed Motion to Continue Sentencing Hearing

  (“Motion”), the Court finds that the Motion should be GRANTED. As such, the Sentencing

  Hearing in this matter is hereby reset to ___________________ at ____________.

         So ORDERED this ______ day of March, 2017.



                                               HON. ROBERT E. BLACKBURN
                                               Senior United States District Judge for the
                                               District of Colorado




                                                                                             154
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 50
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      03/06/17   Colorado
                                                               Page 1 of 1 pg 155 of
                                       271




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

  Criminal Case No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

          Defendant.


                                            MINUTE ORDER1


         The matter is before the court on the Defendant’s Unopposed Motion To
  Continue Sentencing Hearing [#49],2 filed March 6, 2017. After careful review of the
  motion and the file, the court concludes that the motion should be granted.

          THEREFORE, IT IS ORDERED as follows:

          1. That the Defendant’s Unopposed Motion To Continue Sentencing Hearing
  is granted;

         2. That the sentencing hearing set April 6, 2017, is vacated and continued to July 6,
  2017, commencing at 10:00 a.m. (MDT); and

        3. That, to the extent necessary, the United States Marshal for the District of
  Colorado shall assist the court in securing the appearance of the defendant for this
  hearing.

          Dated: March 6, 2017




          1
           This minute order is issued pursuant to the express authority of the Honorable Robert E.
  Blackburn, United States District Judge for the District of Colorado.

          2
             “[#49]” is an example of the convention the court uses to identify the docket number assigned to
  a specific paper by the court’s case management and electronic case filing system (CM/ECF). The court
  uses this convention throughout this order.



                                                                                                                155
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 51
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 1 of 4 pg 156 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

    Criminal Case No. 15-cr-00395-REB

    UNITED STATES OF AMERICA,

         Plaintiff,

         v.

    1.   ALAN ALONZO WILLIAMS,

         Defendant.



                         GOVERNMENT’S RESPONSE TO PRESENTENCE
                                 REPORT [DOC. #48]


              The United States of America, by and through Linda Kaufman, Assistant

    United States Attorney, hereby responds to the Presentence Investigation Report,

    “PSR”, (Doc. #48) as follows:

         1.       At the time of the Plea Agreement, based on the information then

  available to it, the government estimated that the defendant’s criminal history category

  would be Category V. Doc. #44 at 15.

         2.       The Probation Department has concluded that the defendant’s criminal

  history category is VI. Doc. #48 at Para. 85.

         3.       Upon review, the government has concluded that the probation

  department’s calculation is correct, for the following reasons:

               a. The government’s initial calculation was that the total criminal history

         points was 10, based upon the same facts set forth in the PSR at Paragraph 77

         (3 points for Arapahoe County Case #1996-cr-2283); Paragraph 79 (2 points for




                                                                                             156
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 51
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 2 of 4 pg 157 of
                                       271




        Denver County Case #1998-cr-3933); Paragraph 80 (3 points for Denver

        County Case #2009-cr-4046); and Paragraph 84 (the instant offense of

        conviction was committed while the defendant was under a criminal justice

        sentence, having been on parole from August 3, 2005 through June 7, 2009).

           b. The probation department included 6 additional criminal history points

        based on the following:

                   i. PSR Paragraph 74: 3 points for an attempted three-degree

        burglary conviction in Denver County Case # 1994-cr-1329. Upon review, the

        government concludes that the probation department is correct. The defendant

        was initially sentenced to community corrections for 18 months. The judgement

        was later amended, and he was sentenced to prison for 18 months and given

        credit for time served in county jail and community corrections. U.S.S.G.

        §4A1.1(a) provides that 3 points be assessed for each sentence of imprisonment

        exceeding 1 year and one month. U.S.S.G. §4A1.2(b)(1) defines “sentence of

        imprisonment” as a sentence of incarceration, which refers to the maximum

        sentence imposed. Application Note 2 to U.S.S.G. §4A1.2 states, “For the

        purpose of applying §4A1.1(a), (b), or (c), the length of a sentence imposed is

        the stated maximum… That is, the criminal history points are based on the

        sentence pronounced, not the length of time actually served.” Thus, even if

        community corrections is not deemed to be “incarceration”, the 3 points should

        be assessed, based on the Court’s revised sentence to 18 months’ incarceration.

                  ii. PSR Paragraph 81: 2 points for 9an harassment conviction in

        Aurora Municipal Court Case # J108979. The government was previously not




                                                                                          157
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 51
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 3 of 4 pg 158 of
                                       271




        aware of this conviction and sentence, and upon review, concludes that it does

        warrant the addition of 2 criminal history points, pursuant to U.S.S.G. §4A1.1(b).

                   iii. PSR Paragraph 82: 1 point for an identity theft conviction in

        Arapahoe County Case # 2011-cr-2326. The government was previously aware

        that the defendant had pled guilty in this case but had failed to appear for

        sentencing, but did not add any criminal history points for that in its initial

        calculation. Upon review, the government concludes that the probation

        department is correct, pursuant to U.S.S.G. §4A1.2(a)(4), which states that

        where the guilt of a defendant has been established by a guilty plea, such

        conviction is to be counted as if it constituted a prior sentence under U.S.S.G.

        §4A1.1(c), if a sentence resulting from that conviction would otherwise be

        countable.

        4.     In sum, the government has no objections to the PSR, and now agrees

  with the probation department that the defendant’s criminal history category is VI.

                                                  Respectfully submitted,

                                                  By: s/Linda Kaufman
                                                  LINDA KAUFMAN
                                                  Assistant United States Attorney
                                                  1801 California Street, Suite 1600
                                                  Denver, CO 80202
                                                  Telephone: 303-454-0100
                                                  Fax: 303-454-0401
                                                  Email: Linda.Kaufman@usdoj.gov




                                                                                             158
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 51
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 4 of 4 pg 159 of
                                       271




                                     CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of April 2017, I electronically filed the foregoing with
  the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
  following e-mail addresses:


  Mr. Michael Gallagher
  Mike.gallagher@dsglaw.com

  Kyla Hamilton (US Probation)
  Kyla_Hamilton@cod.uscourts.gov




                                                         s/Mariah Hill
                                                         Mariah Hill
                                                         Legal Assistant
                                                         United States Attorney’s Office
                                                         1801 California Street, Suite 1600
                                                         Denver, CO 80202
                                                         Telephone: 303 454-0100
                                                         Fax: 303 454-0402
                                                         Email: mariah.hill@usdoj.gov




                                                                                                           159
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 52
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 1 of 2 pg 160 of
                                       271




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

    Criminal Case No. 15-cr-00395-REB

    UNITED STATES OF AMERICA,

         Plaintiff,

         v.

    1.   ALAN ALONZO WILLIAMS,

         Defendant.

              GOVERNMENT’S MOTION PURSUANT TO U.S.S.G. § 3E1.1(b)


           The United States of America hereby respectfully moves this Court to

    decrease the defendant’s offense level by one additional level pursuant to U.S.S.G.

    §3E1.1(b) if the Court finds that §3E1.1(a) applies. As grounds therefor, the

    government states as follows:

               1.     The defendant assisted authorities in the prosecution of his own

  misconduct by timely notifying authorities of his intention to enter a plea of guilty,

  thereby permitting the government to avoid preparing for trial and permitting the

  government and the Court to allocate their resources efficiently.



                                                  Respectfully submitted,

                                                  ROBERT C. TROYER
                                                  Acting United States Attorney


                                                  By: s/Linda Kaufman
                                                  LINDA KAUFMAN
                                                  Assistant United States Attorney
                                                  1801 California Street, Suite 1600



                                                                                           160
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 52
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 2 of 2 pg 161 of
                                       271




                                                      Denver, CO 80202
                                                      Telephone: 303-454-0100
                                                      Fax: 303-454-0401
                                                      Email: Linda.Kaufman@usdoj.gov




                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of April, 2017, I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to the following e-mail addresses:


  Mr. Michael Gallagher
  Mike.gallagher@dsglaw.com

  Kyla Hamilton (US Probation)
  Kyla_Hamilton@cod.uscourts.gov




                                                      s/Mariah Hill
                                                      Mariah Hill
                                                      Legal Assistant
                                                      United States Attorney’s Office
                                                      1801 California Street, Suite 1600
                                                      Denver, CO 80202
                                                      Telephone: 303 454-0100
                                                      Fax: 303 454-0402
                                                      Email: mariah.hill@usdoj.gov




                                                                                             161
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 53
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 1 of 2 pg 162 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

    Criminal Case No. 15-cr-00395-REB

    UNITED STATES OF AMERICA,

         Plaintiff,

         v.

    1.   ALAN ALONZO WILLIAMS,

         Defendant.

                       GOVERNMENT’S MOTION TO DISMISS COUNTS


           The United States of America hereby moves this Court to dismiss Counts 2,

    3, and 4 at the time of the sentencing on Count I, and as grounds therefor, states as

    follows:

           1. The government agreed to move to dismiss all remaining counts if the

               defendant pled guilty to Count I. (Doc. #44 at 1).

           2. The defendant has pled guilty to Count I.

                                                   Respectfully submitted,



                                                   By: s/Linda Kaufman
                                                   LINDA KAUFMAN
                                                   Assistant United States Attorney
                                                   1801 California Street, Suite 1600
                                                   Denver, CO 80202
                                                   Telephone: 303-454-0100
                                                   Fax: 303-454-0401
                                                   Email: Linda.Kaufman@usdoj.gov




                                                                                            162
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 53
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      04/07/17   Colorado
                                                               Page 2 of 2 pg 163 of
                                       271




                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of April, 2017, I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to the following e-mail addresses:


  Mr. Michael Gallagher
  Mike.gallagher@dsglaw.com

  Kyla Hamilton (US Probation)
  Kyla_Hamilton@cod.uscourts.gov




                                                      s/Mariah Hill
                                                      Mariah Hill
                                                      Legal Assistant
                                                      United States Attorney’s Office
                                                      1801 California Street, Suite 1600
                                                      Denver, CO 80202
                                                      Telephone: 303 454-0100
                                                      Fax: 303 454-0402
                                                      Email: mariah.hill@usdoj.gov




                                                                                             163
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 53-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 04/07/17 Colorado
                                                                     1 of 1 pg 164 of
                                       271




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Criminal Case No. 15-cr-00395-REB-1

  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

       1. ALAN ALONZO WILLIAMS

            Defendant.


                  ORDER ON GOVERNMENT'S MOTION TO DISMISS COUNTS

            THIS MATTER comes before the Court upon the Government's motion to

  dismiss Counts 2, 3, and 4 of the Indictment. The Court, having considered this motion,

  and having imposed sentence upon the defendant, hereby

            ORDERS that the Government’s Motion to Dismiss Counts is GRANTED, and

  further

            ORDERS that Counts 2, 3, and 4 of the Indictment in this case are dismissed

  with prejudice.



            DATED this                  day of _________________________, 2017.


                                             BY THE COURT:




                                              ____________________________________
                                             ROBERT E. BLACKBURN
                                             United States District Judge
                                             District of Colorado

                                               1

                                                                                            164
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 54
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      06/01/17   Colorado
                                                               Page 1 of 2 pg 165 of
                                       271




                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

  Criminal Action No. 15-cr-00395-REB-1

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

         Defendant.




                           ENTRY OF APPEARANCE OF COUNSEL

       To:        The clerk of court and all parties of record

                  I hereby certify that I am a member in good standing of the bar of this

       court, and I appear in this case as counsel for the United States of America.

             DATED at Denver, Colorado this 1st day of June, 2017.

                                              ROBERT C. TROYER
                                              Acting United States Attorney

                                              By: s/ Julia Martinez
                                              JULIA MARTINEZ
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              1801 California Street, Suite 1600
                                              Denver, Colorado 80202
                                              Telephone: 303-454-0100
                                              Fax: 303-454-0401
                                              Email: Julia.Martinez@usdoj.gov




                                                                                            165
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 54
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      06/01/17   Colorado
                                                               Page 2 of 2 pg 166 of
                                       271




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 1st day of June, 2017, I electronically filed the
  foregoing ENTRY OF APPEARANCE OF COUNSEL with the Clerk of the Court using
  the CM/ECF system, which will send notification of such filing to all counsel of record.


                                                  By: s/ Lisa Tibbetts
                                                  LISA TIBBETTS
                                                  Assistant United States Attorney
                                                  United States Attorney’s Office
                                                  1801 California Street, Suite 1600
                                                  Denver, Colorado 80202
                                                  Telephone: (303) 454-0100
                                                  Fax: (303) 454-0401
                                                  E-mail: Lisa.Tibbetts@usdoj.gov




                                              2

                                                                                             166
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 1 of 11 pg 167 of
                                        271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.



           DEFENDANT’S RESPONSE TO PRESENTENCE REPORT (DOC. #48)


         Defendant Alan Alonzo Williams (“Defendant”), by counsel, submits these objections

  and comments to the Presentence Investigation Report (Doc. #48).

                                        Offense Description

         Mr. Williams acknowledges his wrongdoing as summarized in the factual basis of the

  Plea Agreement, and admits that these loans were obtained fraudulently. But the Presentence

  Investigation Report (“PSR”) fails to capture a material element of the surrounding facts, which

  was that Mr. Williams was motived in substantial part by a desire to turn around a struggling

  family vending machine business and that a significant portion of the loan proceeds were used

  for this purpose.

         The PSR properly quotes the Plea Agreement concerning the facts surrounding the

  offense. But the Plea Agreement specifies that additional facts that do not contradict the




                                                                                                     167
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 2 of 11 pg 168 of
                                        271




  stipulated facts may be presented if relevant to the Court’s sentencing decision. The Plea

  Agreement states that funds were used to operate Williams Vending and pay creditors, and in the

  “Additional Information” section of the PSR probation provides additional information from

  discovery materials concerning the use of loan proceeds. But the additional information in

  Paragraphs 28 through 31 fails to mention that discovery materials, particularly bank records,

  show that substantial loan proceeds were used to operate Williams Vending and to pay its

  creditors.

          The PSR quotes portions of the Plea Agreement at paragraphs 27 through 29 of the PSR

  that the balance of the loans were reduced little as the result of payments made by Mr. Williams.

  This is true, but payments made were as specified by the loan agreements, and early loan

  payments do not significantly reduce principal. The government emphasizes these same facts in

  its supporting letter of May 24, 2017 to suggest that Mr. Williams intended from the outset to

  abscond with all loan proceeds. There are other facts revealed by bank records in the discovery

  record not discussed in the Additional Facts section of the PSR, however, showing that these

  loans were used in part to fund Williams Vending, a long-standing family business. The full loss

  occurred when that business failed.

          At paragraph 112 of the PSR, probation confirms that Williams Vending existed from

  1986 until its failure in 2011 and conducted business during most of this time. The defendant’s

  mother confirms at paragraph 93 of the PSR that Mr. Williams worked at Williams Vending for

  years before the events leading to these offenses, and wanted that business “to be successful,”

  particularly after the death of the defendant’s father.




                                                    2
                                                                                                      168
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 3 of 11 pg 169 of
                                        271




          As supported by the government in its May 24, 2017 letter, the PSR correctly states at

  paragraph 22 that the loan balances were not significantly reduced before these loans went into

  default. But the letter’s attachments confirm that loan payments were made regularly for a

  significant period.

          The PSR mentions at paragraph 21 that loan proceeds were used to pay creditors of

  Williams Vending and for operating capital, but the Additional Facts section of the PSR fails to

  give adequate attention to these payments. Bank records in discovery materials show that

  substantial loan proceeds were paid to the creditors of Williams Vending referred to in Paragraph

  21 of the PSR in early 2008 shortly after this loan was funded. Examples of these payments are

  shown by checks available in the discovery record at: WF_00000808 (Financial Pacific),

  WF_00000809 (Pentech) and WF_00000810 (NetBank). Additionally, reports of government

  interviews produced in discovery confirm that Pentech Financial (INT_00000004), Puget Sound

  Leasing/First Sound Bank (INT_00000019), and NetBank (INT_00000154) were all paid off in

  early 2008. Other bank records in discovery show significant operating expenses of Williams

  Vending paid using loan proceeds. Examples of such checks in the discovery record are found

  at: WF_00000530 (Seven Up), WF_00000531 (warehouse rental), WF_00000792 (Gateway

  Industrial),   WF_00000721      (warehouse    rental),   WF_00000729       (warehouse    rental),

  WF_00000801 (warehouse rental), WF_00000786 (loan payment), WF_00000535 (Coca Cola),

  WF_00000742 (Coca Cola), WF_00000747 (Coca Cola), WF_00000748 (Coca Cola),

  WF__00000752 (Coca Cola), WF_00000753 (Coca Cola), WF 00000802 (Seven Up),

  WF_00000780 (Seven Up), WF_00000794 (vending machine parts), WF_00000807 (product

  supplier), WF_00000811 (product supplier), and WF_00000533 (delivery truck rental). This is



                                                 3
                                                                                                      169
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 4 of 11 pg 170 of
                                        271




  not a case where loan proceeds were obtained for a non-existent business or fully appropriated

  for the defendant's personal use.

         The PSR mentions at Paragraph 22 that Ross Vending did not provide Williams Vending

  with $339,200.00 of vending machines. But important details about payments to Ross Vending

  are not mentioned in the Additional Facts section of the PSR.      Bank records provided in

  discovery reveal payment for the delivery of many Ross Vending machines using loan proceeds

  and payments made directly to Ross Vending for vending machines. See, for example, bank

  records available in discovery at WF_00000791. Other bank records show checks made out to

  Williams Vending but identifying the purpose of machine purchases.         See, for example,

  WF_00000561. When he was interviewed, the owner of Ross Vending acknowledged that he

  received cash payments for machines sold to Williams Vending.

         Similarly, Paragraph 23 of the PSR states that Mr. Williams did not pay Specialty Trux

  invoices in full, but bank records available in discovery, and not mentioned in the Additional

  Facts section of the PSR, show that significant payments, exceeding $30,000.00, were made to

  Specialty Trux using loan proceeds. See WF_00000784 and 00000788.

         Mr. Williams recalls additional payments made to creditors of Williams Vending,

  including those identified in Paragraph 21 of the PSR, not addressed in discovery materials.

  Mr. Williams will seek a continuance of his sentencing, in part, to confirm these additional

  payments.

         The PSR correctly states that Mr. Williams improperly acquired two vehicles with loan

  proceeds, and misappropriated other monies for purely personal use, but these sums are

  substantially less than the approximately $1.1 million in loan proceeds paid to Williams



                                                4
                                                                                                   170
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 5 of 11 pg 171 of
                                        271




  Vending. The loss is a combination of (i) the admitted fraudulent conduct of Mr. Williams; (ii)

  the failure of this pre-existing family business notwithstanding the use of loan proceeds to

  support that business; and (iii) prior security interests in the business held by Chase Bank. See

  PSR at Paragraph 30.

         Mr. Williams explains, as reported at paragraphs 44 and 45 of the PSR, that after his

  father’s death he was desperate to make Williams Vending a success, and acknowledges that he

  “took the easy road” by obtaining these loans fraudulently and misusing funds. But he also

  explains that he was substantially motivated by a desire to make his family business a success.

  His mother confirms these circumstances at paragraph 93 of the PSR. The Additional Facts

  section of the PSR fails to adequately describe this aspect of the facts surrounding Mr. Williams’

  offenses confirmed by discovery materials and bank records.

                            Guideline Loss Amount and Offense Level

         The PSR concludes at paragraph 35 that the guideline loss amount exceeds $1,500,000,

  which increases the total offense level by two points. As reported at paragraph 41 of the PSR,

  the actual loss on the completed loans is $1,146,828.28. To exceed the $1,500,000 threshold and

  increase the offense level by 16 points rather than 14 under §2B1.1(b)(1)(H), the PSR concludes

  that Mr. Williams intended to cause a loss of the full amount of the final loan he requested but

  did not receive. Mr. Williams objects to this calculation because it is not consistent with the

  offense facts. The properly calculate Offense Level is 18, not 20 as reported in the PSR.

         The case law relied upon by probation, United States v Manatau, 647 F.3d 1048, 1050

  (10th Cir. 2011), supports the proposition that intended loss may be determined by examination

  of the surrounding facts, such as the defendant’s mental state.



                                                   5
                                                                                                       171
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 6 of 11 pg 172 of
                                        271




         Here, the facts do not show that Mr. Williams intended to cause a loss of the full amount

  of this attempted loan. Although these loans were obtained fraudulently, bank records available

  in discovery show that substantial loan proceeds were used in part to support a long-standing

  business. Payments were made on the completed loans for many months. Loan proceeds were

  used to operate Williams Vending, including payments made to creditors of Williams Vending.

  The assets of Williams Vending were liquidated to pay off one such creditor, Chase Bank, that

  held a superior lien. The failure of Williams Vending does not establish the intent to deprive the

  lender of the full value of this proposed loan.

         The PSR calculates the “guideline loss” amount to be $1,696,828.28 based on an actual

  loss of $1,146,828.28 on the completed loans and the full $550,000 sought on the attempted loan.

  The evidence does not support that Mr. Williams intended to cause the loss of essentially all of

  this additional proposed loan. The government cannot meet its evidentiary burden to justify the

  16-level enhancement for loss exceeding $1,500,000.              A 14-level enhancement under

  §2B1.1(b)(1)(H) is appropriate in this case.

         Mr. Williams did not “purposely [seek] to inflict” the full amount of this denied loan.

  See Manatau, 647 F.3d at 1050. The continued operation of Williams Vending Company meant

  that the amount of “intended loss” was not the full amount of this proposed loan, and that the

  total loss supported by the facts is below the $1,500,000 threshold.

                                           Criminal History

         Mr. Williams believes that his criminal history points are overstated and that there are

  also mitigating facts about his criminal history that should be noted.




                                                    6
                                                                                                       172
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 7 of 11 pg 173 of
                                        271




           Mr. Williams objects to the two (2) points assigned for the matter described in Paragraph

  79 of the PSR. As reflected in the PSR, Mr. Williams was sentenced on the matter reflected in

  Paragraph 79 in a single sentence served along with the sentences referred to in Paragraphs 76,

  77 and 78. No additional points should be assigned for the matter referred to in Paragraph 79.

  See U.S.S.G. §4A1.2(a)(2).

           Mr. Williams also objects to the three (3) points assigned for the matter described in

  Paragraph 74 of the PSR. His recollection is that this matter was eventually dismissed. Mr.

  Williams requests access to the supporting case materials concerning this matter to confirm these

  facts.

           Although Mr. Williams has a significant criminal history, little of that criminal history is

  recent. The current offense occurred over ten years ago. His last convictions or arrests, prior to

  his current incarceration, occurred in March 2006, years prior to his arrest in this case.

           Mr. Williams’ criminal history includes few offenses relating to personal violence, and

  nothing of that kind in recent years. In fact, the only related event in the past two decades is a

  municipal harassment charge reported at paragraph 81 of the PSR. Mr. Williams, however, does

  not agree that this event involved actual violence. As noted, charges of battery and attempted

  assault associated with this event were dismissed.

           Mr. Williams’ criminal history includes no gun charges or drug offenses.

                                    Physical and Medical Condition

           The PSR reports at paragraphs 102 and 103 about a hernia and knee injury.

           The original sentencing date of May 6, 2017, was continued so Mr. Williams could be

  treated for his medical problems. Recently, he has been evaluated at a private hospital for a knee



                                                     7
                                                                                                          173
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 8 of 11 pg 174 of
                                        271




  brace and also to prepare him for hernia surgery. He anticipates that his surgery will occur soon,

  likely between now and the current sentencing date of July 6, 2017. Mr. Williams has not been

  told the specifics of when he will be returned to the hospital for further treatment, but his Federal

  Detention Center counselor should be able to confirm these facts. Mr. Williams will request a

  continuance of his sentencing to facilitate his hernia surgery and other medical care, and so that

  the Court can be fully advised of his medical condition at sentencing.

                                         Employment History

         As we believe he reported during his interview with probation, Mr. Williams has a

  certification to work as an asbestos removal contractor and has worked in this field at various

  times. He plans to return to this work when released from custody.

                                           Other Comments

         Paragraph 4 of the PSR addresses a minor rules violation at the Federal Detention Center.

  It should be noted that the picture he asked another inmate to prepare was a family picture.

                                    Sentencing Recommendation

         Mr. Williams objects to the PSR’s recommendation that he be sentenced to 87 months,

  which is the top end of the guideline range calculated by probation.

         Because the guideline loss is less than $1,500,000, the proper total offense level is 18

  rather than 20. Even with a Criminal History Level VI, which MR. Williams contests, the proper

  guideline range here is 57-71 months. A maximum sentence within the proper guideline range

  would be 71 months, not 87 months.




                                                    8
                                                                                                          174
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 55
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        06/15/17   Colorado
                                                                 Page 9 of 11 pg 175 of
                                        271




         Even if the Court finds that the proper total offense level is 20 and a Criminal History

  Level VI, however, probation’s recommended sentence of 87 months substantially exceeds the

  sentence necessary to meet the requirements of 18 U.S.C. §3553.

         The guidelines add two additional points to the offense level for a guideline loss

  exceeding $1,500,000 but less than $3,500,000. §2B1.1(b)(1)(I). Even if the guideline loss is

  $1,696,828.28, as probation calculates, this loss is at the bottom of this category of guideline loss

  (i.e. closer to $1,500,000 than $3,500,000) and does not justify a sentence at the top of the

  resulting guideline range.

         Although Mr. Williams’ offense is serious, it is mitigated by the fact that these loans

  were obtained in part in a failed effort to fund and save a long-existing family business. This is

  not a more aggravated case than where all loan proceeds were stolen for personal use via a non-

  existing entity, or where the defendant concealed his identity for this purpose. Mr. Williams’

  involvement in the loan process was no secret; he had direct contact with WebBank on numerous

  occasions, and as shown by bank records available in discovery, he signed in his own name

  Williams Vending checks used to make loan payments. See paragraphs 19 and 20 of the PSR

  and, for example, WF_00000727 and WF_00000728 . Again, a sentence at the maximum of the

  guideline range is not justified by these circumstances. See 18 U.S.C. §3553 (a)(1).

         Mr. Williams is a 54-year old with significant health issues, and if sentenced to 70

  months, will be approximately 60 years old when he completes this sentence and even older

  when he completes any term of Supervised Release. In addition, he is likely to be sentenced on

  certain of the pending state court cases after he is sentenced in the present case. Particularly

  given any term of Supervised Release imposed, Mr. Williams is a modest risk to reoffend.



                                                   9
                                                                                                          175
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 55filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       06/15/17    Colorado
                                                                Page 10 of 11 pg 176 of
                                       271




  A sentence at the maximum of the guideline range is not justified by the risk of future offenses.

  See 18 U.S.C §3553 (a)(1)(C).

         Mr. Williams has a significant criminal history, but this criminal history, particularly in

  recent decades, reveals no propensity for violence, no gun charges and no drug history, and he

  was not arrested on any new offenses for nearly five years prior to his arrest for the current

  offense. A sentence at the maximum of the guideline range is not justified by this criminal

  history.

         Mr. Williams suggests that a sentence at the bottom of the guideline range, or below, is

  adequate to meet the requirements of 18 U.S.C. §3553. This would be a sentence of no more

  than 57 months assuming an Offense Level of 18, or a sentence of no more than 70 months

  assuming an Offense Level of 20.

         Mr. Williams anticipates submitting a Sentencing Memorandum to the Court concerning

  his sentence. Mr. Williams will request a continuance of this sentencing hearing to facilitate his

  medical treatment, and to obtain further supporting information showing that loan proceeds were

  used in substantial part to pay the creditors mentioned in Paragraph 21 of the PSR.

                 Respectfully submitted this 15th day of June, 2017.


                                                    /s/ Michael J. Gallagher
                                                  MICHAEL J. GALLAGHER
                                                  DAVIS GRAHAM & STUBBS LLP
                                                  1550 Seventeenth Street, Suite 500
                                                  Denver, Colorado 80202
                                                  Telephone: (303) 892-9400
                                                  Mike.Gallagher@dgslaw.com

                                                  Attorney for Defendant Alan Alonzo Williams




                                                 10
                                                                                                       176
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 55filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       06/15/17    Colorado
                                                                Page 11 of 11 pg 177 of
                                       271




                                         Certificate of Service


         I certify that on June 15, 2017, I electronically filed the foregoing Defendants’ Response

  to Presentence report (Doc. #48) with the Clerk of the Court using the CM/ECF system which

  will send notification of such filing to all counsel of record.



                                                                    s/ Kathrine M. Aragon
                                                                       Kathrine Aragon




                                                                                                      177
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 56
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      06/15/17   Colorado
                                                               Page 1 of 4 pg 178 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  1.      ALAN ALONZO WILLIAMS,

          Defendant.



               DEFENDANT’S SECOND UNOPPOSED MOTION TO CONTINUE
                              SENTENCING HEARING


          Defendant Alan Alonzo Williams (“Defendant”), by his undersigned counsel, requests

  that sentencing in this matter, currently scheduled for July 6, 2017 at 10:00 A.M., be continued

  approximately 50 days until on or about Thursday, August 17, 2017 or the Court’s next available

  setting thereafter. In support of this Motion (“Motion”), Defendant states as follows:

          1.      Defendant has been in federal custody since his arrest in this case on March 18,

  2016.

          2.      On January 12, 2017, Defendant pled guilty pursuant to a plea agreement with the

  United States. On that date, the Court set Defendant’s sentencing hearing for April 6, 2017 at

  10:00 A.M.

          3.      On March 6, 2017, the Court granted Defendant’s Unopposed Motion to Continue

  Sentencing Hearing, resetting sentencing in this matter until July 6, 2017, at 10:00 AM.



                                                                                                     178
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 56
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      06/15/17   Colorado
                                                               Page 2 of 4 pg 179 of
                                       271




  Defendant had requested this continuance in order to address a long-standing health issue for

  which he believed he was to receive surgical care.

          4.        Through no fault of his own, the Defendant’s surgery has not yet occurred. It is

  anticipated, however, that surgery will occur prior to July 6, 2017.

          5.        Mr. Williams will also use the additional requested time to seek financial records

  relevant to the Court’s determination of the appropriate guideline sentencing range in this matter.

  As noted in his comments to the Presentence Report, Defendant believes that additional records

  may exist showing his use of loan proceeds to further his family’s business, Williams Vending

  Company.

          6.        The assigned Assistant U.S. Attorney, AUSA Julia Martinez, is on vacation and

  unavailable for conference regarding her position on this Motion. On June 15, 2017, however,

  Ms. Judith Smith, Ms. Martinez’s supervisor, consented to the relief sought in this Motion.

          7.        On June 15, 2017, the Court’s chambers were contacted by the undersigned and

  AUSA Judith Smith regarding available dates for Mr. Williams’ sentencing hearing should the

  Court grant this Motion. The Clerk stated that the Court has an available setting on August 17,

  2017 at 10:00 A.M.

          8.        This Motion is filed at the request of the Defendant, who asks that the Court

  continue his sentencing hearing both so that he may receive necessary surgical care as soon as

  possible, and so that he may seek additional financial records relevant to sentencing.

          9.        This Motion is the Defendant’s second request to continue the sentencing hearing

  in this matter.




                                                    2
                                                                                                         179
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 56
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      06/15/17   Colorado
                                                               Page 3 of 4 pg 180 of
                                       271




         Defendant respectfully requests that his sentencing hearing be continued for

  approximately 50 days until on or about August 17, 2017, or thereafter as necessary.


         Respectfully submitted this 15th day of June, 2017.

                                                   /s/ Michael J. Gallagher
                                                 MICHAEL J. GALLAGHER
                                                 DAVIS GRAHAM & STUBBS LLP
                                                 1550 Seventeenth Street, Suite 500
                                                 Denver, Colorado 80202
                                                 Telephone (303) 892-9400
                                                 Mike.Gallagher@dgslaw.com

                                                 Attorney for Defendant Alan Alonzo Williams




                                                 3
                                                                                               180
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 56
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      06/15/17   Colorado
                                                               Page 4 of 4 pg 181 of
                                       271




                                       Certificate of Service


         I certify that on June 15, 2017, I electronically filed the foregoing Defendant’s Second

  Unopposed Motion to Continue Sentencing Hearing with the Clerk of the Court using the

  CM/ECF system which will send notification of such filing to all counsel of record.



                                                                s/ Kathrine M. Aragon
                                                                Kathrine M. Aragon




                                                                                                    181
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 56-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 06/15/17 Colorado
                                                                     1 of 1 pg 182 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.



                                     [PROPOSED] ORDER


         Having considered Defendant’s Second Unopposed Motion to Continue Sentencing

  Hearing (“Motion”), the Court finds that the Motion should be GRANTED. As such, the

  Sentencing Hearing in this matter is hereby reset to Thursday, August 17, 2017 at 10:00 A.M.

         So ORDERED this ______ day of June, 2017.



                                                 HON. ROBERT E. BLACKBURN
                                                 Senior United States District Judge for the
                                                 District of Colorado




                                                                                                 182
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 1 of 21 pg 183 of
                                        271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Criminal Action No. 1:15-cr-00395-REB

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   1.     ALAN ALONZO WILLIAMS,

          Defendant.


               DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR
                     DOWNWARD DEPARTURE AND VARIANCE


  TO THE HONORABLE ROBERT E. BLACKBURN, SENIOR UNITED STATES DISTRICT
  JUDGE FOR THE DISTRICT OF COLORADO:

         In advance of his sentencing hearing scheduled for August 17, 2017, Defendant Alan

  Alonzo Williams submits this Sentencing Memorandum and Motion for Downward Departure

  and Variance (“Memorandum”). The positions stated here are supported by the facts and

  circumstances described in Defendant's Response to the Presentence Report (Docket No. 55),

  which is incorporated by reference.

         The United States Probation Office (“Probation”) recommends a sentence of 87 months,

  which is the maximum guideline sentence applicable to an offense level of 20 and a criminal

  history category VI. For the reasons described in this Memorandum, Mr. Williams proposes a

  sentence of no more than 57 months, which is the bottom of the guidelines for an offense level of

  18 and assuming (without accepting) that Probation has properly placed Mr. Williams in criminal

  history category VI. This recommendation is made because (i) Probation’s recommendation




                                                                                                      183
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 2 of 21 pg 184 of
                                        271




  assumes too high of a guideline loss enhancement; and (ii) the offense is mitigated by the fact

  that Mr. Williams was motivated to save a struggling family business and not just engaged in a

  theft of all loan proceeds.

                           Background and Summary of Sentencing Position

         Raised by hard-working parents who provided for him and his two siblings, Mr.

  Williams’ early life revolved around his father, a career U.S. Army officer, who was frequently

  relocated to duty stations throughout the United States and, for a time, to Germany. After

  retiring from the Army in 1979, Colonel Alonzo Williams, Jr. (ret.) moved his family to

  Colorado. In 1981, Mr. Williams graduated from Aurora Central High School, and left home on

  a college basketball scholarship. After he returned to Colorado, and decades before the offenses

  charged here, he began work for his father at Williams Vending Company, the family business

  involved in this case.

         Mr. Williams made misrepresentations to obtain the loans at issue here, and his guilty

  plea accepts responsibility for this misconduct. But these offenses are mitigated by facts

  showing that rather than simply absconding with loan proceeds, Mr. Williams used the bulk of

  loan proceeds for legitimate business purposes in a real effort to save his family’s business. The

  bulk of the loss in this case resulted from the failure of Williams Vending, not simple theft of

  loan proceeds.

         Mr. Williams explains, as reported at paragraphs 44 and 45 of the Presentence

  Investigation Report (“PSR”), that after his father’s death he was desperate to make Williams

  Vending a success, and acknowledges that he “took the easy road” by obtaining these loans

  fraudulently and misusing some of these funds. But he also explains that he was substantially


                                                       2

                                                                                                       184
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 3 of 21 pg 185 of
                                        271




  motivated by a desire to make his family business a success. His mother confirms these

  circumstances at paragraph 93 of the PSR.

          The government and Probation conclude that the total offense level is 20, and on that

  basis and an assumed criminal history category of VI, Probation recommends a maximum

  guideline sentence of 87 months. This offense level calculation, and Probation’s harsh

  sentencing recommendation, are based on the unsupported assumption that Mr. Williams

  intended to cause harm in the full amount of all loan proceeds, including the proceeds of a loan

  he sought but did not receive. But the evidence shows something very different. Very

  substantial portions of loan proceeds were used to fund and operate Williams Vending.

  Hundreds of thousands of dollars were used to pay Williams Vending’s creditors as loan

  proceeds became available. Under these circumstances, it is wrong to conclude that Mr.

  Williams intended a harm equal to all proceeds of a loan sought but denied. The proper offense

  level is 18, not 20.

          Mr. Williams asks the Court to find that the proper offense level is 18, and proposes that

  he be sentenced to no more than 57 months, which is the bottom of the guideline range based on

  that offense level and an assumed criminal history category VI. If necessary to support this

  sentence, Mr. Williams asks for a downward departure to this guideline range, or a variance

  outside of the calculated guidelines. Particularly given his age and the nature of this offense, this

  sentence meets the sentencing requirements of 18 U.S.C. § 3553(a).




                                                       3

                                                                                                          185
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 4 of 21 pg 186 of
                                        271




  THE LOSS AMOUNT CALCULATED BY PROBATION AND THE GOVERNMENT IS
                          OVERSTATED

         Pursuant to U.S.S.G. § 2B1.1, Probation applies a 16-level enhancement for a loss

  amount exceeding $1,500,000 (but less than $3,500,000), resulting in a total offense level of 20.

  As discussed in his objections to the PSR, Probation would hold Mr. Williams responsible for

  $1.1M in actual losses, and an additional $550,000 in intended losses based upon a third loan

  that was never funded, resulting in a calculated guideline loss amount of $1,696,828.28.

         Relying on the remaining balances on the two funded loans, the government argues – and

  Probation accepts - that even though the $550,000 loan was not funded (and there was no actual

  loss), Mr. Williams intended a loss in the entire amount of that unfunded loan. This argument

  ignores that hundreds of thousands of dollars of loan proceeds were paid to creditors and used to

  operate Williams Vending Company. Mr. Williams’ use of loan proceeds from funded loans

  shows he did not intend to cause a loss in the full amount of the unfunded loan. Mr. Williams’

  objection to the PSR’s calculation of guideline loss should be sustained, and his sentence based

  on the 14-level enhancement of U.S.S.G. § 2B1.1(b)(1)(H), not the 16-level enhancement of

  § 2B1.1(b)(1)(I) applied in the PSR.

    The Loan Funded December 28, 2007 Was Used Largely to Operate Williams Vending

         On December 28, 2007, WebBank issued ten checks, each in the name of a creditor and,

  at Mr. Williams’ request, Williams Vending Company. These checks funded loan #501000060

  in the amount of $787,000 and, after loan origination and other fees, included:




                                                      4

                                                                                                      186
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 5 of 21 pg 187 of
                                        271




      Intended Recipient          Loan          Purpose      Reference         Amount Paid to
                                  Amount                                       Creditor
      Pinnacle Business Finance   $67,695.83    Debt         WF_00000543 1     Paid via
                                                payoff.      GJ_00000420       liquidation.
      Pinnacle Business Finance   $68,253.07    Debt         WF_00000527       Paid via
                                                payoff.      GJ_00000441       liquidation.
      Pentech Financial Service   $51,379.80    Debt         WB_00004005       $42,000
                                                payoff.                        (1/11/08)
                                                                               INT_00000004
      Net Bank Business Finance   $44,074.67    Debt         JPM_00000222      $42,869.54
                                                payoff.                        (Jan. 2008)
                                                                               INT_00000154
      Financial Pacific Leasing   $22,523.00    Debt         JPM_00000225      Awaiting
                                                payoff.                        supporting
                                                                               documentation
                                                                               from creditor.
      Martin Leasing Corp.        $47,107.47    Debt         JPM_00000220      No additional
                                                payoff.                        information
                                                                               available.
      First Federal Leasing       $33,967.80    Debt         JPM_00000226      Paid; see below.
                                                payoff.
      Puget Sound Leasing         $37,273.60    Debt         JPM_00000223      $31,500
                                                payoff.                        (Jan. 2008)
                                                                               INT_00000019
      Ross Vending                $337,100.00   Equipment    WB_00002662       INT_00000116;
                                                purchase.                      INT_00000039;
                                                                               Paid in full as
                                                                               described below.
      Ross Vending                $40,000       Equipment    WF_00000548       Paid for
      (Issued January 31, 2008)                 purchase.                      inventory
                                                                               purchased; see
                                                                               below.
      Williams Vending Co.        $32,279.76    Working      WF_00000525       Properly spent.
                                                capital.
      TOTAL                       $781,655.00




  1
    Most documents cited in this Memorandum are found in the discovery provided by the
  government. These documents are voluminous and will not be provided to the Court prior to
  sentencing; paper copies, however, will be offered at sentencing. All other materials are
  attached.

                                                   5

                                                                                                  187
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 6 of 21 pg 188 of
                                        271




         Mr. Williams admits that he, “without obtaining co-endorsements from the joint payees,

  caused all of the funds to be deposited into the WVC accounts” and that he “used a large portion

  of the proceeds for his own purposes, rather than for the purposes authorized for the SBA-

  guaranteed loan.” The government alleges, and Mr. Williams acknowledges, that he improperly

  purchased two Mercedes vehicles with loan proceeds from Murray Motors in the amount of

  approximately $85,000. (See, e.g., MMI_00000004-05). But the evidence doesn’t support the

  government’s claim that Mr. Williams intended to divert essentially all loan proceeds for

  personal use, or that he intended to cause a loss in the full amount of the loan he sought but did

  not receive. The government’s own investigation shows that Mr. Williams used very substantial

  portions of loan proceeds to pay off creditors of Williams Vending and otherwise to support that

  business. Since Probation relies on the government’s discovery materials to support its

  conclusion, Mr. Williams relies principally on discovery materials in opposition to Probation’s

  recommendations.

  I.     The Government’s Investigation

         After receiving the WebBank checks and improperly depositing them into accounts he

  controlled, Mr. Williams negotiated lower payoff amounts with creditors of Williams Vending

  Company and made payments to resolve those obligations. This fact is confirmed by the

  government’s own investigation.

        1.       Pentech Financial Advisors

         On January 11, 2008, via cashier’s check #0548403594 (see WB_00004005),

  Mr. Williams paid Pentech Financial Advisors $42,000, settling Williams Vending’s $51,379.80




                                                       6

                                                                                                       188
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 7 of 21 pg 189 of
                                        271




  debt for which loan proceeds were funded. This pay off was confirmed by the government’s

  interview of Mr. Robert Amos, General Counsel for Pentech Financial. (See INT_00000004).

        2.       Puget Sound Leasing

         Mr. Williams paid Puget Sound Leasing $31,500, settling Williams Vending’s

  $37,273.60 debt for which loan proceeds were funded. This pay off was confirmed by the

  government’s interview of a representative from First Sound Bank, Puget Sound Leasing’s

  successor in interest. (See INT_00000019).

        3.       NetBank Business Finance

         Mr. Williams paid NetBank Business Finance $42,869.54, settling Williams Vending’s

  $44,074.67 debt for which loan proceeds were funded. This pay off was confirmed during the

  government’s interview of a representative of Leaf Funding, LLC, a successor to NetBank. (See

  INT_00000154).

         These payoffs to creditors of Williams Vending do not excuse the fraud that was

  perpetrated upon WebBank to obtain this loan, but they show that Mr. Williams did not intend

  the entire unfunded loan ($550,000) to be diverted, or to cause a loss to WebBank in the full

  amount of any of these loans.

        4.       Interviews of Ross Vending

         Although the government’s investigation did not confirm that Ross Vending Company

  was paid in full, further inquiry shows that this occurred.

         Mr. Ross Goldstein of Ross Vending Company was interviewed by the Federal Bureau of

  Investigation (“FBI”) on August 24, 2012. (See INT_00000039-40). Mr. Goldstein stated that

  he sold “three to four truckloads of refurbished vending machines which consisted of


                                                       7

                                                                                                  189
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 8 of 21 pg 190 of
                                        271




  approximately 90 to 120 machines” to Alan Williams and Williams Vending Company “for 800

  to 900” per machine. (Id. at 39.) He was not asked whether Mr. Williams paid Ross Vending

  for these machines with loan proceeds.

         On July 12, 2017, counsel for Mr. Williams spoke via telephone with Mr. Ross

  Goldstein. Mr. Goldstein confirmed his prior statements to the FBI that he had sold machines to

  Williams Vending Company, and stated that Williams Vending had paid in full and did not owe

  Ross Vending any money he knew of. Mr. Goldstein did not believe that he had maintained any

  records of the transactions, but added that the amounts the FBI told him Williams Vending

  claimed to have purchased were exaggerated.

         Mr. Williams inflated the invoices provided to WebBank concerning his purchase of

  equipment for Williams Vending from Ross Vending. But Williams Vending did make a

  substantial purchase of refurbished machines from Ross Vending with loan proceeds. Using

  Mr. Goldstein’s recollections, which as described below is not fully supported by other evidence

  in the discovery record, Williams Vending purchased at least 90 machines from Ross Vending at

  a cost of no less than $800 per machine, amounting to a conservative estimate of $72,000 in

  legitimate purchases. If Williams Vending purchased 120 machines at $900 per machine,

  however, Williams would have paid Ross Vending $108,000. Again, the evidence shows that

  substantial loan proceeds were used to pay Williams Vending’s creditors to support that

  business.

         Mr. Goldstein has acknowledged in the discovery record that he lacks records to show

  how many machines he sold to Williams Vending or the payments he received. He also

  acknowledges receiving cash payments. (See WB_00002268 at deposition p. 31, line 12-15.)


                                                     8

                                                                                                     190
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 58
                                  Document   filedFiled
                                                   09/10/19   USDC
                                                        08/03/17   Colorado
                                                                 Page 9 of 21 pg 191 of
                                        271




  Substantial payments made to Ross Vending are confirmed by the discovery record. The record

  contains at least one check in the amount of $33,000 (see WF_00000791) paid to Ross Vending

  for delivered machines. In addition, the government’s interview with Mr. Williams’ loan broker,

  Jim Moldane, reveals that Mr. Williams told him he paid Ross Vending an additional $200,000

  dollars in cash for machines during a visit to Mr. Goldstein in California. (See INT_00000116.)

  These transactions are further supported by bank records showing payments for freight charges

  for machine transportation. (See WF_0000579, showing a freight payment of $2,475.61; and

  WF_0000589, showing a freight payment of $3,363.56.)

        5.      “Working Capital”

         As part of this initial loan, Williams Vending received $32,279.76 for “working capital.”

  The record shows that Mr. Williams spent substantially more than this amount to pay the

  company’s on-going expenses. In early January, after the loans were funded and deposited by

  Williams, cashier’s checks were cut to pay for inventory (7 Up, $18,000), rent (Michael Bloom

  Realty, $23,000), and consulting services – Mr. Jim Moldane, an advisor who helped Williams

  apply for the SBA-back loans, received a commission from Williams Vending Company. (See,

  e.g., INT_00000116.) Additional company expenses paid with loan proceeds included, for

  example, loan payments (WF_00000736-737) and origination costs paid to HFC/Beneficial

  (WF_00000783), additional products (WF_00000787), and running costs such as employee

  compensation and service vehicle maintenance and repair. These additional expenses amount to

  tens of thousands of dollars, more than this “working capital” amount.




                                                     9

                                                                                                     191
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 10 of 21 pg 192 of
                                       271




        6.       Additional Investigation

         Although a review of the government’s evidence brings Mr. Williams’ intended loss

  below the $1,500,000 threshold for a 16-level enhancement under §2B1.1, additional

  investigation establishes that even more loan proceeds were used for legitimate business

  purposes, reducing the provable intended loss. Despite the passing of time and transferring of

  interests, two additional creditors of Williams Vending Company spoke with counsel and each of

  them confirmed receipt of payments from Williams Vending Company immediately after the

  loans were funded. 2

         a. First Federal Leasing

         On July 13, 2017, First Federal Leasing – a creditor of $33,967.80 – provided

  documentation that Williams Vending Company settled its debt with First Federal Leasing. (See

  attached Exhibit A.) Via Bank of the West check #6751, on or about February 17, 2008,

  Williams Vending Company paid First Federal Leasing $30,000. To reflect this settlement, First

  Federal Leasing completed a 1099-C form cancelling the remaining $3,967.80 debt. (See also

  BOW_00000027, discovery records produced by Bank of the West.)

         b. Financial Pacific Leasing

         During a July 5, 2017 telephone call with Financial Pacific Leasing – a creditor of

  $22,523.00 – counsel learned that Williams Vending Company’s account was closed in 2008.



  2
   At least one creditor agreed to provide supporting documentation only after receipt of a
  notarized release. Counsel attempted to visit Mr. Williams with a notary present on June 23,
  2017, and was told that special permission must be sought for a non-lawyer to visit. When such
  permission had not yet been granted, on July 28, 2017 counsel arranged for an attorney-notary to
  obtain these releases. Due to this delay, these supporting documents are not yet available, but
  will be submitted when received at or before the sentencing hearing.

                                                     10

                                                                                                     192
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 11 of 21 pg 193 of
                                       271




  Financial Pacific Leasing has been provided with the written authorization they requested to

  produce records from Williams Vending’s account, but as of this filing such records have not

  been received. If they are produced, these records will be submitted to the Court at sentencing.

   Intended Recipient              Loan           Purpose             Amount Paid to Creditor
                                   Amount
   First Federal Leasing           $33,967.80     Debt                         $30,000;
                                                  payoff.                   See Exhibit A.
   Financial Pacific Leasing       $22,523.00     Debt               Awaiting documentation from
                                                  payoff.                      creditor.
       ADDITIONAL AMOUNTS PAID                                           TBD

         In summary, hundreds of thousands of dollars from this initial loan were used to support

  the family business rather than being diverted for personal use by Mr. Williams.

   Intended Recipient              Loan           Purpose             Amount Paid to Creditor
                                   Amount
   Pentech Financial Service       $51,379.80     Debt             Settled for payment of $42,000;
                                                  payoff.                See INT_00000004
   Net Bank Business Finance       $44,074.67     Debt           Settled for payment of $42,869.54;
                                                  payoff.                See INT_00000154.
   Puget Sound Leasing             $37,273.60     Debt             Settled for payment of $31,500;
                                                  payoff.                See INT_00000019.
   Ross Vending                    $337,100.00    Equipment     Estimate of Amount Paid: $290,000.
                                                  purchase.
   Ross Vending                    $40,000        Equipment                    See above.
                                                  purchase.
   Williams Vending Co.            $32,279.76     Working         Properly spent at least this amount.
                                                  capital.
              EST. TOTAL PAID                                          $406,369.54

         The available evidence establishes that over $400,000 of the $787,000 loan was used for

  intended purposes, either to pay off creditors, purchase equipment, as working capital for

  Williams Vending Company, or to pay the broker who arranged this loan. A full accounting of

  funds used for business purposes is not available as the discovery records shows that many cash

  payments were made. It is clear, however, that hundreds of thousands of dollars of loan


                                                     11

                                                                                                         193
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 12 of 21 pg 194 of
                                       271




  proceeds were used in an effort to support Mr. Williams’ family business. As such, the

  government cannot prove by a preponderance of the evidence that Mr. Williams intended the full

  amount of the unfunded $550,000 loan to be lost.

            Proceeds from the $300,000 + $60,000 Loans Funded in May/June 2008

         Besides the $787,000 loan funded in January 2008, WebBank funded a second loan to

  Williams Vending Company later that year. In May, the loan provided Williams Vending

  Company with approximately $300,000 (minus related costs and fees), and in June 2008 a

  second check was issued by WebBank (to both Specialty Trux, LLC and Williams Vending

  Company) for $58,650 on the $60,000 loan. (See WF_0000565.) These funds were provided to

  purchase additional equipment and operating capital for Williams Vending Company. The great

  bulk of these loan proceeds were used to operate Williams Vending.

  I.     The Government’s Investigation

         a. The $300,00 Loan

         Mr. Williams invested most of the loan proceeds in the continued operation of Williams

  Vending Company. These checks provided by the government in discovery illustrate the point

   Date                   Vendor                                Amount         Discovery Ref.
   May 12, 2008           Michael Bloom Realty                 $3,200.00       WF_00000801
                          (“May Rent”)
   May 12, 2008           HFC                                 $13,997.82       WF_00000786
                          (“Payoff Acct”)
   May 28, 2008           Coca-Cola                            $5,406.96       WF_00000747
                          (“Beverages”)
   May 28, 2018           Coca-Cola                            $9,812.40       WF_00000748
                          (“Beverages”)
   May 28, 2008           Murray Motors                        $4,303.47       WF_00000738
                          (“Service...”)
   May 29, 2008           Seven Up                            $15,379.50       WF_00000780
                          (“Beverages”)
   July 1, 2008           Ross Vending                        $33,000.00       WF_00000791

                                                     12

                                                                                                   194
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 13 of 21 pg 195 of
                                       271




   July 9, 2008            Jim Moldane                           $15,640.00        WF_00000730
                           (“Services”)
   July 10, 2008           Vendors Exchange (“Beverage           $8,000.00         WF_00000794
                           machines 16 complete units”)
   July 10, 2008           Michael Bloom Realty                   $3,200.00        WF_00000729
   July 11, 2008           Chase Automotive Repair                $2,226.24        WF_00000803
   July 31, 2008           Michael Bloom Realty                   $6,000.00        WF_00000721
   August 6, 2008          Coca-Cola                             $13,888.32        WF_00000753
                           (“Beverages”)
   August 6, 2008          Coca-Cola                             $6,385.20         WF_00000752
                           (“Beverages”)
   October 20, 2008        Gateway Industrial                    $11,716.66        WF_00000792
                           (“Lease Deposit”)
   October 29, 2008        Seven Up                              $25,650.00        WF_00000802
                           TOTAL                                $177,806.57

         Again, because many company expenses were paid in cash transactions, a to-the-dollar

  accounting of loan proceeds used for legitimate business purposes is not available, but even the

  available discovery record shows that most of these loan proceeds were properly used.

         b.        The $60,000 Loan

         As to the Specialty Trux obligation, Mr. Williams deposited the loan proceeds of $58,650

  directly into a Williams Vending account (see WF_0000564). But Mr. Williams subsequently

  made three significant payments to Specialty Trux, a service vehicle modification business

  catering to the vending and snack food industry, totaling $51,515.00. After payment of loan

  origination and related expenses, nearly all of the proceeds of this loan was used for its intended

  purpose.

   Date                 Vendor                                     Amount         Discovery Ref.
   June 18, 2008        Specialty Trux, LLC                      $20,000.00        WF_0000539
   July 15, 2008        Specialty Trux, LLC (“2006 Isuzu          $8,000.00       WF_00000784
                        Truck Deposit”)
   Sept. 10, 2008       Specialty Trux, LLC (“2005 Isuzu         $23,515.00        WF_00000788
                        NPR Vehicle”)
                        TOTAL                                    $51,515.00

                                                      13

                                                                                                        195
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 14 of 21 pg 196 of
                                       271




  II.    Calculations

         The available evidence shows that Mr. Williams used most of these loan proceeds,

  totaling hundreds of thousands of dollars, to support his family’s business; it cannot be

  established by a preponderance of the evidence, as the government and Probation claim, that

  Williams intended to cause a loss in the full amount ($550,000) of the loan he sought but did not

  receive. Presumably, these funds would also have been used in substantial part to support the

  legitimate business of Williams Vending. But even if it is assumed that the same portion of the

  unfunded $550,000 loan would be used for non-business purposes, Mr. Williams’ intended loss

  amount is dramatically below U.S.S.G. § 2B1.1(b)(1)(I)’s $1,500,000 floor supporting a 16-level

  enhancement, and a 14-level enhancement should be applied instead.

        CONCLUSIONS ON GUIDELINE LOSS AND ALTERNATIVE REQUEST FOR
                          DOWNWARD DEPARTURE

         Mr. Williams has demonstrated by a preponderance of the evidence that the intended loss

  amount does not exceed $1,500,000. See U.S. v. Washington, 11 F.3d 1510 (10th Cir. 1993),

  citing McMillan v. Pennsylvania, 477 U.S. 79, 91082 (1986) (holding that due process does not

  require that sentencing factors be proved by more than a preponderance of the evidence); and

  U.S.S.G. § 6A1.3, comment. Mr. Williams’ objection to the total offense level based upon the

  § 2B1.1 loss guideline should be sustained. Mr. Williams’ total offense level should be

  enhanced 14 levels, not 16 as previously calculated, resulting in a total offense level of 18.

         Even if the Court discounts this evidence, overrules his objection, and finds that the total

  offense level should be calculated based upon a guideline loss amount exceeding $1,500,000, the

  loss amount determined by Probation falls just inside the bottom end amount meriting a 16-level

  enhancement. See U.S.S.G. §2B1.1(b)(1)(I). Application Note 20(C) to § 2B1.1 states that:

                                                       14

                                                                                                        196
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 15 of 21 pg 197 of
                                       271




         There may be cases in which the offense level determined under this guideline
         substantially overstates the seriousness of the offense. In such cases, a downward
         departure may be warranted.

  U.S.S.G. §2B1.1 at n. 20(C). Here, Mr. Williams’ offense is equated with that of a defendant

  who intended a loss of as much as $3,499,999 and personally absconded with those funds. Here

  the actual loss is only $1.1 million, and the great bulks of loan proceeds were used for legitimate

  business purposes. Because the guidelines overstate the seriousness of this offense, Mr.

  Williams should receive a two-level downward departure to an offense level of 18, even if the

  Court finds that the guideline loss exceeds $1,500,000.

                    APPLICATION OF THE 18 U.S.C. § 3553(a) FACTORS
                           AND A SENTENCING VARIANCE

         Mr. Williams proposes a sentence of 57 months, which is the bottom of the guideline

  range, assuming (without accepting) an offense level of 18 and a criminal history category of VI.

                                    Age and Medical Condition

         If the Court finds that Mr. William’s guideline range was appropriately calculated by

  Probation, and that a downward departure is not appropriate based on Application Note 20

  above, the statutory sentencing factors still favor a variance from a guideline range sentence. See

  United States v. Atencio, 476 F.3d 1099, 1101 n.1 (10th Cir. 2007) (en banc), overruled on other

  grounds by Irizarry v. United States, 553 U.S. 708 (2008). Mr. Williams’ advanced age and his

  low risk of recidivism upon release mean that a guidelines-range sentence in this case would

  disproportionately affect the Defendant and provide greater punishment than necessary.

         Under 18 U.S.C. § 3553(a), a sentencing court must consider, among other factors,

         (1) the nature and circumstances of the offense and the history and characteristics of the
             defendant;


                                                      15

                                                                                                        197
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 16 of 21 pg 198 of
                                       271




         (2) the need for the sentence imposed;

                 (C) to protect the public from further crimes of the defendant;

         (6) the need to avoid unwarranted sentence disparities among defendants with similar
         records found guilty of similar conduct;

  18 U.S.C. § 3553(a).

         Mr. Williams is a 54-year-old man detained for the past 16 months pending the resolution

  of this case. During that time, Mr. Williams’ health as gone from bad to worse, as a pre-existing

  hernia will require corrective surgical care and an arthritic knee, the result of a basketball injury

  during college, will need replacement. Unlike a younger offender, Mr. Williams is not well

  equipped for a lengthy stay in federal prison. And despite his criminal history, the longest actual

  sentence that Mr. Williams has served, to date, has been only approximately 48 months. Mr.

  Williams probably will not be released from federal custody before his 60th birthday, and – given

  his pending state cases – his release will likely be delayed even further.

                                    Comment on Criminal History

         In Defendant's Response to the Presentence Report (Docket No. 55), Mr. Williams

  challenged a total of 5 points assigned to him by Probation in calculating a criminal history

  category of VI, and asked to review Probation’s supporting documents. Probation has declined

  to provide counsel with those documents, agreeing instead to provide those documents when

  Probation submits its Addendum to the PSR on or about August 8, 2017. Mr. Williams will

  address Probation’s response when it is available. Until that time, Mr. Williams assumes, but

  does not accept, that his criminal history category is VI.

         Mr. Williams acknowledges that he has a significant criminal history. But there are,

  however, important mitigating facts about this criminal history.

                                                        16

                                                                                                          198
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 17 of 21 pg 199 of
                                       271




          First, although Mr. Williams has a significant criminal history, little of that criminal

  history is recent. The current offense occurred over ten years ago, and his last conviction or

  arrest, prior to his current incarceration, occurred five years prior to his arrest in this case in

  March of 2016.

          Second, Mr. Williams’ criminal history includes few offenses relating to personal

  violence, and nothing of that kind in recent years. The only related event in the past two decades

  is a municipal harassment charge reported at paragraph 81 of the PSR. Mr. Williams does not

  agree this event involved actual violence. Mr. Williams has no criminal history relating to

  weapons or a drug history.

          Third, despite his criminal history, Mr. Williams’ age makes him a lower risk of

  recidivism than a younger defendant. As a U.S. Bureau of Prisons report cited by then

  Judge Gorsuch concludes, recidivism rates are “inversely related to age at release.” United

  States v. Smith, 756 F.3d 1179, 1183. This should bear upon the Court’s determination of

  whether “still more incarceration is necessary to protect the public.” Dean v. United States, 137

  S.Ct. 1170, 1176 (2017) (citing a defendant’s prospective release from incarceration after his

  fiftieth birthday as evidence that the public was adequately protected).

          While his age and medical condition do not mitigate Mr. Williams’ offense conduct,

  these circumstances suggest that incarceration will be a harsher punishment for Mr. Williams

  than for other defendants. Given his age and deteriorating health, any term of imprisonment will

  constitute a larger portion of his remaining natural life than that of a younger defendant.




                                                         17

                                                                                                        199
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 18 of 21 pg 200 of
                                       271




                                     Sentencing Recommendation

           Mr. Williams objects to the PSR’s recommendation he be sentenced to 87 months, which

  is the top end of the guideline range calculated by Probation.

           Because the guideline loss is less than $1,500,000, the proper total offense level is 18

  rather than 20. Assuming a Criminal History Level VI, the proper guideline range is 57-71

  months. A maximum guideline sentence would be 71 months, not the 87 months recommended

  by Probation. Considering all relevant factors, a sentence at the bottom of this guideline range,

  57 months, will meet the requirements of 18 U.S.C. 3553.

           Even if the Court finds that the proper offense level is 20, Probation’s recommended

  sentence of 87 months substantially exceeds the sentence necessary to meet the requirements of

  18 U.S.C. 3553.

           The guidelines add two additional points to the offense level for a guideline loss

  exceeding $1,500,000 but less than $3,500,000 pursuant to § 2.B1.1(b)(1)(I). Even if the

  guideline loss is as Probation calculates ($1,696,828.28), this loss is at the very bottom of this

  category of guideline loss and does not justify a sentence at the top of the resulting guideline

  range.

           Although Mr. Williams’ offense is serious, it is mitigated by the fact that these loans

  were obtained in large part in a failed effort to fund a long-existing family business. This is not a

  more aggravated case than where loan proceeds were effectively stolen for personal use via a

  non-existing entity, or where the defendant concealed his identity for this purpose.

  Mr. Williams’ involvement in the loan process was no secret. (See paragraphs 19 and 20 of the

  PSR.) And Mr. Williams remained active at Williams Vending and communicated with the


                                                        18

                                                                                                          200
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 19 of 21 pg 201 of
                                       271




  lender after the loans were made. Again, a sentence at the maximum of the guideline range is

  not justified by these circumstances. See 18 U.S.C. 3553 (a)(1).

         Mr. Williams is a 54-year old with significant health issues, and even if sentenced to 57

  months, he will be approximately 60 years old when he completes this sentence and at least 65

  years old when he completes supervision. At his age, and particularly given the Supervised

  Release served after his incarceration, he is a modest risk to reoffend. A sentence at the

  maximum of the guideline range is not justified by the risk of future offenses. See 18 U.S.C

  3553 (a) (1)(C).

         Mr. Williams has a significant criminal history, but that history is more than adequately

  reflected by calculating his guideline range using criminal category VI. This criminal history,

  particularly in recent decades, reveals no propensity for violence, includes no weapons or drug

  offenses, and he was not arrested on any new offenses for nearly five years prior to his arrest for

  the current offense. A sentence at the maximum of the guideline range is not justified by this

  criminal history.

                                             Conclusion

         A sentence at the bottom of the guideline range, or below, is adequate to meet the

  requirements of 18 U.S.C. 3353. This should be a sentence of no more than 57 months, given an

  appropriate total offense level of 18. If the Court declines a downward departure or variance and

  applies an offense level of 20 and a criminal history category VI, Mr. Williams should be

  sentenced at the bottom of that guideline range, which is no more than 71 months.




                                                      19

                                                                                                        201
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 20 of 21 pg 202 of
                                       271




         As noted in this Memorandum, certain information relevant to sentencing is not now

  available. For this and other reasons, Mr. Williams intends to seek a continuance to assure that

  this information is available at sentencing.



         Respectfully submitted this 3rd day of August, 2017.



                                                    /s/ Michael J. Gallagher
                                                  Michael J. Gallagher
                                                  DAVIS GRAHAM & STUBBS LLP
                                                  1550 Seventeenth Street, Suite 500
                                                  Denver, Colorado 80202
                                                  Telephone: (303) 892-9400
                                                  Email: Mike.Gallagher@dgslaw.com

                                                  Attorney for Defendant Alan Alonzo Williams




                                                     20

                                                                                                     202
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58filed
                                Document            09/10/19
                                                 Filed        USDC
                                                       08/03/17    Colorado
                                                                Page 21 of 21 pg 203 of
                                       271




                                         Certificate of Service


         I certify that on August 3, 2017, I electronically filed the foregoing DEFENDANT’S

  SENTENCING MEMORANDUM AND MOTION FOR DOWNWARD DEPARTURE

  AND VARIANCE with the Clerk of the Court using the CM/ECF system which will send

  notification of such filing to all counsel of record.


                                                                  s/ Kathrine M. Aragon
                                                                  Kathrine M. Aragon




                                                                                              203
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 58-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 08/03/17 Colorado
                                                                     1 of 2 pg 204 of
                                       271




                    EXHIBIT A




                                                                                    204
 Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB      173-1 58-1
                                 Document    filed 09/10/19  USDCPage
                                                   Filed 08/03/17 Colorado
                                                                      2 of 2 pg 205 of
                                        271




                                                                                       D CORRECTED           if checked
CREDITOR'S name, street address, city, state, and ZIP code                                                                           OMS No. 1545-1424
                               \.        I   l't ......... (" -         i\ •
                           1          .,                                                                                                                                Cancellation
                                                                                                                                          ~@08
                       l
                                                                    l
  ·n       )
                       rh           ~I   rt '"                                                                                                                              of Debt
  de           in ('\'0 •           T;-_ •+. ''.,.
                                               II


                                                                                                                                         Form   1099-C
CREDITOR'S federal identification number                            DEBTOR'S identification number   1 Date canceled                2 Amount of debt canceled                       Copy B
           I' J       H    ~(I                                          S". &- 1                            .. rv                    $       3J6 .bl.                           For Debtor
DEBTOR'S name                                                                                        3 Interest if included in box 2 4                                   This is important tax
                                                                                                                                                                    information and is being
                                                                                                                                                                     furnished to the Internal
                                                                                                     $                                                               Rev!jnue Service. If you
                                                                                                                                                                          are required to file a
Street address (including apt. no.)                                                                  5 Debt description                                                   return. a negligence
                                                                                                                                                                               penalty or other
   >i                t'1             r_,r                         ··-e1't1G.(l/,                                                                                              sanction may be
City, state, and ZIP code                                                                                                                                                   imposed on you 1f
                                                                                                                                                                       taxable income results
               'I. '        I (          ? It.                                                                                                                           from this transaction
Account number (see instruction s)                                                                   6 Bankruptcy (1f checked)      7 Fair market value of property and the IRS determines
                                                                                                                                                                          that 1t has not been
           l   r.                                                                                                   D               $                                                 reported.
Form   1099-C                                                                                (keep for your records)                     Department of the Treasury • Internal Revenue Service




--     r            'Wif[iams
                    {303) 360- 7898
                    2200 Cfumwers ?(cf
                    Jturoro, CO 80011
                                         ~ernfing Co-~~




                                                                                                                                                                                       205
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 59
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      08/04/17   Colorado
                                                               Page 1 of 5 pg 206 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Criminal Action No. 1:15-cr-00395-REB


   UNITED STATES OF AMERICA,

           Plaintiff,

   v.

   1.      ALAN ALONZO WILLIAMS,

           Defendant.



               DEFENDANT’S THIRD UNOPPOSED MOTION TO CONTINUE
                             SENTENCING HEARING


          Defendant Alan Alonzo Williams (“Defendant”) requests that sentencing in this matter,

  currently scheduled for August 17, 2017, at 10:00 A.M., be continued approximately 90 days until

  on or after November 17, 2017. In support of this Motion (“Motion”), Defendant states as follows:

          1.      Defendant has been in federal custody since his arrest in this case on March 18,

  2016.

          2.      On January 12, 2017, Defendant pled guilty pursuant to a plea agreement with the

  United States. On that date, the Court set Defendant’s sentencing hearing for April 6, 2017, at

  10:00 A.M.

          3.      On March 6, 2017, the Court granted Defendant’s Unopposed Motion to Continue

  Sentencing Hearing, resetting sentencing in this matter until July 6, 2017, at 10:00 AM. Defendant

  requested this continuance principally to address a long-standing health issue for which he



                                                                                                       206
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 59
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      08/04/17   Colorado
                                                               Page 2 of 5 pg 207 of
                                       271




  understood he was to receive surgical care. On June 16, 2017, the Court granted Defendant’s

  Second Motion to Continue Sentencing, setting the current date of August 17, 2017, at 10:00 am.

  This Motion is Defendant’s third request to continue his sentencing hearing.

         Medical Treatment Issues

         4.      The prior continuances were sought because Mr. Williams advises that a sentencing

  date within approximately 90 days would interfere with the scheduling of hernia surgery and other

  medical treatment he expects to soon obtain. For reasons unknown to Mr. Williams, his hernia

  surgery has not yet occurred. He has been advised that abnormal liver test results during his pre-

  operation work up may explain the delay. Mr. Williams advises that, apparently for security

  reasons, he is not advised in advance of when he will be taken for surgery and other treatment.

  The principal reason for this request for a ninety-day continuance is to assure that a scheduled

  sentencing does not interfere with his medical treatment for which he has been waiting for months.

         Cognitive Training Therapy

         5.      Mr. Williams advises that, approximately one week ago, he began a Cognitive

  Behavior Modification Program that will last for six weeks. He desires to complete that class and

  report on his progress before sentencing.

         Sentencing Information and Records

         6.      Mr. Williams requested a continuance of sentencing until August 17, 2017, in part

  to seek records in further support of his sentencing position. Promptly after that continuance was

  granted, counsel prepared releases to be signed by Mr. Williams and notarized to obtain additional

  supporting records. After attempting to have a notary present during a meeting with Mr. Williams

  on June 23, 2017, the Federal Detention Center (“FDC”) required a written request to permit a



                                                  2
                                                                                                       207
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 59
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      08/04/17   Colorado
                                                               Page 3 of 5 pg 208 of
                                       271




  notary to meet with Mr. Williams, and counsel subsequently submitted that request. The request

  has not yet been granted by the FDC. Last week, counsel identified a lawyer who was also a

  notary, took this additional lawyer to meet with Mr. Williams, and obtained these releases. These

  releases were promptly provided to Wells Fargo Bank and a prior creditor of Williams Vending

  Company, the borrower involved in this case. As noted in both the comments to the Presentence

  Investigation Report (“PSR”) and Sentencing Memorandum, Mr. Williams believes that additional

  records may exist showing his use of loan proceeds to further his family’s business, Williams

  Vending Company. As of the submission of this request, these requested documents have not been

  provided under these releases, despite prompting by counsel.

         7.      Counsel for Mr. Williams has already submitted comments on the PSR and his

  Sentencing Memorandum. A continuance is necessary so that the additional information sought

  with these releases is available at sentencing.

         Position of Government

         8.      On August 4, 2017, counsel for Mr. Williams conferred with AUSA Julia Martinez

  about this request. The government does not oppose this request on the condition that no further

  continuances of sentencing be permitted.

         Conclusion and Further Statement of Grounds

         Defendant recognizes that he has requested a significant delay of his sentencing.

  However, this delay will not prejudice the government, and is necessary to ensure that his

  medical treatment will not be delayed by a sentencing date in the near term. At a minimum, a

  continuance of approximately thirty (30) days is requested to permit the Defendant to obtain the




                                                    3
                                                                                                      208
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 59
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      08/04/17   Colorado
                                                               Page 4 of 5 pg 209 of
                                       271




  additional sentencing information not now available because of the FDC’s delay in permitting a

  notary to meet with MR. Williams.

         Mr. Williams requests a continuance of ninety days, or such other time as the Court

  deems appropriate. As noted, the government does not oppose this request so long as it is the

  final continuance of sentencing.


         Respectfully submitted this 4th day of August, 2017.

                                                   /s/ Michael J. Gallagher
                                                 MICHAEL J. GALLAGHER
                                                 DAVIS GRAHAM & STUBBS LLP
                                                 1550 Seventeenth Street, Suite 500
                                                 Denver, Colorado 80202
                                                 Telephone: 303-892-9400
                                                 Email: Mike.Gallagher@dgslaw.com

                                                 Attorney for Defendant Alan Alonzo Williams




                                                 4
                                                                                                   209
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 59
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      08/04/17   Colorado
                                                               Page 5 of 5 pg 210 of
                                       271




                                       Certificate of Service


         I certify that on August 4, 2017, I electronically filed the foregoing Defendant’s Third

  Unopposed Motion to Continue Sentencing Hearing with the Clerk of the Court using the

  CM/ECF system which will send notification of such filing to all counsel of record.



                                                                s/ Kathrine M. Aragon
                                                                Kathrine M. Aragon




                                                                                                    210
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 59-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 08/04/17 Colorado
                                                                     1 of 1 pg 211 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.



                                    [PROPOSED] ORDER


         Having considered Defendant’s Third Unopposed Motion to Continue Sentencing

  Hearing (“Motion”) and the government’s restricted consent conditioned on this being the final

  continuance of sentencing, the Court finds that the Motion should be GRANTED. As such, the

  Sentencing Hearing in this matter is continued for the final time and hereby reset to

  ______________________________.

         So ORDERED this ______ day of August, 2017.



                                                HON. ROBERT E. BLACKBURN
                                                Senior United States District Judge for the
                                                District of Colorado




                                                                                                   211
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 64
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      10/26/17   Colorado
                                                               Page 1 of 2 pg 212 of
                                       271


                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


 Criminal Case No. 15-cr-00395-REB

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1. Alan Alonzo Williams,

      Defendant.


                           ENTRY OF APPEARANCE OF COUNSEL

 To:          The clerk of court and all parties of record

              I hereby certify that I am a member in good standing of the bar of this court, and I

 appear in this case as counsel for:

             the Government


       DATED at Denver, Colorado this 26th day of October, 2017.

                                                             Rebecca S. Weber
                                                             Name of Attorney

                                                             United States Attorney’s Office_______
                                                             Firm Name

                                                             1801 California Street, Suite 1600
                                                             Office Address

                                                             Denver, CO, 80202
                                                             City, State, ZIP Code

                                                             303-454-0100____________________
                                                             Telephone Number

                                                             Rebecca.Weber@usdoj.gov
                                                             Primary CM/ECF E-mail Address




                                                                                                  212
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 64
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      10/26/17   Colorado
                                                               Page 2 of 2 pg 213 of
                                       271


          Respectfully submitted this 26th day of October, 2017.


                                                  ROBERT C. TROYER
                                                  Acting United States Attorney

                                                  By: s/ Rebecca S. Weber
                                                  REBECCA S. WEBER
                                                  Assistant U.S. Attorney
                                                  United States Attorney=s Office
                                                  1801 California Street
                                                  Suite 1600
                                                  Denver, CO 80202
                                                  Telephone: (303) 454-0100
                                                  Fax: (303) 454-0401
                                                  E-mail: Rebecca.Weber@usdoj.gov




                                                                                    213
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 1 of 8 pg 214 of
                                       271



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Criminal Action No. 15-cr-00395-REB

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  1. ALAN ALONZO WILLIAMS,

        Defendant.


       GOVERNMENT=S RESPONSE TO DEFENDANT’S SENTENCING STATEMENT


        The United States of America respectfully submits the following response to

  Defendant’s Sentencing Memorandum and Motion for Downward Departure and Variance

  (No. 58). The government opposes the defendant’s motions and requests a mid-range

  sentence, based on a guidelines range of 70-87 months. Probation requests a sentence

  of 87 months. The defendant requests a sentence of 57 months.

            A. Nature and Circumstances of the Offense

        The defendant pled guilty to bank fraud. The facts of the offense are laid out in

  detail in the Plea Agreement (No. 44), but some highlights are included here. Between

  2006 and 2008, the defendant obtained $1,160,000 in loans and attempted to obtain

  another $550,000 loan for himself and a business called Williams Vending Company

  (WVC). Because the defendant was a felon and a parolee, he would not qualify for the

  loans. He therefore exploited an acquaintance’s drug addiction in order to use her identity

  to obtain loans fraudulently. The defendant acquired the loans by making numerous lies.

  For example, he listed Ms. X as the 100% owner and president of WVC, even though the


                                              1

                                                                                                214
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 2 of 8 pg 215 of
                                       271



  defendant controlled the finances and operations of WVC and he and his family members

  owned the company. He gave Ms. X sole signature authority over three bank accounts,

  but he maintained control over these accounts. He told the Small Business Administration

  that she was the loan applicant and would serve as the personal guarantor. He explained

  that her minority status would allow government agencies to fulfill a portion of their

  minority contracting requirements by awarding contracts to WVC.           The defendant

  provided false documentation showing that he had vending agreements with Peterson Air

  Force Base and Carmel Property Management, when in fact no such agreements existed.

  The defendant used a portion of the loan proceeds for personal purposes, including

  buying two new Mercedes Benz cars.

        As part of the fraud, the defendant had Ms. X sign a contract to purchase a

  residence in Denver. He then arranged for her obtain a $900,000 loan for the house. The

  defendant caused Ms. X to present all sorts of false information to the lender in order to

  acquire this loan. Ms. X never resided in the house, but the defendant used the house to

  make it appear to WebBank that Ms. X had substantial assets.

        With respect to the $550,000 loan that the defendant attempted to obtain, he

  falsely represented that Ms. X was the president and owner of WVC and he said that the

  funds were needed to purchase equipment for a contract WVC had entered into with the

  City and County of Denver. In fact, no such agreement existed. He also made it appear

  that WVC’s liabilities had decreased significantly by producing a promissory note to Ms.

  X for approximately $200,000. The defendant did not intend to pay Ms. X the $200,000

  as represented.

               I.     Loss Calculations

        The nature of the offense is relevant in determining the applicable guidelines

                                              2

                                                                                               215
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 3 of 8 pg 216 of
                                       271



  range. According to the government’s calculations, the defendant faces a guidelines

  range of 70-87 months, based on a total offense level of 20 and a criminal history category

  VI. The offense level is calculated from a base offense of 7 (§2B1.1(a)(1)) and specific

  offense characteristic of 16 additional levels for the amount of the loss exceeding $1.5

  million. (§2B1.1(b)(1)(I)). Loss is defined as the greater of actual loss or intended loss.

  See §2B1.1 app. n. 3(A). “Intended loss” means “pecuniary harm that the defendant

  purposely sought to inflict.” Id.; see United States v. Manatau, 647 F.3d 1048, 1050 (10th

  Cir. 2011). “The Court need only make a reasonable estimate of the loss.” § 2B1.1 app.

  n. 3(C).

         The defendant argues that he should receive only 14 additional levels under

  §2B1.1(b)(1)(H) for a total loss amount of more than $550,000 and up to $1.5 million. He

  has not challenged the Presentence Investigation Report’s conclusion that the remaining

  balance on the loans he received from WebBank ($787.574.58 on an $800,000 loan from

  2007 and $359,253.70 on a $360,000 loan in 2008) constitute actual loss (for a total of

  $1,146,828.28). (No. 55 at 5). But, he argues, the full amount of a $550,000 loan the

  defendant attempted to obtain from WebBank should not count towards “intended loss”

  for sentencing purposes, because the defendant would have used some portion of the

  $550,000 loan for the continued operation of his family business.

         Actual loss here should be calculated by subtracting from the loan amount any

  payments the bank received and what collateral they could seize in order to offset the

  loss. See §2B1.1 app. n. 3(E)(ii). Although the defendant made payments to creditors of

  his business using a portion of the $1.16 million in funded loans, those payments did not

  result in a higher recoupment of collateral when the business went into receivership. After

  liquidation, the collateral was worth only approximately $30,000, and that money went to

                                              3

                                                                                                216
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 4 of 8 pg 217 of
                                       271



  Chase Bank, which had priority over WebBank.            To argue, then, that successfully

  acquiring the $550,000 loan would have facilitated a more lucrative dissolution of assets

  when the company went into receivership, thus resulting in more collateral to offset the

  loss amount, is highly speculative.

         At the end of the day, after the company had been through receivership, the actual

  loss to WebBank was the balance on the $1.16 million in loans, which was $1,146,828.28.

  It is reasonable, therefore, to infer that the defendant purposely sought to inflict a

  proportional amount of damage had he successfully acquired the $550,000 loan. For the

  $800,000 loan, the defendant had reduced the principal balance by only $12,425.42, a

  reduction of approximately 1.6%. For the $360,000 loan, the defendant had reduced the

  principal balance by $746.30, a reduction of approximately 0.22%. The natural and

  probable consequences of obtaining this third loan would likely have been the same –

  that very little of the principal would be repaid. See United States v. Alli, 444 F.3d 34, 39

  (1st Cir. 2006) (calculating intended loss as stolen credit cards’ aggregate credit limit

  because “[i]t was naturally and probably to be expected” that defendant’s contacts who

  purchased stolen cards would charge as much as possible). See, e.g., United States v.

  Iwuala, 789 F.3d 1, 13-14 (1st Cir. 2015) (calculating intended loss as amount defendant

  fraudulently billed Medicare, not the amount Medicare actually paid him); United States

  v. McCoy, 508 F.3d 74, 79 (1st Cir. 2007) (in mortgage fraud scheme, intended loss was

  “the value of the loans less the expected value of the properties” at the time of the fraud,

  even where victim banks recouped more money from later sale of properties).

         Finally, to the extent the defendant is arguing that loan proceeds used legitimately

  should not count towards the loss calculation, regardless of whether the loans were

  acquired through fraudulent means, he has not produced any case law to support that

                                               4

                                                                                                  217
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 5 of 8 pg 218 of
                                       271



  position. The test, rather, is the loss the defendant intended to inflict, which we can infer

  from the defendant’s actions with respect to the funded loans, which he obtained using

  the same fraudulent means that he used in his attempt to obtain the $550,000 loan. See

  United States v. Johnson, 16 F.3d 166, 173 (7th Cir. 1994) (intended loss calculated as

  full value of loan acquired through fraud and misrepresentation, even though no actual

  loss suffered); see also United States v. Banta, 127 F.3d 982, 983-84 (10th Cir. 1997)

  (defendant liable for full value of car loans acquired through fraudulent means, even

  where cars were repossessed and resold, because defendant “could have inflicted a loss

  in the amount of the face value of the loans if he intended to permanently deprive the

  bank of the collateral by concealing the vehicles”).

         For these reasons, the government agrees with Probation that the full amount of

  the $550,000 unfunded loan should be included as “intended loss,” thereby resulting in a

  total offense level of 20.

             B. History and Characteristics of the Defendant

         The defendant’s criminal history includes 15 felony convictions in 12 different state

  matters.   Those convictions include, for example: Robbery and Forgery at age 19.

  Presentence Investigation Report (“PSIR”) ¶¶ 60, 61. Theft, Second Degree Forgery, and

  Harassing Communication at age 20. PSIR ¶¶ 62-64. False Reporting at age 26. PSIR

  ¶ 69. Criminal Attempt to Commit Third Degree Burglary at age 28 and again at age 31.

  PSIR ¶¶ 70, 74. Third Degree Forgery, Theft, and False Reporting at age 29. PSIR ¶¶

  71-73. Theft (more than $400 to less than $15,000) at age 33, Theft (more than $15,000),

  and First Degree Aggravated Car Theft at age 34. PSIR ¶¶ 76-78. Attempted Third

  Degree Burglary at age 35. PSIR ¶ 79. Criminal Attempt to Commit Theft at age 46.

  PSIR ¶ 80. Identity Theft at age 49. PSIR ¶ 82.

                                               5

                                                                                                  218
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 6 of 8 pg 219 of
                                       271



         The defendant argues that he had not had many recent convictions or arrests prior

  to his arrest in the instant case in March of 2016. (No. 58 at 17). Yet, it is simply not the

  case that the defendant had “cleaned up his act.” The defendant pled guilty to Criminal

  Attempt to Commit Theft, a felony, in 2009; to Harassment: Harmful/Painful Offense

  Conduct in 2011; and to Identity Theft, a felony, in 2011. PSIR ¶¶ 80-82. He also faces

  pending charges for Theft and Forgery in Denver from 2012 and for Forgery and Criminal

  Impersonation in Broomfield from 2016. PSIR ¶¶ 87-88. Between 2011 and 2016, the

  defendant failed to appear three times, resulting in the issuance of warrants. PSIR ¶¶ 82,

  87. Moreover, the defendant was committing the instant offense during the brief “break”

  in convictions between 2006 and 2009. In sum, there is no indication, based on his

  criminal history, that the defendant had tried to improve his behavior in a manner that

  warrants sentence mitigation.

         The defendant also argues that few of the convictions relate to personal violence.

  (No. 55 at 7). Yet the nature of the instant offense and the defendant’s long history of

  committing thefts and frauds amply demonstrate the danger he poses to the community.

         The defendant had a supportive and upper middle-class upbringing. PSIR ¶ 91.

  His mother describes him as very intelligent.       PSIR ¶ 91, 93.      Thus, unlike many

  defendants, desperation and strife did not drive the defendant to commit the many crimes

  he committed. For all of these reasons, a mid-range sentence is warranted.

            C. Other 18 U.S.C. § 3553(a) Factors

         As to the goal of achieving rehabilitation, the government agrees with Probation

  that the defendant could benefit from cognitive behavioral treatment during a period of

  supervised release. Although deterrence seems unlikely, given the defendant’s persistent

  recidivism, a mid-range sentence is more likely to serve a deterrence function than a

                                               6

                                                                                                  219
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 7 of 8 pg 220 of
                                       271



  lower sentence. In sum, the government believes that a mid-range sentence is sufficient,

  but not greater than necessary, to punish the defendant for his conduct in this offense.

        Respectfully submitted this 2nd day of November, 2017.


                                                   ROBERT C. TROYER
                                                   Acting United States Attorney

                                                   By: s/ Rebecca S. Weber
                                                   REBECCA S. WEBER
                                                   Assistant United States Attorney
                                                   United States Attorney’s Office
                                                   1801 California Street, Suite 1600
                                                   Denver, Colorado 80202
                                                   Telephone: (303) 454-0100
                                                   Email: Rebecca.Weber@usdoj.gov
                                                   Attorney for the United States




                                              7

                                                                                             220
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 67
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/02/17   Colorado
                                                               Page 8 of 8 pg 221 of
                                       271



                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 2nd day of November, 2017, I electronically filed the
  foregoing GOVERNMENT=S RESPONSE TO DEFENDANT’S SENTENCING
  STATEMENT with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to the following e-mail addresses:

  Michael John Gallagher
  mike.gallagher@dgslaw.com

  Julia Martinez
  julia.martinez@usdoj.gov

  Linda Kaufman
  Linda.Kaufman@usdoj.gov



                                             By: s/ Rebecca S. Weber
                                             REBECCA S. WEBER
                                             Assistant United States Attorney
                                             United States Attorney’s Office
                                             1801 California Street, Suite 1600
                                             Denver, Colorado 80202
                                             Telephone: (303) 454-0100
                                             Email: Rebecca.Weber@usdoj.gov
                                             Attorney for the United States




                                                8

                                                                                                221
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 1 of 8 pg 222 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.



            DEFENDANT'S SUPPLEMENTAL SENTENCING MEMORANDUM



         Defendant Williams submits this Supplemental Sentencing Memorandum to address (i)

  additional sentencing information provided in the Addendum to the Presentence Report

  submitted by Probation and (ii) the Government's Response to Defendant's Sentencing

  Statement. Mr. Williams also provides additional information relevant to sentencing obtained

  during the continuance of his sentencing date.

         Sentencing was continued, in part, to facilitate medical treatment of Mr. Williams'

  damaged knee and abdominal hernia needing surgical repair. Despite numerous requests for

  over a year that these medical conditions be addressed while Mr. Williams remains in local

  custody, and before sentencing, these serious medical conditions remain unaddressed.

  Mr. Williams reports on these issues and, if necessary, will seek the court's assistance to assure

  that these medical issues are promptly addressed.


                                                                                               4406665.1
                                                                                                           222
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 2 of 8 pg 223 of
                                       271




                                Addendum to Presentence Report

         Offense Category and Loss Amount. Mr. Williams does not accept Probation's

  addition of two offense category points based on an intended loss calculation exceeding

 $1,500;000. See Addendum Objections 1 and 2.

         Probation does not dispute the showing made by Mr. Williams in his Objections and

  Sentencing Memorandum that Mr. Williams used loan proceeds for legitimate business, and that

  his established personal use of loan proceeds principally concerned the purchase of two personal

  automobiles. As discussed in his Sentencing Memorandum,these facts conflict with the

  assumption that Mr. Williams purposely intended to cause a loss in the full amount of the last

  loan, which was not funded and caused no actual loss.

         Mr. Williams showed in his Sentencing Memorandum that essentially all the proceeds of

  his last funded loan were used for legitimate business purposes. See Sentencing Memorandum at

  p. 13. Probation does not challenge this showing in the Addendum. Similarly, Mr. Williams

  showed in his sentencing memorandum that based solely on checks to third parties available in

  the discovery record at least $177,000 of the second loan funded, with $291,742 and subject to

  significant additional broker fees, was used for legitimate business. See Sentencing

  Memorandum at pp. 12 and 13. Further review of the available record shows tens of thousands

  of dollars in additional loan proceeds used for legitimate business purposes as shown by checks




                                                  2



                                                                                                     223
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 3 of 8 pg 224 of
                                       271




 to third parties not identified in Mr. Williams' sentencing memorandum.l This excludes other

 significant transactions with company suppliers, which also occurred, but concerning which

 records are not available from the involved bank.

          To support its position on loss amount, Probation relies on the fact that only a small

  amount of loan proceeds was repaid. But, as noted in the Addendum, this small repayment was

  because Chase Bank had a security interest with priority over WebBank,the lender here, when

  Williams Vending failed. Probation provides no evidence that Mr. Williams planned or intended

  the failure of his family business.

          Criminal History Category. As reflected at Objection Nos. 3 and 4 of the Addendum,

  Mr. Williams objected to Probation's calculation of a criminal history category VI based on the

  information available to him regarding two alleged prior offenses. Mr. Williams acknowledges,

  based on the new information provided by Probation, that his criminal history category is VI.

          Sentencing Recommendation. Mr•. Williams objects to the 87-month maximum

  guideline sentence recommended by Probation for the reasons previously stated. This

  recommended sentence exceeds the guideline range if the court concludes that the guideline loss

  is less than $1,500,000, and is unduly harsh if the guideline loss is determined to be just over

  $1,500,000, as Mr. Williams did not abscond with the proceeds of the funded loans, but rather



 'See attached checks confirming substantial additional payments to business third-parties made with loan proceeds:
  Gateway Industrial Deposit(10/20/08)$11, 716.66; Snack Truck Purchase (5/20/08)$9,500; Payment to Employee
  Erickson (5/13/08)$4,648.05; ANB Payroll (5/29/08)$1,700; HSB Account(6/09/08)$800.00; ANB Payroll
 (8/2/08) $1,515.12; Arapahoe County Clerk (6/25/08) $1,442.15; ANB Payroll (6/30/08)$1,600; Metro Printing
 (8/06/08) $1,347.85. Other examples are available in the record. Some amounts paid in cash to Ross Vending and
  others cannot be confirmed with available checks, but full payment to Ross Vending is acknowledged by its owner.
 See Sentencing Statement at pp. 7-9.


                                                          3



                                                                                                                      224
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 4 of 8 pg 225 of
                                       271




 used them principally to fund adecades-old family business. Mr. Williams appreciates that the

 government recommends amid-range guideline sentence, not a maximum guideline sentence.

         Probation's sentencing recommendation also fails to address Mr. Williams' age and

  unaddressed medical conditions that make a lengthy sentence particularly onerous and unfair.

                  Government Response to Defendant's Sentencing Statement

         Position on Guideline Loss. Like Probation, the government does not challenge the

  showing made by Mr. Williams that loan proceeds were used to operate along-standing

  business. Like Probation, the government focuses on the small amount of loan proceeds repaid,

  in part because of the priority lien held by Chase Bank. Based on these facts, the government

  argues that Mr. Williams must have purposefully intended to cause a loss over $1,500,000.

         The cases cited by the government do not support the position that a defendant like

  Mr. Williams intended to cause a loss in the amount of all loan proceeds. On some facts, of

  course, a defendant might intend to abscond with all loan proceeds or otherwise harm the lender

  in the full amount of loan proceeds. But none ofthe cases relied on by the government concern

  the use of loan proceeds in along-standing family business, the use of the great bulk of loan

  proceeds to run that business and an actual loss caused by the failure ofthat business and the

  existence of a superior lien. Under these circumstances, it is not correct or fair to assume that

  Mr. Williams intended to cause a loss of all loan proceeds, particularly when even with this

  assumption the guideline loss is at the very low range of the next guideline loss category.

          Government's Sentencing Position. For the reasons stated in his Sentencing

  Memorandum, Mr. Williams seeks a sentence at or near the bottom of the applicable guideline




                                                                                                      225
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 5 of 8 pg 226 of
                                       271




 range or below. Although the government does not agree with this recommendation,

  Mr. Williams appreciates that the government seeks a sentence in the mid-guideline range rather

 than a maximum guideline sentence. The government's sentencing recommendation also fails to

  address Mr. Williams' age and unaddressed medical conditions that make a lengthy sentence

  particularly onerous and unfair.

                                  Additional Sentencing Information

            Sentencing was continued to permit Mr. Williams to obtain medical care and gather

  certain additional information relevant to sentencing. Mr. Williams reports here on these issues.

            Health Issues. Mr. Williams has a brace for his injured knee, and is using crutches

  pending further treatment. He has a hernia requiring surgery, but no surgery has yet occurred.

  Currently, he wears a hernia brace.

            Mr. Williams has advised Bureau of Prisons(BOP)personnel on numerous occasions of

  the need to address his serious medical conditions promptly and before sentencing. This has not

  occurred. Most seriously, his abdominal hernia remains unaddressed over a year after that

  condition was diagnosed, Available medical records show that this hernia needs a surgical

  repair.

            Counsel made several telephone calls to the BOP counselor concerning the failure to

  address Mr. Williams' medical conditions prior to sentencing. Despite numerous voice mails

  requesting a return call, no response was received. Attached as Exhibit B is correspondence sent

  to Mr. Williams' BOP counselor emphasizing the need to address his medical conditions prior to

  sentencing. No response was received.




                                                                                                      226
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 6 of 8 pg 227 of
                                       271




         Because no response was received from Mr. Williams' BOP counselor, counsel called

 and left messages for BOP medical and medical record personnel asking for information about

  when Mr. Williams' medical conditions would be addressed. At that time, counsel was referred

 to an attorney at BOP. This attorney has assisted counsel to obtain available records. Counsel

  will continue this discussion with BOP and report at sentencing on whether BOP will commit to

  provide the necessary medical care promptly.2

          At the sentencing hearing, Mr. Williams will request that the court take Mr. Williams'

  unaddressed medical conditions into account when selecting a sentence, as his unaddressed

  medical conditions make incarceration substantially more difficult and punitive. If BOP does not

  commit to address these issues promptly, Mr. Williams will ask for an order directing BOP to

  promptly address these medical conditions and report to the court. See United States v. Ramirez-

  Robles, No. 06-cr-00485-MSK, 2007 WL 2021852(D. Colo. July 11, 2007); United States v.

  Bencomo-Chacon, No. 07-cr-00095-MSK, 2007 WL 2021850,(D. Colo. July 11, 2007).

          Cognitive Behavior Modification Program. Mr. Williams successfully completed this

  program. In addition, he completed a "Good Intentions/Bad Choices" program with R. Boyle.

          Additional Bank Records Regarding Use of Proceeds. Pursuant to a subpoena,

  Wells Fargo produced very limited bank records regarding the activities of Williams Vending.

  These records have been shared with the government. Because of a record retention policy,



  Z Mr. William was seen by Dr. Arthur, an orthopedic surgeon, within the last six days. A medical release was
  provided but those records are not available as of the submission of this Supplement. Mr_ Williams understands that
  Dr. Tillerson may treat his hernia. A medical release was provided to Dr. Tillerson, but those records are not yet
  available.


                                                           ~i




                                                                                                                        227
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 7 of 8 pg 228 of
                                       271




  Wells Fargo could not produce checks showing the use offunds during the relevant period nearly

 ten years ago, which limits Mr. Williams' ability to confirm additional use of loan proceeds for

  legitimate business. Mr. Williams should not be prejudiced by the unavailability of these

  additional records.

         During the period of this continuance, counsel provided a power of attorney to Financial

  Pacific Leasing and requested written confirmation of the oral representation made to counsel

  that this creditor was paid in full by Mr. Williams. See Defendant's Sentencing Statement at pp.

  10-11. Despite numerous contacts, this written confirmation was not provided, as these

  communications were ignored. As noted, however, this fact is not challenged by the

  government.

         Wherefore, Mr. Williams recommends a sentence as described in his Sentencing

  Memorandum, and requests the court's assistance to assure that his outstanding medical

  conditions are addressed.


         Respectfully submitted this 8th day of November, 2017.


                                                   /s/Michael J. Gallaher
                                                  MICHAEL J. GALLAGHER
                                                  DAMS GRAHAM c4G STUBBS LLP
                                                  1550 Seventeenth Street, Suite 500
                                                  Denver, Colorado 80202
                                                  Telephone:(303)
                                                             -    892-9400
                                                  Mike.Gallagher@dgslaw.com

                                                  Attorneyfor Defendant Alan Alonzo Williams




                                                  7



                                                                                                     228
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 68
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/08/17   Colorado
                                                               Page 8 of 8 pg 229 of
                                       271




                                 CERTIFICATE OF SERVICE


         I certify that on November 8, 2017, I electronically filed the foregoing DEFENDANT'S

 SUPPLEMENTAL SENTENCING MEMORANDUM with the Clerk of the Court using the

  CM/ECF system which will send notification of such filing to all counsel of record.



                                                             s/Lvnell E. Buchele
                                                             Lynell E. Buchele




                                                                                                229
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-168-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         11/08/17  Colorado
                                                                  Page 1 of 10 pg 230 of
                                        271




                             EXHIBIT A




                                                                                       230
        Case No. Case
                 1:15-cr-00395-REB   Document
                      1:15-cr-00395-REB       173-168-1
                                         Document    filed Filed
                                                           09/10/19   USDC
                                                                 11/08/17  Colorado
                                                                          Page 2 of 10 pg 231 of
                                                271




                                                , _        _.   ` .....ws .-~sr~ -..    "mac ~..R~~.,x~,                 ..,smdiCEata!'    S~t-~~      'ti,3i~.~er...:-.~'~^~.~ i
                                  v,rd •... _
                           ...,.w,w,,           .


                       ~ Ti1htillUm~7 VEI,u~~y CiQ ~~~i                                                                                                         y+J V.7
-   -
                          OP~R Ar~r~a aCG~uNT                                                                                                           ~„ ~,
                            A2t~ CHAMBfRB AO S7E F
                                AURORA,CQ BU011-9209.

         '                                                                                                              Q~ :~ ~
        !~ PAY              ~~~                                /         (~                                ~7
         y ri TO THE                                     ,1„ nuF+~     ~c..X ,          g"'+        ~ ~~ .1,.
                                                                                                       "—`-_____                             i ~ E I '~~~o. ~.~P
                                                                                                    ~~
                                                G J d7dr ~~l          ,~ ,~~                        .........     ~ +~~"S                           ~tx~aAs ~ „:.'~ t
                                                 ~___.
            }                  W~~k~clr4NA

             r                                                                                                                            '~""_
        ~                     ~

                                                                                                                                                    :
                                                                                                                                                 '~'....-
                                                                                                                    ,...""'.."~r....__~~~..,~--~-        ~r"`.,~-
                 FOA:~-L..c„3C~'' .~Ad~ l~i.~~t~                 ~9 ~•~+t. C~~~                                 :a,m




                                                                              _.,,F._




            4 _ ~ ~..      _~~.=,ss~i`_.~.'~r:I:..~ ..,::.; u.2." .rte_ ._


                                                                                        ~,~~. ~'y




         WT Number                               Oi02Q0007                                                      Processing Date             200811 d4
         Sequence Number                         DOOQ08842241008                                                Amoun#                      04Qi 1?1686
            Aacaunt tdurnber                     321425819                                                      Serial ~iurnber             40~OOfl000Q~8639




        5/6/10                  6;21:8 PM                  Page 7t of 82                                                   BF?MN3~~72'7&;plane Adams - i26457~D-3274258



                                                                                                                                                                                        23100792
                                                                                                                                                                                    W F_000
    Case No. Case
             1:15-cr-00395-REB   Document
                  1:15-cr-00395-REB       173-168-1
                                     Document    filed Filed
                                                       09/10/19   USDC
                                                             11/08/17  Colorado
                                                                      Page 3 of 10 pg 232 of
                                            271




                         "~}                            ~


                    wii.unMsv~t~n~t~t3 ca iMc                                                                                                                     9625
                         (?AEFiAT►Nth AGCC3UNT
                                           F                                                     t
                                                                                                 i,~
                                                                                                                                                           SY~-~nm0 ~p2~1       ~,
                               22q! CHAMg~B f6U 6TE                                                                                                         ~      ~~           a
                               AUROflA.CC 80011-~2~                                                              ~

    p
                                                                                                 ~
                                                                                                                                       s                     _'



    _ ~ PAY
                                                                                                                 '~                                 $ ~'j1 ,~ao. Kr.~+
                                        i~ iS         ~fi r'4~'~
        ,`-~ d~RDER OF


                                                                                            -                                                                                   it
                              Nlr1lepoh'1114~
                                                                                                                                                                                >
-   }                         ~rMNAaKw                                                                                                                                          Y
                   ~i~N                                                                                                                                                         3




                   C~~             ~6                         ',...~.,_.___..~.___.~.~                                T                                                     M    E
           FC~R                     ~'"
                                                                                                                                                                                v
                          ~'~QOOQD'R 5 ~ 5u' ~~ i~12QOQq 76~. 3 2 i4 ~ 58 ~09~`                                                                 ~
                                                                                   1:..i~:r. .x z-^^'.-,,rae-~   ~sn~~c.:         ... ~ -           ~:•r~.~;
               ar•"'C:r,~.::x.~z!,~x••,.-:-.,y,;.....,..~.r--.:.. ;~:• ...r-,•:tie




                                                                                                                              _                                    "w
               ~    ,c
                                                                                                                                            `                      v
                     '                                                                                                                                             d
                         ..

                                                                                                          '                                                       fl
                                                                                                  .'                                                              ~

                                                                                                . ..                                                              ~
                                                                                                                                                                  `~3




    RIT Numfaer                                    0]D200p07                                                          Processing Date           20080521
    Sequence Nuinb~r                               OpQ00703Q371724                                                    Amount                    OOOb954D00
    AccouFrt Number                                s~14258109                                                         Serial Number             OOOOQOQ~l0003525




    5/610                      6:21:58 PM                        Pags 58 of 82                                                     BRPAN327i2?B:DianaArfams • 92645,50-32f4258



                                                                                                                                                                                     WF 000007
                                                                                                                                                                                         232   79
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-168-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         11/08/17  Colorado
                                                                  Page 4 of 10 pg 233 of
                                        271




             iNIL11AMS VENtliNt3 ~t31NC                                                                                                            9553
               t~PERATtIV(31Arit;QtlNT                                                                                                        s~.~n~+ao~
                                                                                                                                              a~tnseta
                     ~AURg   Ctl~D~tp-32~~
                                                                                                    a sr               ~.....__..
~ PAY             /~


                                                ~~f"d~i,1F~rT~~~                   ~~Lr~'4~rr'          ~1+a                                       ~ s~
                                       --                                     +T                                                       — 3
                                                                                                                                ... t7(}l,LAR      ' ~"

                    ubw.




                  a~~4pgOCl 9553'                ~:~n~aaoa7~~: ~~~~~~a~n~~~~        ~.w,x:,...y~y,..._:•..-.,,~as.~+•.,,-M4wz-.=u ^'mi~,'~'               xn..~Sr~s
                                                                                                                                                         ."~
                           :~p.~pr.~T~7s~x:~z     tv:..~..,c..~u,   -
i   ,pe~s~.cneASi~.:~w:e~xi,




                                                                        ~,
                                                                                                                                                                      ~
                                                                        ~.w




                                   Q10200007                                         Processing pate.                         20080513
    R/'i' Number                                                                                                              OOQOA64$Q5
                                   000006677875775                                   Amount
    Sequence Number                                                                                                           p04000000t~09553
                                   32i425610~                                        Serial Number
    ACeount Number




5/s/10                 6:2~:4a PM               Page 43 of 82                                           6RMN327127~Ufana Adams - 12645750.32i42S8


                                                                                                                                                                               233 0763
                                                                                                                                                                          VVF 0000
 Case No. Case
          1:15-cr-00395-REB   Document
               1:15-cr-00395-REB       173-168-1
                                  Document    filed Filed
                                                    09/10/19   USDC
                                                          11/08/17  Colorado
                                                                   Page 5 of 10 pg 234 of
                                         271




       __~~..._.,.,.W..._.._.,_ __.. .._ _.....    ._. _._..__._ ., ~ ....__ ,. -    _--._—
             WILLIAMSVENpING CO iNC                                                                                           9558
              4PEI~ATlNta ACrCi~l,1Nr                                                                                    :~.momios~
  :
  .                 220q GHAARB~Fi$ F~ 8TE F                                                                              32t1Y56107
                     AUR~fiA,CO 8Q011.32DD


    PaY                        ~` ~~Q ("~ [~ (~
  ..OR4EROf:!:~L'-a!s--~.~°"'~1.4''~?_c~--~
                                            W`'~''C.~                                                      __—._,-~~ ~t`,~U~.C~
                                                                                            ~__
                                            ~{~~  i,, ~a                             C~+"
         ~. ~ia~f~t'                                    ~::~~~*'~' ""~"             ~t                              fYOLIARS     [t~ 1^   y

  '~                w.Mr.,~eu~.ww                                                                                                         "~ r




                 u'QOD~C1C1~558u~ i,~O~~CIflD?6i. 321~,2S81~09~~'




                                                                                                                          ~m
                                                                                                                          a~
                         ~~~~411fl~3ll USEi~~2U~rlrt                 >1!1{~t11~~2<                                        °:'.
                                                                                                                          t R ~S
                                                                                                                          d m N
                                                                                                                            ~ ~.
                                                                                                                               ~ t~
                                                                                                                         ~ v~

                                                                                                                        ~ y,t3
                                                                                                                        + y.
                                                                                                                        .
                                                                                                                             v
                                                                                                                        ~~ ~
                                                                                                                        U tu~




 RIT Number                         010200007                                            Pracassing Gate         20 80530
 8aquence Number                    000008864372281                                      Amount                  900017onOq
 Account Number                     3214258109                                           Serfaf Numbsr           QOOrJ000A€?U~95S8




5,6/i0              621:56 PM                  Pale 77 at 82                                       BRNlN32712~8.~L1r'ar~a Adams - 12645750.3214258



                                                                                                                                                 WF 00000798
                                                                                                                                                     234
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-168-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         11/08/17  Colorado
                                                                  Page 6 of 10 pg 235 of
                                        271




~                                                                                  ~                                                                                                ~                ~,
                                                      ,...        .a:~,•.    ,.,. •.~,r1,!.~:w",Crbd.~..v':fts~tII'.'4k.aSf~,,•xVi.~l:its+.u~~.v+.Mkr.GW:~,~iG"NwiI:W.~rkXt..bay9w•.            ..
        yYiwrJy{Yww.W /. ,:.~~i~ K.A r    ~


                   Wtl»l.IAN1S 1~ENaIN~a Cp ItdC                     ~%~~                                                                                                              95~a~
                     G1P~RATINGACCO      tJNT                                                                                                                                 Ya•!!t6'!0 t621
'                                      $TE F
                             2200 Cl4AM8EHS Rq                                                                                                         /                          ePt~2bYa09
e                             AUR4fl7l CO 800f 1~f21i4
                                             ~         ~ ,:,,
C .i
4, yN                           a
                                                                                                                                  ~        G. `ij
                                                                                                                                               .r.,
                                                                                                                                                  ~yp~
                                                                                                                                                    ll             _              _"




        pRQER OF                                          ~ -r -
                                                      .,~.;                 w__~~. _ _ __

{M          '                                 ~ "_~              '~"'~                                                                                                 DOLLARS           ~r,
                            iNMI kpeWd~NA                    -

j                           .~Wutiu,c.~                                                                                                                                                              -i
i
i




                        ~ao~n~o9s~g~~~ t: ~Q zaoaa ~6+: 3 ~ ~~,~ ia~~~~


    ,- m
    z

                                                                                                                        for R~tum Items
                                                                                                                       ~ 2718*7t~'14»i'~                                            "
                                                                                                                                                                                    "~
                                                                                                                       FdS~C ~IBCI~ 11SA
                                                                                                                      '1~1 E,Tower'#td„                                       '~
                                                                                                                        ~haumbu ,~.
                                                                                                                        ►~ri~-~oo'~t ~t


                                                                                                 <                                                           ;P.           . '~




    R/T Numb+ar                                 010200007                                                      Processing {~pte                               20080609
    Sequence Number                             OOQ00~865317768                                                Amaur~t                                        QOQ~08000Q
    Account Number                              32142581 d9                                                    Serial iVumber                                 04400004Q049559




518/1~                       6:21:56 PM                      Peggy '78 pf 82                                                       BR11fi1~13271278:Diana Ad~mS - 126457x0-3214258




                                                                                                                                                                                                          WF 00000800
                                                                                                                                                                                                              235
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-168-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         11/08/17  Colorado
                                                                  Page 7 of 10 pg 236 of
                                        271




  '~            WIlLIAMSV~NpINCC01NC                                                                                                                                        8562 ~j
  ~~              OP~t~ATINfa Ati~,I~UNT                                                                                                                              a~.rnosoiort
                                                                                                                                                                       a2tenato9             ~
                           A~UfiOIiA~C4BBbO~ifi9Ea9

5~                                                                                                                          R9~i / ~`~                    _.
,$ PAY                                                                                                                                                                                       ;~




   ~                     'MOPNge4MYA~
                         [aOMAg1i
                         ..Ar4'tais'n
!
~ ki
i




   iFO~~C
   A
           ~~

  .~r.v.nm~r.~~ •r-., _..
                              .
                              ~ FI_l9~~~
                                              1' ~~~ti~~a~
                      n~oaanoa95s2 .io~aooca7s.              '
                                                         IN '" 1
                          ~r.........- , :i..~...•. ,:~_sxr...: .~~:.~. t~r .. .. ,..:~es._..-.. _.,:i, s ~ .
                                                                                                                                                              .... ._____ ...           AF
                                                                                                                                                                                             r
                                                                                                                r _.:_:s-.ssa._..~.:_. ~-n>,<<~::Kk.:....-~_t.+,:...-ir;N.'..:v~„. . .:::us-,:




 R/T Number                                   01 g2000fl7                                                       Processing Date                         2n08g80~
 Segwence Number                              0(100t188A2492735                                                 Amount                                  f?0001 51512
 Account Number                               32142581 Q9                                                       SeriaM Number                           OQa0A044t3009562




51611 D                    8:2~T t58 PM                     Page 72 at 82                                                        BRMIV327t2T8:t7iana Adams - 1,~6Q5750-3214258



                                                                                                                                                                                                  W F_00000
                                                                                                                                                                                                      236
                                                                                                                                                                                                            793
    Case No. Case
             1:15-cr-00395-REB   Document
                  1:15-cr-00395-REB       173-168-1
                                     Document    filed Filed
                                                       09/10/19   USDC
                                                             11/08/17  Colorado
                                                                      Page 8 of 10 pg 237 of
                                            271




             •303nD~QyA~
              D6/30/80n8
              4i~30~L4S14             ~
                                      iv
        7h J• 7 a a ~LCdAL COPY a t'   `~                        ~,.~ ~~.~_..~r..,_~~.,.                                                               '-~^~
        ynul chic      You can uaa t t r`
         t h s ~ amv way you wa u i    ~     ~            ~r~~y,~g ygtyplHG CO Itd~                                 ~~                                     X578           ~
        u3.tl the 91 {91naI ahOC~.    ~~~                    ~        ~C~~                    ~~~~~~
                                                                           _p                                                       ~                  ~n~i
                                      CI ~~                                Rmr~S                                                                                          ~
                                                                                                                                                                          ~.
                                      ~ ~~~ ~w

                                                                                                                                              ~ ~ '1 l~
                                      ri .~Q           ~EIiCf.~L '41+K


                                                                .r..w•wM
                                                                                                                                                                     ~
                                      C7
                                                          ~=~=- '
                                                                                       ~~                                                                            T
                                                              ~G~04009596r i.3Q20~Dd76~; ~Ei42~i81D9+"                                                 _
                               ~                  ...~...,w-:~:,wa., e....k+...-_... r~ _ _,.,. ....~,--    - - -    -   - -' ~j.:..:.s:-mot.►:-              •...a:
-



                           ~~'9S76~G•                  4~;iD2Dg01]?6~:                            3~~4~'S8ip9~'                         ~'C1QOI~L~,~~i~5a'




                                                                                                                                                                    r,,
                                                 ~                                                                                                                  ~
                                               p                                                                                                                    N
                                                 w                                                                                                                  ,~




                                            Iy Y'                                       4'1 ~F :l ~                                                            to


                                                                                                                                                                    a
                        B igAi9?al4 Oq4 @5-2~•a8 p9 ~?8~9o2ea6~ L~ntfEP,CF~E~AK •,~~.
                                                 r~u                                       t'! ~L ~ •                                                            p

                                                 a                                          `'~    ~\''~                                           -             e,r
                                                                                                                                                                 p
                                                 p                                                 r.
                                                                                                   ~ :, ~', i            ~~0 ~IDt N14~01'~ W MAC (~Gw ~RfM.~




     R(f Number                    0102p000T                                                      Processing Date                     X0080830
     Sequence Number               0000004T71245A9                                                Amount                              Qt}00144215
     Accounf fVurilber             32142581Q9                                                     Serial Number                       OOOOO~OQ~008576




    5/6110            6:21:a8 PM               Papa 5 of 82                                                         BRMIV327i2T8:Dlane Adams - 9264~'750.32~~258




                                                                                                                                                                               WF 0000072
                                                                                                                                                                                   237    5
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-168-1
                                 Document    filed Filed
                                                   09/10/19   USDC
                                                         11/08/17  Colorado
                                                                  Page 9 of 10 pg 238 of
                                        271




                                                                                                                                                                                         rvL~lio..~SM l~. -i`=i~}~lre~rk   ~~,•~«'if.:
  '~         ti+6C::..{['t....+.a.'t:..t_..c~.;a.rY_,v~. ,...:.dX-+c.Ma~~~:~~v.Cdri ~:.::s.~~:6,i'w.rr:'ru_~rL'...::~F:wp+k7c..,.:uM.....:a.A6a.:.xni~.!iNci~$lieu.LlJ..l,..~,ar!llhaxv;~f                                          k

             WII.LiAMS VENDING CQ INC                                                                                                                                                                    9x26
              4aP~Fi~ATING ACCOt,lNT                                                                                                                                                                saanoeo;~,
                         2200 C►NMBERB ND STEF                                                                                                                                                        ss~+38eao~
                          AURQRA,CQ 80011.5209
                                                                                                                                                              ~~~~G~                                                                y
       OriQEROF                                                                                                                         _ ...W..       __,__._ _~~f W ~G~aC~.a~



                        ,~.~


                                              --- -
  1
                   ,~~oaQaoa~ ~ 2~~~ x. is ~aQaa ~~~: ~ ~ 14 ~ ~a gNr




 A/T Num6er                                     t~10260007                                                                     Processing Date                                      20p80701
 SequencetVumber                                pa000883230A840                                                                Amount                                               0000160000
 Accourrt Number                                3214288109                                                                     Seriaf Number                                        OOQQOQ0~0409526




516/10                    6:21.58 PM                            Page 88 of 82                                                                         BRMN32712?E:t7iana Ada~n~ - 12645750-S2t4.258



                                                                                                                                                                                                                                         WF_0000078
                                                                                                                                                                                                                                             238   9
Case No.Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-168-1
                                 Document    filedFiled
                                                   09/10/19   USDC
                                                        11/08/17   Colorado
                                                                 Page 10 of 10pg 239 of
                                        271




         ~xo~ooaa~ar               °0
         ~4lt9pC2D66
         63168b38btl               ~
                                   a
                                   to
                                   ~                       _.                            "'
                          of
  Fh i s i a a LEppL COPY ufe
  your oheck. You can         Ft   ~`                                                                                                         ~S~G
   t Me same wa. You would         ~ ~,              W/~~~8YE
                                                       ~p     JIAINGGOINC
  uss the of i~lhat phlCk.         ~~~
                                                                                                                                         ~7n~ru

                                                                                                              OEiE-~~~'~
                                   ~''f p~ PW
                                   f



                                   c~
                                   `
                                   ~
                                        1
                                        }
                                        {           ~           w.w
                                                                                                     -

                                   d    j

                                             {~~                                                                               `.
                                                       r         OQO95d4r ~.1fl t400D76~i ~ t i4              4~ ~"                      -_

                                                  4~.1~0 ~DCICID761:              3 ~ ~~, Z 58 ~D9ii~                    ~'pQCip ~~s.785~~'
                      i~~g58~,u'




                                                                                                                                                     N
                                            v                                                                                                        n
                                            ►'                                                                                                       N
                                            Q                                                                                                        O
                                                                                                                                                     ~        ~..~~
                                            ~''        ..                                            --..
                                                                                                                                                      A
                                            Q                                                                                                     yr. n
                                         n                                                                                          ,.
                                                                                                                   ~~,                            ~~
                    7 ~~                ~~                                                                                                        aw
                    ~                                                                -          ~    ~
                    ~~41                ~~                                                                                                        N

                     f?s^2              per. .                                                rt,
                                                                                                e    ~                                            ~a

                                                                                                                                                      O
                                        Nt                                                                                                        o
                                        s                                                                                                            '
                    aiaa~o~~so n~i ve-av-ae
                                      \     eg ~ioiessois~ c~unn¢aet enx~~                          ~,
                                                                                                         p                                           ~
                                            M                                                            p                                           p
                                            O                                                                                                        O
                                            0
                                            a
                                                                                                             lD~a Hatt rudar~Mr ar rMh brlovr 8aM 14w.1




                                                                                    Processing Date                       20080808
 RlT Number                   0102~L~07
                                                                                    Amount                                OQ00134785
 Sequence Number              (}Q0000574~98499
                              32142581fl9                                           Serial Nurser                         A~1Q04400.00~584
 Account Number




                                            Page 1i of 82                                            BR1~111132PT~78~L7iana Adems - i2645~50-X274258
&l611D            8:21:48 PM



                                                                                                                                                                 0000731
                                                                                                                                                          V1lF_0239
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 68-2
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/08/17 Colorado
                                                                     1 of 2 pg 240 of
                                       271




                            EXHIBIT B




                                                                                    240
       Case No. 1:15-cr-00395-REB  Document
                Case 1:15-cr-00395-REB      173-1 68-2
                                       Document    filed 09/10/19  USDCPage
                                                         Filed 11/08/17 Colorado
                                                                            2 of 2 pg 241 of
                                              271
                                                                                                                          Michael J. Gallagher
 DAvls                                                                                                                          303 892 7355
                                                                                                                   mike.gallagher@dgslaw.com
 GRAHAM ~
 sTUBBs
     October 23, 2017


     Via United States Mail

       Counselor Waird
       Federal Detention Center
       9595 W. Quincy Avenue
       Littleton, CO 80123

      Re:       Alan Alonzo Williams

      Dear Counselor Waird:
                                                                              s, who I understand is your client at the
       am writing about some health issues with my client Alan Alonzo William
                                                                                but I always missed you and my
      Englewood Detention Center. I have left you voice mails about this issue,
      messages have not been returned.
                                                                                    y injured knee and (ii) a hernia in need
      Mr. Williams has some significant medical issues concerning (i) a seriousl
                                                                                problems, we have asked the court to delay
      of surgical repair. In part to facilitate prompt local treatment of these
                                                                                      er 15, 2017, and the court will not
      his sentencing. Mr. Williams is now scheduled to be sentenced on Novemb
      entertain an extension of that date.
                                                                              that time. if this does not occur, it would be
      It would be best if Mr. Williams' medical issues are addressed before
      helpful for Mr. Williams and me to know when these medical issues     will be addressed so that we can advise the
                                                                available for  treatme nt locally.
      court and take steps to assure that Mr. Williams remains
                                                                               in part, by a "Dr. Dryer" who works at the
      Mr. Williams advised me th at his health condition is being addressed,
                                                                               an. Please provide this information to her.
      detention center. I could not locate contact information for this physici
                                                                                      these medical issues soon. In any
      Thanks for your attention to this important matter. It would be best to address
                                                                              whatever information you can.
      event, I would appreciate a telephone call or e-mail providing me with

      SincereJ               ~


              {
     -'.`Mi   ael J. Gal
~"
      Attorneyfc~`         n A. Williams




                                                                    ~   Denver, CO 80202   ~   303.892.9400   ~~    fax 303.893.1379   >>   dgslaw.com
     Davis Graham 6 Stubbs LLP   -~   1550 17th Street, Suite 500
                                                                                                                                                   241
                                                                                                                                              4401670.1
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 69
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/13/17   Colorado
                                                               Page 1 of 3 pg 242 of
                                       271




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:15-cr-00395-REB


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

         Defendant.



              DEFENDANT’S SUPPLEMENTAL SENTENCING INFORMATION

                                REGARDING HEALTH ISSUES



         Defendant Williams submits the following supplemental sentencing information

  regarding health issues referenced at page 6 of his Supplemental Sentencing Memorandum.

         1.      Exhibit A shows that Mr. Williams requested treatment for a “swollen hernia” in

  September of 2016.

         2.      The documents collected at Exhibit B show that Dr. Tillerson recommended a

  surgical repair of that hernia in April of 2017, and that recommendation was provided to Bureau

  of Prisons (“BOP”) medical personnel.

         3.      The documents gathered at Exhibit C show that although local BOP personnel

  were aware of Dr. Tillerson’s recommendation of a surgical repair, BOP did not authorize repair

  of Mr. Williams’ hernia. According to these records, and despite Mr. Williams request that this



                                                                                                       242
                                                                                           4409006.1
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 69
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/13/17   Colorado
                                                               Page 2 of 3 pg 243 of
                                       271




  issue be addressed while he was awaiting sentencing, repair of this hernia was “deferred’ by

  BOP indefinitely.

         4.      Exhibit D shows Mr. Williams’ request, through counsel, that BOP commit to

  surgical repair of Mr. Williams hernia prior to sentencing so that the court could be advised.

  BOP has determined that repairing Mr. Williams’ hernia has not risen to the level of “medical

  necessity” and will not commit to arrange this surgery.


         Respectfully submitted this 13th day of November, 2017.



                                                     /s/ Michael J. Gallagher
                                                   MICHAEL J. GALLAGHER
                                                   DAVIS GRAHAM & STUBBS LLP
                                                   1550 Seventeenth Street, Suite 500
                                                   Denver, Colorado 80202
                                                   Telephone: (303) 892-9400
                                                   Mike.Gallagher@dgslaw.com

                                                   Attorney for Defendant Alan Alonzo Williams




                                                   2                                               243
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 69
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/13/17   Colorado
                                                               Page 3 of 3 pg 244 of
                                       271




                                 CERTIFICATE OF SERVICE


         I certify that on November 13, 2017, I electronically filed the foregoing DEFENDANT’S

  SUPPLEMENTAL SENTENCING MEMORANDUM with the Clerk of the Court using the

  CM/ECF system which will send notification of such filing to all counsel of record.




                                                   /s/ Patricia Henson
                                                  Patricia Henson




                                                                                                 244
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 69-1
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/13/17 Colorado
                                                                     1 of 2 pg 245 of
                                       271




                                                                                    245
  Case No. 1:15-cr-00395-REB  Document
           Case 1:15-cr-00395-REB      173-1 69-1
                                  Document    filed 09/10/19  USDCPage
                                                    Filed 11/13/17 Colorado
                                                                       2 of 2 pg 246 of
                                         271



BP-A0198                            INMA`SE   REQUEST TO STAFF cn~~
Ji7NE 10
U.S. DEPARTMENT OF JUSTICE                                            FEDERAL BUREAU OE' PRISONS


           e, _and ,T,itle of Sta f Member           DATE: ~ ,~~ /~ ~~'f•
 T0:~~     dli ~                 h^`+   -
                                                             .d1prD ~  ~ ~                 '~

 FROM:                                              REGISTER NO.:                        7


 WORK ASSIGNMENT: ~~                                UNIT: ~ w        ~~~



SUBJECT: (Briefly state your question or concern and the solution you axe requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being
taken. Tf necessary, you will be interviewed in order to successfully respond to your
request.                                        n   (~                   i ~_ ~ `~



      '
~ o F,C~c.rr~ i        ►-*~    ,$(~~(/~~`' ~n2.1"on ~'~ ~~                ,S~f~2. di~,•-r,o~QC~
               ~
               ~         ~                                       •~              ~


                                                           • ~              ~        Y             .



S~~ ! ~ c~a:            -~Z susrc~~S ~                      ~ •7~.     ~s~ c ~~ s~=~


                        ~..1             i
                                        tr



                                    i.Do not write below this line)


 DISPOSITION:




             Signature Staff Member                 Date

                                                                 ~/2~'~ ~,
Record Copy - File; Copy - Inmate

PDF                                 Prescribed by P5511


                                                     This form replaces BP-246.070 dated Oct 86
                                                     and BP -S148.070 APR 99



F~rI.E IN SECTION 6 UNLESS APPROPRIATE E'OR ~4~1Y~~3Y FOLDER                 SECT ION 6
                                                                                                  246
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 69-2
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/13/17 Colorado
                                                                     1 of 5 pg 247 of
                                       271




                                            ~           ~
                                            ~           ~




                                                                                    247
      Case No. 1:15-cr-00395-REB  Document
               Case 1:15-cr-00395-REB      173-1 69-2
                                      Document    filed 09/10/19  USDCPage
                                                        Filed 11/13/17 Colorado
                                                                           2 of 5 pg 248 of
                                             271

                                                Bureau of Prisons
                                                 Health Services
                                    Clinical Encounter -Administrative Note
Inmate Name:        WILLIAMS, ALAN ALONZO                                             Reg #:         43473-013
Date of Birth:      10/05/1962                          Sex:      M     Race:BLACK    Facility:      ENG
Note Date:          04/20/2017 11:41                    Provider: Santini, G. MD/CD   Unit:          J06

Review Note -Chart Review encounter perFormed at Health Services.
Administrative Notes:
     ADMINISTRATIVE NOTE 1               Provider: Santini, G. MD/CD
           RIH, seen on 4118/17 and recommends repair by General Surgeon.

New Consultation Requests:
  Consultation/Procedure              7araet Date Scheduled 'target Date 'o 't                    1'ranslatar     a    u
  General Surgery                     08/25/2017 08/25/2017             Routine                   No
        Subtype:
            Dr. Tillquest
        Reason for Request:
            Surgery-54 y/o male seen on 4/18117 and recommends repair.
        Provisional Diagnosis:
            RIH

Copay Required:No                             Cosign Required: No
TelephoneNerbalOrder: No


Completed by Santini, G. MD/CD on 04/20/2017 17:46




Generated 04/20/2017 11:46 by Santini, G. MD/CD        Bureau of Prisons - ENG                           Page 1 of 1

                                                                                                                       248
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 69-2
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/13/17 a Colorado
                                                                       3 of 5 pg 249 of
                                       271
                                                                                                      ~/
    Patient:        239267 - Alau WitSiAms
    DOB:            lO/flS/1962

    Date:          04/28/201? 13:00
    Provider:      Tillquist,Richard L. MD
    Encounter:     New Patient 30                                                               'a
                                                                                          ~~9le~°°




    HYSTORY OF PRESENT ILLNESS
    Mr. Williams is s SQ-year-old gentleman Naha is an inmate. He has progressive enlargement ofa
    right inguinal hernia. It is getting more uncomfortable. He wears a hemis belt all the time. It
    usually goes back in at night but is getting harder and harder to reduce. It is causing him
    discomfort. He has no history ofincarceration or bowel obstruotion.




                                                                                                      249
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 69-2
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/13/17 Colorado
                                                                     4 of 5 pg 250 of
                                       271

   Patients         239267 - t~.la~ t't'iiliams
   DOI~:            la/OS/1962

   Date:           Q4/18/2017'13:00
   1Providet-:     'Tiliquis~, Richard I.. li~I)
   Encounter:      ~1e4v Pataent 30

                                                                                                    ~ ~~6^ ~~~
                                                                                                            /




   /lbdomen: Soft, nont~nder. ~owe4 sounds are present. No umbilical hernia. Left inguinal
   hernia is not appreciated. The patient had a !eft inguinal hernia repaired as an infant. Large
   partially reducible right inguinat hernia. It is uncomfortable with reduction.




   A~SESSIYIEN~'
   Large right inguinal hernia.


   PLAN
   We wi11 plan far Iaparoscopic repAir when arrangements made.


   REASON FOR VISIT
     Referred by G.Thomas Kraus, MD.


   C~t1NSELfNG/~IDUCATION
     • Education and instructions


   CARE TEAM
   G Thomas Kraus, M.I3.




                                                                                                          250
    Case No. 1:15-cr-00395-REB  Document
             Case 1:15-cr-00395-REB      173-1 69-2
                                    Document    filed 09/10/19  USDCPage
                                                      Filed 11/13/17 Colorado
                                                                         5 of 5 pg 251 of
                                           271

                                         Bureau of Prisons
                                          Health Services
                                          Coign/Revoew
Inmate Name:     WILLIAMS, ALAN ALONZO                                       Reg #:      43473-013
Date of Birth:   10/05/1962                  Sex:          M                 Race:       BLACK
Scanned Date:    04/20/2017 08:28 EST                                        Facility:   ENG

Reviewed with New Encounter Note by Santini, G. MD/CD on 04/20/2017 11:41.




                                            Bureau of Prisons - ENG                                  251
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 69-3
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/13/17 Colorado
                                                                     1 of 4 pg 252 of
                                       271




                          EXHIBIT C




                                                                                    252
          Case No. 1:15-cr-00395-REB  Document
                   Case 1:15-cr-00395-REB      173-1 69-3
                                          Document    filed 09/10/19  USDCPage
                                                            Filed 11/13/17 Colorado
                                                                               2 of 4 pg 253 of
                                                 271
                                                         Bureau of Prisons
                                                          Health Serdices
                                                         Clinical Encounter
Inmate Name: WILLIAMS, ALAN ALONZO                                                           Reg #: 43473-013
Date of Birth: 10/05/1962                                  Sex:      M    Race: BLACK        Facility: ENG
Encounter Date: 10/24/2017 15:44                           Provider: Dyer, Birgit FNP        Unit:     J06

Mid Level Provider -Sick Caii Note encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                  Provider: Dyer, Birgit FNP
       Chief Complaint: Abdominal Pain
       Subjective: 48 y/o male was seen in response to his sick.cail request to be seen for c/o stomach pains
                     that he thinks might be related to his hernia
       Pain:         Yes
       Pain Assessment
         Date:                    10/24/2017 15:44
         Location:                Abdomen - Suprapubic
         Quality of Pain:         Aching
         Pain Scale:              g
         Intervention:            surgical consult, hernia belt, activity restrictions.
         Trauma Date/Year:
          Injury:
          Mechanism:
           Onset: ~                     1-5 Years
           Duration:                    1-5 Hours
          .Exacerbating Factors:        any activity
           Relieving Factors:           laying down
           Comments:                    rig~it inguinal hernia

OBJECTIVE:

 ROS Comments
   Patient denies problems or changes with bowel movements or voiding.
   Patient requests new hernia belt size XL stating that the Velcro strip is worn out
 Exam Comments
   Deferred -patient was seen by surgeon in April and hernia repair was recommended. Two previous consultations
   requests were denied at the local level. WII resubmit again to be sent for Regional UR.
   Hernia belt in size XL are currently not in stock. Wll request to be ordered and provide to patient once it has been
   received
ASSESSMENT:

  Inguinal hernia, K4090 -Current

PLAN

New Consultation Requests:
  Consultation/Procedure                         Target Date Scheduled Target Date Pri rit          Translator     Language




Generated 10/24/2017 20:12 by Dyer, Birgit FNP               Bureau of Prisons - ENG                             Page 1 of 2
                                                                                                                               253
         Case No. 1:15-cr-00395-REB  Document
                  Case 1:15-cr-00395-REB      173-1 69-3
                                         Document    filed 09/10/19  USDCPage
                                                           Filed 11/13/17 Colorado
                                                                              3 of 4 pg 254 of
                                                271

Inmate Name: WILLIAMS, ALAN ALONZO                                                              Reg #: 43473-013
Date of Birth: .10/05/1962                                 Sex:      M    Race: BLACK           Facility: ENG
Encounter Date: 10/24/2017 15:44                           Provider: Dyer, Birgit FNP           Unit:     J06

   General Surgery                        11/28/2017 11/28/2017                       Routine          No
         Subtype:
             Dr. Tiliquest
         Reason for Request:
             55 y/o male was evaluated for right inguinal hernia on 04/18/2017 by Dr. Tiliquist, who recommended
             surgical repair. Patient wears hernia belt all the time, but pain gets progressively worse.

              InterQual:
              200 It is diagnosed by physical exam.
              201 His pain is 6-8/10
              222 It interferes with ADLs, exercise and lifting objects. During both activities it herniates and causes pain.
              223 It has been monitored
          Provisional Diagnosis:
              Original consultation was approved through regional review.

                **Do not deny during local UR and submit request for surgery approval for regional review again**
Disposition:
     Return Immediately if Condition Worsens
     Follow-up at Sick Call as Needed
     Follow-up at Chronic Care Clinic as Needed

Other:
     1. Resubmit consult for hernia repair
     2. Continue with activities in accordance with pain level
     3. RTC prn

Patient Education Topics:
     Date~nitiated Format                              Handout/Topic                          .~' ovider              Outcome
     10/24/2017    Counseling                          Plan of Care                            Dyer, Birgit           Verbalizes
                                                                                                                      Understanding

Copay Required:No                                Cosign Required: Yes
TelephoneNerbalOrder: No


Completed by Dyer, Birgit FNP on 10/24/2017 20:12
Requested to be cosigned by Santini, G. MD/CD.
Cosign documentation will be displayed on the following page.




Generated 10/24/2017 20:12 by Dyer, Birgit FNP              Bureau of Prisons - ENG                                Page 2 of 2
                                                                                                                                254
         Case No. 1:15-cr-00395-REB  Document
                  Case 1:15-cr-00395-REB      173-1 69-3
                                         Document    filed 09/10/19  USDCPage
                                                           Filed 11/13/17 Colorado
                                                                              4 of 4 pg 255 of
                                                271

                                                        bureau of Prisons
                                                         Health Services
                                                        Clinical Encounter
Inmate Name: WILLIAMS, ALAN ALONZO                                                            Reg #: 43473-013
Date of Birth: 10/05/1962                                 Sex:      M    Race: BLACK          Facility: ENG
Encounter Date: 09/18/2017 08:21                          Provider: Dyer, Birgit FNP          Unit:     J06

Mid Level Provider -Follow up Visit encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                   Provider: Dyer, Birgit FNP
        Chief Complaint: Pain
        Subjective: 54 y/o male was seen in response to his request to get another injection in his knee.
        Pain:         Yes
        Pain Assessment
          Date:                 09/18/2017 08:22
          Location:             Knee-Right
          Quality of Pain:      Sharp
          Pain Scale:           10
          intervention:         refer to ortfio
          Trauma Date/Year:
           Injury:
           Mechanism:
           Onset:                        1 Month
           Duration:                     4 Month
           exacerbating Faciors:         walking, moving        ,
           Relieving Factors:            knee injection, wearing brace
           Comments:

OBJECTIVE:

 ROS Comments
    Patient also inquired about another consultation request for hernia repair. Prior consults submitted in April and August of
    this year have been declined stating to defer final approval after patient is designated. Patient claims his next court date
    is not until November and requests another attempt to request the surgery. Patient was informed that his legal status
  :: has not changed and that another consultation request would be futile.
 Exam Comments
    Well nourished, well developed, pleasant, cooperative, alert and oriented male in NAD

   Musculoskeletal: Patient able to ambulate with crutches; right knee with moderate deformity, but without swelling or
   effusion at`this time; tender to palpation and with movement; decreased ROM due to pain; no crepitus or locking;
   neurovascular is intact
   Peripheral Vascular: Strong equal pulses bilateral; no pitting edema; no lesions, changes in skin color or texture to the
   lower extremities-
 Comments
   X-rays from 09/11/2017 show stable radiographic appearance of the right knee compared to prior.exam on 05/26/16.

    Report findings:
    no fracture or malalignment. No joint effusion or radiopaque bodies.
    Severe medical compartment joint space narrowing with mild subchondral sclerosis and moderate marginal osteophyte
    formation. Mild patellofemoral compartment joint space narrowing and moderate marginal osteophyte formation. Lateral
    compartment joint space is maintained; but there is moderate marginal osteophyte formation of the lateral compartment.

Generated 09/18/2017 09:38 by Dyer, Birgit FNP             Bureau of Prisons - ENG                                Page 1 of 2255
Case No. 1:15-cr-00395-REB  Document
         Case 1:15-cr-00395-REB      173-1 69-4
                                Document    filed 09/10/19  USDCPage
                                                  Filed 11/13/17 Colorado
                                                                     1 of 3 pg 256 of
                                       271




                                                                                    256
         Case No. 1:15-cr-00395-REB  Document
                  Case 1:15-cr-00395-REB      173-1 69-4
                                         Document    filed 09/10/19  USDCPage
                                                           Filed 11/13/17 Colorado
                                                                              2 of 3 pg 257 of
                                                271




From: Gallagher, Mike
Sent: Wednesday, November 08, 2017 9:12 AM
To:'Megan Marlow' <mmarlow@bop.gov>
Subject: RE: Alan Williams

Megan,

 left you a voice mail yesterday afternoon on this general subject. I'll take this opportunity to describe our concerns in more
detail for your consideration and, we hope, action. I appreciate your courtesy in getting information forme, and I trust we can
resolve this problem fairly..

 have reviewed the BOP medical records. They show that. Mr. Williams complained about a hernia a year ago,that a consulting
surgeon determined that a surgical repair was needed no later than.April of this year and that BOP has failed to approve that
surgery, apparently to wait until he is "designated," which I assume means sent to another facility. This delay in treating a
serious medical issue is not acceptable. This is particularly so because Mr. Williams has pending state court cases that will
keep him in local custody for some time, likely many months.

On his behalf, I request a firm commitment from BOP that he will be scheduled promptly(no more than weeks)for his hernia
surgery, and that his serious knee injury also be addressed while he is still at FDC. I would like to resolve this problem by
reporting BOP's commitment to the court at sentencing. If I cannot, I'll ask the court to review this history of delay and enter
appropriate orders.

 look forward to working with you to resolve these issues.

Regards. MJG

From: Gallagher, Mike
Sent: Tuesday, November 07, 2017 8:54 AM
To:'Megan Marlow' <mmarlow@bop.~ov>
Subject: RE: Alan Williams

Great. Thanks for your help. MJG

From: Megan Marlow [mailto:mmarlow@bop.~av]
Sent: Tuesday, November 07, 2017 8:47 AM
To: Gallagher, Mike <Mil<e.Gallagher dgslaw.com>
Subject: Re: Alan Williams

Mike:


                                                                 1




                                                                                                                       257
         Case No. 1:15-cr-00395-REB  Document
                  Case 1:15-cr-00395-REB      173-1 69-4
                                         Document    filed 09/10/19  USDCPage
                                                           Filed 11/13/17 Colorado
                                                                              3 of 3 pg 258 of
                                                271

It looks like i was able to get in touch with the right folks over there -you should be able to pick up the records when you are
there today.

Best,

Megan

 Megan G. Marlow, Senior Attorney
 Colorado Consolidated Legal Center
 United States Penitentiary, Administrative Maximum
 5880 Highway 67 South
 P.O. Box 8500
 Florence, CO 81226
(719)784-5215
(719) 784-5285 (fax)




» > "Gallagher, Mike" <Mike.Gallagher@dgslaw.com> 11/7/2017 8:28 AM »>
Megan,

Thanks for talking with me this morning. I look forward to receiving Mr. Williams records when that can be arranged. You can
reach me at this e-mail address.

Best. MJG

MICHAEL 1. GALLAGHER ~ Partner

P: 303.892.7355 ~ C:303.667.4928 ~ ward

(~avis Graham &Stubbs LLP
 1550 7.7th Street, Suite 500 ~ Denver, CO 80202

~ LexMundi I~~mb~r

This email message (including any attachments), delivered by Davis Graham &Stubbs LLP, is for the sole. use of the intended
recipients) and may contain confidential and privileged information. Any unauthorized review, use, disclosure, or distribution
is prohibited. Ifiyou are not the intended recipient, please contact the sender by reply email and destroy all-copies of the
original message.




                                                                 2
                                                                                                                         258
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 70
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/14/17   Colorado
                                                               Page 1 of 4 pg 259 of
                                       271




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Criminal Case No. 1:15-cr-00395-REB

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  1.     ALAN ALONZO WILLIAMS,

                Defendant.


                                 MOTION TO WITHDRAW



         Michael J. Gallagher, of the law firm of Davis Graham & Stubbs LLP, respectfully

  moves to withdraw as counsel for Defendant Alan Alonzo Williams.

         The undersigned called Rebecca Weber, the assigned AUSA, to inquire about

  the Government’s position on this motion. Ms. Weber stated that, based on the limited

  information available to her as of this time, the Government takes no position on this

  motion. This motion is submitted at the request of Mr. Williams.

                                  STANDARD OF REVIEW

         D.C.COLO.LAttyR 5(b) allows for withdrawal of counsel “on motion showing good

  cause.” “To warrant a substitution of counsel, the defendant must show good cause,

  such as a conflict of interest, a complete breakdown of communication or an

  irreconcilable conflict which leads to an apparently unjust verdict.” United States v.

  Padilla, 819 F.2d 952, 955 (10th Cir.1987) (internal quotation marks omitted). “Good

  cause for substitution of counsel consists of more than a mere strategic disagreement



                                                                                      4409660.1
                                                                                                  259
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 70
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/14/17   Colorado
                                                               Page 2 of 4 pg 260 of
                                       271




  between a defendant and his attorney, rather, there must be a total breakdown in

  communications.” United States v. Lott, 310 F.3d 1231, 1249 (10th Cir. 2002)

  (quotation omitted). In considering such a motion, courts look at “(i) whether the

  request was timely; (ii) whether the defendant-attorney conflict was so great that it led to

  a total lack of communication and prevented the preparation of an adequate defense;

  and (iii) whether the defendant was at fault for the conflict.” See Romero v. Furlong,

  215 F.3d 1107, 1113 (10th Cir. 2000).

                                         ARGUMENT

         Defense counsel seeks to withdraw as counsel for Mr. Williams due to the

  complete breakdown of communication between counsel and Mr. Williams. See

  United States v. Lott, 310 F.3d 1231, 1249 (10th Cir. 2002). This breakdown is due to

  more than mere strategic disagreements, but an irreconcilable conflict that has rendered

  meaningful communication with Mr. Williams impossible. Communications have been

  very strained between counsel and Mr. Williams for many months, and yesterday

  Mr. Williams (i) asked counsel to withdraw; (ii) ceased communications with counsel

  regarding sentencing; and (iii) stated a desire to withdraw his plea. This situation

  presents an irreconcilable conflict between counsel and Mr. Williams, and constitutes

  good cause for counsel to withdraw. See, e.g., United States v. Shelton, No. 14-10198-

  EFM, 2015 WL 7078931, at *2 (D. Kan. Nov. 13, 2015) (noting that previous counsel

  had been permitted to withdraw due to client’s expression of “dissatisfaction with

  [counsel’s] position on [defendant’s] desire to withdraw his guilty plea”).

         Due to this inability to communicate, counsel is unable to effectively represent

  Mr. Williams at sentencing. It has “become impossible for [counsel] to continue to

                                               2
                                                                                                 260
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 70
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/14/17   Colorado
                                                               Page 3 of 4 pg 261 of
                                       271




  provide [Mr. Williams] with effective assistance of counsel in this case.” See

  United States v. Ali, 375 F. Supp. 2d 1289, 1290 (D.N.M. 2005) (granting motion to

  withdraw).

        Defense counsel recognizes that this request to withdraw comes one day before

  Mr. Williams’ sentencing hearing. However, this total breakdown in communications

  between defense counsel and Mr. Williams nonetheless merits counsel’s withdrawal.

  See United States v. Hammons, No. CR 07-1164 JB, 2010 WL 4928923, at *3 (D.N.M.

  Oct. 28, 2010) (granting motion to withdraw two days before sentencing where there

  was a “total breakdown in communication” between attorney and client).

                                       CONCLUSION

        Counsel respectfully requests that he be permitted to withdraw as counsel for

  Mr. Williams, and that substitute counsel be appointed.


  Dated this 14th day of November, 2017.


                                                  /s/ Michael J. Gallagher
                                                  Michael J. Gallagher
                                                  DAVIS GRAHAM & STUBBS LLP
                                                  1550 17th Street, Suite 500
                                                  Denver, CO 80202-1500
                                                  Telephone: 303.892.9400
                                                  Facsimile: 303.893.1379
                                                  Email: mike.gallagher@dgslaw.com

                                                  Attorneys for Defendant
                                                  Alan Alonzo Williams




                                              3
                                                                                        261
Case No. 1:15-cr-00395-REB  Document
          Case 1:15-cr-00395-REB     173-1 70
                                 Document  filedFiled
                                                 09/10/19   USDC
                                                      11/14/17   Colorado
                                                               Page 4 of 4 pg 262 of
                                       271




                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 14, 2017, the foregoing MOTION TO WITHDRAW was
  electronically filed with the USDC Clerk of the Court and served via the CM/ECF system on the
  following:

                Counsel of Record




                                            /s/ Lynell E. Buchele




                                               4
                                                                                                  262
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 115
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         11/28/18  Colorado
                                                                       1 of 3 pg 263 of
                                        271



                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

        Criminal Action No. 1:15-cr-00395-REB

        UNITED STATES OF AMERICA,

             Plaintiff,

        v.

        1. ALAN ALONZO WILLIAMS, Defendant.


               DEFENDANT’S FIFTH MOTION TO CONTINUE SENTENCING
               HEARING AND RENEWED REQUEST FOR AN ORDER DIRECTING
               THE FACILTY TO PROVIDE A MEDICAL EVALUATION


                    Defendant, Alan Alonzo Williams, by and through counsel, requests that

        the sentencing in this matter, currently scheduled for December 18, 2018 at

        11:00 a.m. be continued to a date on or after February 14, 2019.1

                 Defendant, Alan Alonzo Williams, by and through counsel, also renews his

        request (Doc. No. 114) for this Court to enter an order directing the authorities at

        the Federal Detention Center to provide the Court a medical evaluation detailing if

        and when Mr. Williams will receive a cat scan and surgery to repair his hernia.

               Counsel has conferred with AUSA Rebecca Webber as to this motion and

        Ms. Weber informed counsel she takes no position as to this motion.

                    In support of this Motion, Mr. Williams states as follows:

               1.         This matter has been continued a number of times with the hope

        that Mr. Williams would receive his needed hernia re-repair surgery prior to

        sentencing. There is no question but that the surgery is medically required. Mr.


    1
        Counsel will be out of state and out of the country from January 8, 2019 to February 13, 2019.


                                                                                                         263
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 115
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         11/28/18  Colorado
                                                                       2 of 3 pg 264 of
                                        271



     Williams remains incapacitated and in pain because of this.

           2.     As previously noted, the authorities at FDC have repeatedly

     informed Mr. Williams that they were aware of his sentencing dates and would

     arrange for the surgery to occur before those dates. Yet, a required pre-surgery

     cat scan and the surgery continue to have not been performed.        As noted by

     Mr. Williams in previous motions, this is not delay caused by the medical

     provider.

           3.     It is Counsel’s fervent hope that were the Court to again continue

     the matter and order the requested report, the authorities at FDC would

     recognize that they need to actually proceed by scheduling the cat scan and

     surgery, instead of continuing to simply make representation to Mr. Williams that

     they are purportedly working on it.   It is neither logical nor conceivable that it

     would take almost a year to get this done, yet this is what has happened.

           4.     As noted in Mr. Williams’ previous motions, were Mr. Williams to

     be sentenced prior to receiving surgery, he would end up at a new facility

     and in effect go to “the bottom of the list” with respect to receiving

     treatment. He would lose any chance for continuity of care with the chance to

     have the doctor most familiar with his condition, and who did the original

     surgery, re-repair the hernia.

           5.     Mr. Williams again wants the Court to know that he knows and

     accepts that he is facing a lengthy period of incarceration. He simply wants the

     chance to serve his sentence with at least this significant health problem

     resolved.

            Dated: November 28, 2018.


                                                                                           264
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 115
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         11/28/18  Colorado
                                                                       3 of 3 pg 265 of
                                        271




                  Respectfully submitted,

                                               s/ Steven K. Jacobson
                                               Steven K. Jacobson
                                               Collins, Rafik and Jacobson LLC
                                               1881 9th St., Suite 315
                                               Boulder, Colorado 80302
                                               Telephone: 303-444-9292
                                               Fax: 303-447-0200
                                               e-mail: steve@collinsrafik.com


                           CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on November 28, 2018, I electronically filed the
     foregoing MOTION with the Clerk of the Court using the CM/ECF filing system
     which will send notification of such filing to all counsel of record in this case.

                                             s/ Steven K. Jacobson
                                             Steven K. Jacobson




                                                                                          265
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 146
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         06/03/19  Colorado
                                                                       1 of 4 pg 266 of
                                        271




                                                                                      266
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 146
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         06/03/19  Colorado
                                                                       2 of 4 pg 267 of
                                        271




                                                                                      267
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 146
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         06/03/19  Colorado
                                                                       3 of 4 pg 268 of
                                        271




                                                                                      268
Case No. 1:15-cr-00395-REB   Document
          Case 1:15-cr-00395-REB      173-1 146
                                  Document   filed Filed
                                                   09/10/19   USDCPage
                                                         06/03/19  Colorado
                                                                       4 of 4 pg 269 of
                                        271




                                                                                      269
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-1146-1
                                 Document    filed 09/10/19   USDCPage
                                                    Filed 06/03/19 Colorado
                                                                        1 of 2 pg 270 of
                                        271




                                                                       270
Case No. Case
         1:15-cr-00395-REB   Document
              1:15-cr-00395-REB       173-1146-1
                                 Document    filed 09/10/19   USDCPage
                                                    Filed 06/03/19 Colorado
                                                                        2 of 2 pg 271 of
                                        271




                                                                       271
